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                                                                Honorable Judge James L. Robart


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 7                            UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 8
     BOMBARDIER INC.,                                       No. 2:18-cv-01543-JLR
 9
                           Plaintiff,                       FIRST AMENDED VERIFIED
10                                                          COMPLAINT
                   v.
11                                                          JURY DEMAND
     MITSUBISHI AIRCRAFT CORPORATION,
12   MITSUBISHI AIRCRAFT CORPORATION
     AMERICA INC., AEROSPACE TESTING
13
     ENGINEERING & CERTIFICATION INC.,
14   MICHEL KORWIN-SZYMANOWSKI,
     LAURUS BASSON, MARC-ANTOINE
15   DELARCHE, CINDY DORNÉVAL, KEITH
     AYRE, AND JOHN AND/OR JANE DOES 1-
16   88,
17                         Defendants.
18
19          Plaintiff Bombardier Inc. (“Plaintiff” or “Bombardier”) by and through its undersigned

20   counsel, complains as follows:

21                                      NATURE OF THE ACTION

22          1.     This is an action for trade secret misappropriation under federal and state law

23   pursuant to the Defend Trade Secrets Act of 2016 (“DTSA”) codified at 18 U.S.C. § 1836 et

24   seq. and the Washington Uniform Trade Secrets Act (“WUTSA”) codified at RCW

25   19.108.010 et seq.    Claims for Tortious Interference with Business Expectancies and/or

26   Contracts under Washington state common law are also raised herein, as are Breach of

27   Contract claims.


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 1                                            PARTIES

 2          2.     Plaintiff Bombardier Inc. (“Bombardier”) is a corporation organized and

 3   existing under the laws of Québec, Canada, with its principal place of business at 800

 4   Boulevard René-Lévesque West, Montréal, QC H3B 1Y8, Canada.                 Bombardier has

 5   developed and owns all of the trade secret and confidential information misappropriated by

 6   Defendants.

 7          3.     Upon information and belief, Defendant Mitsubishi Aircraft Corporation

 8   (“MITAC”) is a corporation organized and existing under the laws of Japan, with its

 9   registered office and principal place of business at Nagoya Airport, Toyoyama-cho,

10   Nishikasugai-Gun, Aichi 480-0287, Japan.

11          4.     Upon information and belief, Defendant Mitsubishi Aircraft Corporation

12   America Inc. (“MITAC America”) is a subsidiary corporation of Defendant MITAC

13   organized and existing under the laws of the State of Delaware, with its registered principal

14   place of business at 4951 Airport Parkway Suite 500, Addison, TX 75001 and with its

15   Engineering Center located at 6100 4th Avenue South, Suite 300, Seattle, WA 98108. Upon

16   information and belief, predicated on the facts herein, MITAC America is the alter ego of

17   Defendant MITAC.

18          5.     Upon information and belief, Defendant Aerospace Testing Engineering &

19   Certification Inc. (“AeroTEC”) is a corporation organized and existing under the laws of the

20   State of Washington, with its registered office and principal place of business at 6100 4th

21   Avenue South, Suite 300, Seattle, WA 98108.

22          6.     Upon information and belief, Defendant Michel Korwin-Szymanowski is an

23   individual currently residing in this judicial district and working as Director, Test &

24   Evaluation at AeroTEC after having worked at Bombardier for approximately fifteen (15)

25   years, most recently as the Director, C-Series Flight Test Teams. (See Declaration of John D.

26   Denkenberger, attached hereto as Exhibit A (“Denkenberger Decl.”), at Exhibit 1.)

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 1          7.      Upon information and belief, Defendant Laurus Basson is an individual

 2   currently residing in this judicial district and working as a Mechanical Systems Engineer

 3   (FCS) at AeroTEC after having worked at Bombardier in Canada for over three (3) years,

 4   most recently as a Senior Engineering Specialist (Flight Controls) and as a Candidate Design

 5   Approval Designee. (See Denkenberger Decl., Ex. 2.)

 6          8.      Upon information and belief, Defendant Marc-Antoine Delarche is an

 7   individual currently residing in or near Nagoya, Aichi, Japan, and is an employee of MITAC,

 8   having worked most recently as an Aircraft Performance Engineer at AeroTEC in Seattle,

 9   Washington until at least August 2018. (See Denkenberger Decl., Ex. 3.) Prior to that, he

10   worked at Bombardier in Canada for over ten (10) years, most recently as an Engineering

11   Specialist for Aircraft Performance. (See Denkenberger Decl., Ex. 4.)

12          9.      Upon information and belief, Defendant Cindy Dornéval is an individual

13   currently residing in this judicial district and working as an Aircraft Performance Engineer at

14   AeroTEC after having worked at Bombardier in Canada for approximately ten (10) years,

15   most recently as an Aircraft Performance Engineer. (See Denkenberger Decl., Ex. 5.)

16          10.     Upon information and belief, Defendant Keith Ayre is an individual who is

17   currently residing in or near Nagoya, Aichi, Japan and working as a Project Manager for

18   MITAC after having worked at Bombardier for over thirty-two (32) years, most recently as an

19   Aerospace Engineer. (See Denkenberger Decl., Ex. 6.)

20          11.     Upon information and belief, Defendants John and/or Jane Does 1-88 are

21   individuals residing either in this judicial district or in Nagoya, Aichi, Japan working in

22   various roles for either MITAC, MITAC America, or AeroTEC, or working actively on the

23   Mitsubishi Regional Jet project (as described below) in another capacity, after having worked

24   at Bombardier for a number of years in similar capacities. Collectively, the parties identified

25   in paragraphs 3-10 above are referred to hereafter collectively as “Defendants.”

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 1                                   JURISDICTION AND VENUE

 2          12.     This action arises under the laws of the United States, namely the DTSA

 3   codified at 18 U.S.C. § 1836 et seq. This Court therefore has subject matter jurisdiction

 4   pursuant to 28 U.S.C. § 1331.

 5          13.     This action also arises under the laws of the State of Washington. This Court

 6   has subject matter jurisdiction pursuant to 28 U.S.C. § 1367 because the actions giving rise to

 7   claims under applicable state law are the same and/or related to the actions giving rise to the

 8   asserted claims under federal law. As such, the claims are so related that they form part of the

 9   same case or controversy under Article III of the United States Constitution.

10          14.     The Court has personal jurisdiction over Defendants because each of them

11   either currently resides in the State of Washington, has a regular and established place of

12   business within the State of Washington, has had minimum contacts with the State of

13   Washington sufficient to confer the Court with general personal jurisdiction, or has committed

14   acts within the State of Washington giving rise to the claims asserted herein.

15          15.     MITAC is subject to personal jurisdiction in this Court because MITAC has

16   purposefully directed its activities at residents of the State of Washington and/or has

17   purposefully availed itself of the privilege of conducting activities within the State of

18   Washington, and thus has invoked the benefits and protections of Washington Law. MITAC

19   maintains a flight-test center at the Grant County International Airport in Moses Lake,

20   Washington, where it conducts flight tests of its Mitsubishi Regional Jet (“MRJ”) and, on

21   information and belief, employs around 100 pilots, engineers, and technicians. (Denkenberger

22   Decl., Ex. 7.) MITAC originally estimated that, of the 100 people at Moses Lake working on

23   MRJ flight testing, 50-60 would be MITAC’s engineers and technicians from Japan who

24   would stay for at least a year. (Id.) Additionally, MITAC noted that several of its Japanese

25   employees would remain in Moses Lake for several years as part of the MRJ flight testing.

26   (Id.) Moreover, MITAC maintains at least four (4) MRJ flight-test aircraft in the State of

27   Washington at its Moses Lake flight-test center. (Denkenberger Decl., Ex. 8.)


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 1          16.     Further, MITAC celebrated the opening of its Seattle Engineering Center

 2   (“SEC”) on August 3, 2015, in Seattle, Washington. (Denkenberger Decl., Ex. 9.) During the

 3   ceremony, MITAC representatives, including then-MITAC President Hiromichi Morimoto

 4   (“Mr. Morimoto”); Masahiro Omura, Consul General of the Japan in Seattle; and Washington

 5   State Governor Jay Inslee participated in a traditional “kagami-biraki” (鏡開き) sake barrel

 6   opening ceremony to celebrate MITAC’s relations with Seattle and the State of Washington.

 7   (Id.; see also Denkenberger Decl., Ex. 10.) Defendant MITAC directly employs about 50-60

 8   Mitsubishi Aircraft engineers from Japan at the SEC and, on information and belief, other

 9   employees, who work with Defendants AeroTEC and MITAC America to provide flight-test

10   and certification support for the MRJ. (Id.) Then-President “Morimoto said Mitsubishi chose

11   to set up here ‘to make the best use of the resources and skill sets of the aircraft engineers and

12   professionals of Seattle, which is a global hub of the aviation industry.’” (Id.) Further,

13   MITAC enlisted the assistance of Defendant AeroTEC, a Seattle-based company, to support

14   its efforts for certification of the MRJ. MITAC’s Seattle employees are supported by MITAC

15   headquarters in Nagoya, Japan, such that “[a]ny data that needs crunching, engineering that

16   needs to be worked out, [Seattle employees] can hand over to Japan and they can take a stab

17   at it while we’re asleep.” (Denkenberger Decl., Ex. 11.)

18          17.     Additionally, high-ranking MITAC personnel, including Mr. Morimoto,

19   regularly visit Seattle and the State of Washington. In addition to attending and speaking at

20   the SEC opening ceremony, Mr. Morimoto in his capacity at MITAC attended a ceremony

21   held at the Museum of Flight in Seattle, Washington on December 10, 2015. (Denkenberger

22   Decl., Ex. 12.) At the ceremony, Mr. Morimoto celebrated MITAC’s customer support

23   partnership with Boeing, including the partnership’s unveiling of a web portal enabling

24   customers to access MRJ support on the internet. (Id.) Mr. Morimoto, on behalf of MITAC,

25   also attended a summit held by the Aerospace Futures Alliance, an aerospace industry

26   association in Washington, on October 6, 2016.             (Denkenberger Decl., Ex. 13.) On

27   January 12, 2017, Mr. Morimoto, on behalf of MITAC, again visited the State of Washington,


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 1   this time as part of a meeting between representatives of the aerospace industry and Governor

 2   Inslee. (Denkenberger Decl., Ex. 14.)

 3          18.     Moreover, the causes of actions complained of herein arise out of or relate to

 4   MITAC’s activities within the State of Washington and this judicial district. For example, and

 5   on information and belief, in its aforementioned efforts to obtain certification of its MRJ

 6   aircraft, MITAC has committed trade secret misappropriation in the State of Washington and

 7   this judicial district, individually, through its subsidiary MITAC America, and through its

 8   partnership with AeroTEC, such that personal jurisdiction over Defendant MITAC would

 9   comport with notions of fair play and substantial justice.

10          19.     Defendant Marc-Antoine Delarche is subject to personal jurisdiction in this

11   Court because, as detailed herein upon information and belief, he has committed and/or is

12   continuing to commit trade secret misappropriation in the State of Washington and this

13   judicial district by way of illicitly using and/or disclosing—and having previously used and/or

14   disclosed—Bombardier trade secret information to unauthorized third parties within this

15   judicial district. Additionally, personal jurisdiction of this Court over Defendant Delarche is

16   proper at least because he purposefully directed his activities at this forum, because

17   Bombardier’s claims against him arise out of this forum-related activity, and because the

18   exercise of jurisdiction over Defendant Delarche is reasonable under the circumstances

19   alleged herein. Specifically, and as alleged herein in greater detail, Defendant Delarche

20   committed intentional acts constituting trade secret misappropriation at least when he (a)

21   wrongfully obtained Bombardier trade secret information by sending such information

22   without authorization to his personal email accounts from his Bombardier work email account

23   within weeks and days of his planned and voluntary departure from Bombardier to work first

24   for AeroTEC and later for MITAC on the MRJ project; (b) on information and belief, used

25   Bombardier trade secret information without authorization in furtherance of MITAC’s MRJ

26   certification efforts in this judicial district while employed at AeroTEC in this judicial district

27   and while working at the SEC first on behalf of AeroTEC and then later on behalf of MITAC;


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 1   and (c) impermissibly disclosed Bombardier trade secret information to unauthorized third

 2   parties. To the extent any of these acts did not occur exclusively in Washington and this

 3   judicial district, upon information and belief, these acts were expressly aimed at Washington

 4   and at this judicial district because Defendant Delarche knew at all relevant times that

 5   substantial MRJ certification efforts were occurring at least at the SEC in this judicial district

 6   and that Bombardier’s trade secret information therefore would be used without authorization

 7   in this judicial district. Defendant Delarche also knew that Bombardier would likely incur

 8   harm in this judicial district as a result of his intentional acts, most notably in the form of

 9   devalued trade secret information and accelerated regional-jet-market competition. Further,

10   upon information and belief, Defendant Delarche has traveled to this judicial district since

11   transferring from this judicial district to Japan, and specifically has returned to the SEC in the

12   Western District of Washington on MITAC’s behalf, for the purposes of assisting in MRJ

13   certification efforts and used and/or further disclosed without authorization, Bombardier

14   confidential and trade secret information. At the very least, Defendant Delarche knew when

15   he first wrongfully obtained Bombardier trade secret information, and later when he illicitly

16   used and/or disclosed Bombardier trade secret information, that his acts would have

17   foreseeable effects in this judicial district given the MRJ certification efforts occurring here.

18   Because these acts and effects give rise to Bombardier’s claims against Defendant Delarche,

19   and because these acts took place in this judicial district and/or these effects in this judicial

20   district were at all relevant times foreseeable (if not foreseen), the exercise of personal

21   jurisdiction over Defendant Delarche by this Court is reasonable.

22          20.     Defendant Keith Ayre is subject to personal jurisdiction in this Court because,

23   as detailed herein upon information and belief, he has committed and/or is continuing to

24   commit trade secret misappropriation in the State of Washington and this judicial district by

25   way of illicitly using and/or disclosing Bombardier trade secret information to unauthorized

26   third parties within this judicial district. Additionally, personal jurisdiction of this Court over

27   Defendant Ayre is proper at least because he purposefully directed his activities at this forum,


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 1   because Bombardier’s claims against him arise out of this forum-related activity, and because

 2   the exercise of jurisdiction over Defendant Ayre is reasonable under the circumstances

 3   alleged herein.    Specifically, and as alleged herein in greater detail, Defendant Ayre

 4   committed intentional acts constituting trade secret misappropriation at least when he (a)

 5   wrongfully obtained Bombardier trade secret information by sending such information

 6   without authorization to his personal email accounts from his Bombardier work email account

 7   within weeks and days of his planned and voluntary departure from Bombardier to work for

 8   MITAC on the MRJ project (see Ex. S); (b) on information and belief, traveled from Japan to

 9   this judicial district and specifically to the SEC and during this period disclosed and/or used

10   Bombardier trade secret information without authorization in furtherance of MITAC’s MRJ

11   certification efforts in this judicial district at the SEC; and (c) impermissibly disclosed

12   Bombardier trade secret information to unauthorized third parties. To the extent any of these

13   acts did not occur in Washington and this judicial district, upon information and belief, these

14   acts were expressly aimed at Washington and at this judicial district because Defendant Ayre

15   knew at all relevant times that substantial MRJ certification efforts were occurring at least at

16   the SEC in this judicial district and that Bombardier’s trade secret information therefore

17   would be used without authorization in this judicial district. Defendant Ayre also knew that

18   Bombardier would likely incur harm in this judicial district as a result of his intentional acts,

19   most notably in the form of devalued trade secret information and accelerated regional-jet-

20   market competition. Further, upon information and belief and as noted above, Defendant

21   Ayre has traveled to this judicial district, specifically to the SEC in the Western District of

22   Washington, for the purposes of assisting in MRJ certification efforts and used and/or further

23   disclosed without authorization Bombardier confidential and trade secret information. At the

24   very least, Defendant Ayre knew when he first wrongfully obtained Bombardier trade secret

25   information, and later when he illicitly used and/or disclosed Bombardier trade secret

26   information, that his acts would have foreseeable effects in this judicial district given the MRJ

27   certification efforts occurring here. Because these acts and effects give rise to Bombardier’s


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 1   claims against Defendant Ayre, and because these acts took place in this judicial district

 2   and/or these effects in this judicial district were at all relevant times foreseeable (if not

 3   foreseen), the exercise of personal jurisdiction over Defendant Ayre by this Court is

 4   reasonable.

 5          21.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2) or

 6   (3) because a substantial part of the events or omissions giving rise to the claims alleged in

 7   this Complaint occurred in this judicial district; or alternatively because at least one defendant

 8   is subject to this Court’s personal jurisdiction for the acts alleged herein.

 9                                    FACTUAL ALLEGATIONS

10          Bombardier and Development of the C-Series Aircraft

11          22.      Plaintiff Bombardier is one of the world’s leading manufacturers of both

12   planes and trains. It is headquartered in Montréal, Canada, and its shares are publicly traded

13   on the Toronto Stock Exchange (BBD). It is comprised of over 69,000 employees and

14   generated revenues exceeding $16 billion in FY2017 alone.

15          23.     A significant portion of Bombardier’s business involves the design,

16   manufacture, and support of innovative aviation products for the business, commercial,

17   specialized, and amphibious aircraft markets.          Bombardier employs more than 29,000

18   employees in its Aerospace division, and its high-performance aircraft and services set the

19   standard of excellence in several aircraft, aircraft services, and aircraft training markets.

20          24.     Among the many aircraft Bombardier has designed, built, sold, and supported

21   over the past thirty (30) is Bombardier’s latest clean-sheet design: the C-Series. The C-Series,

22   a “clean-sheet” aircraft designed by Bombardier from the ground up, is a family of narrow-

23   body, geared turbofan twin-engine, medium-range jet airliners that marks a dramatic

24   improvement over older competing aircrafts in terms of efficiency and dependability.

25   Bombardier’s clean-sheet C-Series design was adopted to cater to the aviation market seeking

26   aircraft that could accommodate between 110 and 135 passengers over 3,200 nautical miles

27   and do so at measurably lower operating costs than existing aircraft of that class.


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 1          25.     The history and development of the C-Series is well documented in various

 2   publicly available sources. According to these sources, Bombardier first began investigating

 3   the feasibility of what would become the C-Series in 2004. Efforts to develop and launch the

 4   C-Series program continued into January 2006, at which time Bombardier announced that

 5   market conditions could not justify a full-scale pursuit of the launch. Cost estimates for the

 6   C-Series program at that time—a program that would require a complete redesign of many

 7   components of an aircraft, as well as successful navigation of lengthy and expensive

 8   regulatory processes to obtain a series of necessary governmental approvals to build and mass

 9   produce the aircraft (described more fully below)—was estimated to cost approximately

10   US$2.1 billion.

11          26.     In January 2007, Bombardier announced that work on the C-Series would

12   continue in earnest. Then-current economic forecasts projected that the market for 100- to

13   149-seat aircraft—the market segment targeted by the C-Series—would amount to

14   approximately 6,300 units and roughly US$250 billion in revenues.

15          27.     After committing full-scale resources to the C-Series program over the next

16   six-and-a-half years, Bombardier received government approval for the first C-Series aircraft

17   test flight. Nearly three (3) years and further government approvals later, in cooperation with

18   SWISS International Air Lines, the first C-Series entered into service.

19          The Expense of “Clean-Sheet” Design and Regulatory Approvals

20          28.     That Bombardier dedicated nearly a decade and committed several billion

21   dollars to bring the C-Series from concept and design to commercialization and flight is not

22   atypical for a clean-sheet aircraft. Indeed, it is extremely complex and costly to achieve

23   successful clean-sheet design certification, even for an Original Equipment Manufacturer who

24   has gone through said process before and can use existing processes, strategies, analysis,

25   means and methods. Since 2000, only four (4) companies world-wide have been able to

26   develop a commercial clean-sheet aircraft program in compliance with the regulatory

27   requirements of the Federal Aviation Administration (“FAA”), Transport Canada (Canada’s


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 1   FAA counterpart), and the European Aviation Safety Agency (“EASA,” Europe’s FAA

 2   counterpart).   This is because, understandably, these various regulatory agencies require

 3   aircraft manufacturers to meet innumerable exacting standards to ensure aircraft airworthiness

 4   and public safety.

 5           29.     For example, federal law requires that before a clean-sheet aircraft can be

 6   developed, sold, and entered into service on a commercial scale, FAA must issue a “type

 7   certificate,” a “production certificate,” and an “airworthiness certificate” applicable to each

 8   manufactured aircraft. (See 49 U.S.C. § 44704.) The aircraft manufacturer bears the burden

 9   to convincingly demonstrate to FAA that each certificate should be issued, and FAA must be

10   confident that innumerable applicable federal regulations are satisfied before the certification

11   process can conclude. (See, e.g., 14 CFR Parts 21, 25, 34, and 36.) The process is incredibly

12   costly, time-consuming, and complex—even for the most experienced of aircraft

13   manufacturers who have gone through that process and developed trade secrets to face it more

14   efficiently.

15           30.     For instance, FAA “type certification”—or the certification issued by FAA to

16   deem an aircraft and its subcomponent designs suitable to assemble airworthy aircraft—has

17   been described by FAA to consist of five (5) phases: Conceptual Design, Requirements

18   Definition, Compliance Planning, Implementation, and Post Certification. (See FAA Order

19   8110.4C; see also FAA Product Certification Guide, Third Edition, available at

20   https://www.faa.gov/aircraft/air_cert/design_approvals/media/CPI_guide.pdf.)         Within each

21   phase, multiple steps must be performed.             The Conceptual Design Phase requires

22   “familiarization meetings” between the aircraft manufacturer (“applicant”) and FAA;

23   memorialized “correspondence to document decisions, agreements, schedules, milestones,

24   and action item assignments” agreed upon between applicant and FAA; a “preliminary

25   certification basis”; a “definition and plan for resolution of critical issues”; and identification

26   of a “core team to ensure continuity.” (Id.) The Requirements Definition Phase is comprised

27   of submission of a formal application for type certification; acknowledgment of the


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 1   application by FAA; formal Certification Project Notification and Establishment of Project;

 2   development of the Project Specific Certification Plan (“PSCP”) including identification of

 3   project milestones and related events; agreement of proposed certification basis and definition

 4   of project issues such as means of compliance including special conditions, Equivalent Level

 5   of Safety findings (“ELOS”), and any exemptions. (Id.) The Compliance Planning Phase

 6   consists of, among other events, FAA formally accepting the PSCP; further “project

 7   schedul[ing] with FAA and applicant milestones for completion of analyses, test plan

 8   submission, . . . flight testing, . . . critical issues resolution plan, and other items affecting the

 9   completion of the project”; identifying “stakeholders, including suppliers, subs-vendors,

10   installers, inspection, etc.”; establishing “Conformity Inspection Plans”; reaching agreement

11   between applicant and FAA on what the type certification basis will be; formulating a

12   “Compliance Checklist” and “Conformity Inspection Plans”; and establishing “Project

13   evaluation measures.” (Id.) The Implementation Phase similarly is comprised of numerous

14   events, including but not limited to “[t]rack[ing] and meet[ing] milestones for preparations for

15   and accomplishment of work, procurement of materials, parts conformities, data, completion

16   of analyses, manuals, test plan submission, equipment qual [sic] and test, ground test,

17   installation conformities, TIA [Type Inspection Authorization], flight test, AEG [Aircraft

18   Evaluation Group] evaluations, critical issues resolution plan, and other items affecting

19   completion of the project”; “[c]omplet[ing] test plans/reports, conformity requests,

20   inspections, and compliance documentation”; making “[c]ompliance and conformance

21   findings”; and ultimately “Certificate . . . approval issuance.” (Id.)

22           31.     Only after all these steps are completed to the satisfaction of FAA, meaning

23   only if these steps result in establishing with FAA that the aircraft’s design appears to satisfy

24   all applicable federal regulations, can an aircraft manufacturer rely on the design to produce

25   airworthy aircraft.    Coupled with this rigorous process, however, are time constraints.

26   Specifically, depending on the parameters of the aircraft to be type certified, the process must

27   be completed (absent special dispensation) within five (5) years. This is because when a


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 1   company applies for a type certificate, the rules and regulations that are in force at the time of

 2   application are the rules with which the applicant must comply. And given that FAA rules

 3   and regulations evolve and change over time, an applicant that takes longer than five (5) years

 4   to certify its aircraft will be obtaining a type certification under antiquated standards.

 5   Therefore if an applicant fails to obtain type certification within the governing time limitation,

 6   it must certify to the later standards, thereby incurring significant and redundant costs in the

 7   process.

 8           32.     Production certification is another regulatory approval process required before

 9   a manufacturer can begin producing a duplicate aircraft from a previously obtained type

10   certification—in other words, before a manufacturer can enter into service an aircraft on a

11   commercial scale.     See 49 U.S.C. § 44704(c).        Like the type certification process, this

12   regulatory process is costly and time consuming, even more for an OEM who is going

13   through it for the first time from scratch. Unlike other certification processes, however, this

14   certification focuses on the manufacturer’s ability to duplicate an aircraft, aircraft engines,

15   and/or its appliances that conform to the manufacturer’s previously obtained and applicable

16   type certification (or supplemental type certification, if applicable). Id.

17           33.     Once the requisite certifications are obtained, all subsequently manufactured

18   aircraft must be certified for “airworthiness” prior to delivery. See 49 U.S.C. § 44704(d)(1).

19   This process is also complex and costly, as the OEM needs to developed testing parameters

20   and configurations to prove that the aircraft meets the certified design criteria without having

21   to arrive at those parameters and configurations independently or having to conduct needless,

22   incredibly costly, additional flight testing.

23           34.     These FAA certification requirements are applicable for aircraft manufactured

24   domestically as well as abroad.        For example, the certification standards in Japan are

25   expressly governed by the same standards used by the FAA. See Implementation Procedures

26   for Airworthiness Covering Design Approval, Production Activities, Export Airworthiness

27   Approval, Post Design Approval Activities, and Technical Assistance Between Authorities,


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 1   Under the Agreement between the Government of the United States of America and the

 2   Government of Japan for Promotion of Aviation Safety, April 27, 2009, Section 1.5.1 (“The

 3   JCAB [Civil Aviation Bureau of Japan] has incorporated the equivalent of FAR parts 23, 25,

 4   27, 29, 33, and 35 into [its Airworthiness Inspection Manual].”) Likewise, FAA standards are

 5   relevant to aircraft certification in Canada. See 5 CAR 525 (Preamble) (“The content of this

 6   chapter is based on the United States Code of Federal Regulations, Title 14, Chapter I, Part

 7   25, entitled, Airworthiness Standards, Transport Category Airplanes. These United States

 8   airworthiness standards have been used and adopted as the model for the Canadian standards

 9   supplemented by additional airworthiness requirements based on Canadian experience and

10   required for Canadian aviation purposes.”).

11          35.     As a market leader with vast experience in aircraft manufacturing, Bombardier

12   has been independently identified as proficient in aircraft certification procedures.       (See

13   Denkenberger Decl., Ex. 15.)       As noted by this same source, Bombardier successfully

14   certified eighteen (18) aircraft from 1989 to 2006, some of which were derivative models of

15   its previous aircraft, while others “were entirely new clean-sheet designs that have

16   demonstrated Bombardier’s robust certification process.” (Id.) Since then, Bombardier has

17   developed and certified ten (10) additional clean-sheet design and derivative programs, and in

18   doing so, has continued to cultivate and safeguard significant trade secrets. “This whole

19   process—design, certification, production—is the heart of each company’s competitive

20   advantage, its own special secret sauce, and they are not about to reveal the recipe.” (Id.)

21   “It’s almost impossible to understand the full certification criteria for an aircraft, if one has

22   not been through it once or twice.” (Denkenberger Decl., Ex. 16 (attributing the quoted

23   statement to Defendant Korwin-Szymanowski and his MRJ project colleague, Alex Bellamy,

24   former Bombardier C-Series Flight Test Manager and current Vice President of MITAC).)

25          The MRJ Project and Its Many Delays

26          36.     At approximately the same time Bombardier began investigating the feasibility

27   of what would become the C-Series project, the Japanese government in conjunction with


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 1   Mitsubishi Heavy Industries, Ltd. (“MHI”) initiated its own investigation into the feasibility

 2   of a similar aircraft project—the Mitsubishi Regional Jet (“MRJ”). Like the C-Series, the

 3   MRJ is a narrow-body, geared turbofan twin-engine, medium-range jet aircraft. Unlike the C-

 4   Series, however, the MRJ has yet to receive the proper certifications to enter into service.

 5           37.    According to MHI, the MRJ program was officially launched on March 28,

 6   2008, with MHI initially targeting the MRJ’s entry into service at some time in 2013. Also on

 7   that day, MHI announced that effective April 1, 2008, Defendant MITAC—a “company

 8   established by MHI to conduct MRJ business”—would be responsible for “accelerat[ing] the

 9   MRJ’s development and further strengthen sales activities to potential customers worldwide.”

10   MITAC’s responsibilities would also include “the jetliner’s design, acquisition of type

11   certification (T/C), procurement, sales and customer support.” (Denkenberger Decl., Ex. 17.)

12           38.    Within the first two (2) years of the project, however, MITAC began

13   implementing design changes in the MRJ that resulted in multiple significant delays. For

14   example, a report of September 9, 2009 revealed that MITAC “unveiled extensive design

15   changes” which would (1) move MITAC’s deadline for a final design freeze from Q3 2009 to

16   “mid-2010,” (2) delay the MRJ’s first flight test from Q4 2011 to Q2 2012, and (3) delay

17   commercial delivery of the first MRJ from Q4 2013 to Q1 2014. (Denkenberger Decl., Ex.

18   18.)

19           39.    Approximately a year later, on September 15, 2010, MITAC announced that it

20   was entering the production drawing phase of the MRJ project and was proceeding with the

21   manufacturing process.     At that time MITAC also announced that “the MRJ program

22   continues to progress on schedule, with first flight scheduled for Q2 2012 and first delivery in

23   Q1 2014.” (Denkenberger Decl., Ex. 19.) MITAC would subsequently experience issues,

24   however, that would further delay the MRJ’s first test flight and first commercial delivery.

25           40.    On April 25, 2012, “[f]ollowing an in-depth review of the MRJ program,”

26   MITAC announced a “schedule update.” In relevant part, MITAC pushed the first scheduled

27   flight of the MRJ from Q2 2012 to Q3 2013, and it delayed first commercial delivery of the


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 1   MRJ from Q1 2014 to “the summer or later half of JFY [Japanese Fiscal Year] 2015.”

 2   (Denkenberger Decl., Ex. 20.) Thus just four (4) years into the MRJ program, MITAC

 3   announced at least two (2) delays that pushed the first scheduled test flight and first scheduled

 4   commercial delivery of the MRJ by nearly two (2) years. More delays would follow.

 5          41.     On August 22, 2013, MITAC disclosed that the updated schedule provided on

 6   April 25, 2012 would need further amendment. Specifically, MITAC moved the MRJ’s first

 7   scheduled flight to Q2 2015 and the aircraft’s first commercial delivery to Q2 2017.

 8   (Denkenberger Decl., Ex. 21.) On information and belief, MITAC’s latest “delay was due to

 9   the company’s underestimation of the time it needed to sort out how to validate the safety of

10   the manufacturing process of the jet and its components, and not from any issues with specific

11   suppliers.” (Id.) This “latest delay to the MRJ extend[ed] development to nine years from the

12   originally planned five and three quarter years. Its cause, not previously detailed, stems from

13   2009 . . . [when MITAC] learned that it needed company-wide organization delegation

14   authorization (ODA), under which it would act on behalf of the certifying authority in the

15   more routine aspects of approving designs and ensuring airworthiness standards.”

16   (Denkenberger Decl., Ex. 22.) MITAC “underestimated the amount of effort in getting ODA

17   from the Japan Civil Aviation Bureau, which locally instituted the FAA system to keep

18   certification regulations internationally consistent.” (Id.)

19          42.     As of August 22, 2013, however, “it remain[ed] unclear why [MITAC] took

20   until Aug. 22, more than five years after program launch and less than five months before its

21   previous first-flight target, to announce that the ODA tasks, by then complete, had caused

22   another delay of about 18 months.” (Id.) MITAC’s first announced delay in 2009 was

23   attributable to design changes, and its second delay was reportedly caused by MITAC’s

24   discovery that “it had not properly documented production processes. The ODA work was

25   separate from that problem and ended in September 2012 when the authorization was

26   received.” (Id.) Nevertheless, by August 2013, MITAC had “no [remaining] hurdles except

27


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 1   the usual challenges of moving through manufacturing to flight testing and certification,” for

 2   which it had “hired many foreign experts, especially ex-Boeing people, to help.” (Id.)

 3            43.   Notwithstanding the clear road ahead, and despite already working with many

 4   foreign experts on the MRJ project to date, MITAC began dedicating substantial additional

 5   resources to the MRJ project by 2014. For instance, MITAC formed its subsidiary, Defendant

 6   MITAC America, on June 4, 2014, to, upon information and belief, focus on drawing from

 7   North American resources to design, develop, and certify the MRJ. Additionally, by no later

 8   than July 14, 2014, MITAC enlisted the assistance of Defendant AeroTEC, “a small

 9   engineering company that provides flight-testing and aircraft certification services, [to]

10   provide technical support” for MITAC’s MRJ project.            (Denkenberger Decl., Ex. 7.)

11   According to MITAC’s then-president, Teruaki Kawai, MITAC’s explanation for these

12   additional resources was because until this time, “[MITAC] ‘didn’t have any experience in

13   how to get certification’ . . . . In Washington state, ‘there are a lot of experienced people.’”

14   (Id.)

15            44.   Even with the assistance of Defendants MITAC America and AeroTEC,

16   however, MITAC still could not avoid further unplanned delays on the MRJ project. For

17   instance, MITAC failed to conduct its MRJ flight test in accordance with its third amended

18   schedule. Instead of the MRJ’s maiden voyage occurring in Q2 2015, it finally took place on

19   November 11, 2015. (Denkenberger Decl., Ex. 23.) At that time, MITAC also confirmed the

20   MRJ’s “first delivery scheduled for the second quarter of 2017,” and it announced that “flight

21   tests in the US are scheduled to start in the second quarter of 2016, from the MRJ base at

22   Grant County International Airport at Moses Lake in Washington State.” (Id.) MRJ flight

23   testing, development, and certification in the United States would be, and is, managed through

24   the Seattle Engineering Center, formed on August 3, 2015 and jointly staffed by all Corporate

25   Defendants.

26            45.   On December 24, 2015, approximately six (6) weeks after MITAC re-

27   confirmed first commercial delivery of the MRJ for Q2 2017, MITAC again amended its


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 1   schedule to delay delivery until 2018—”[a] surprise yearlong delay.” (Denkenberger Decl.,

 2   Ex. 24.) MITAC reportedly attributed the delay to the fact that the MRJ’s “frame had passed

 3   strength tests for normal use, but there were concerns it wouldn’t pass certification tests.”

 4   (Id.) Defendant AeroTEC reportedly confirmed at that time that the latest MRJ delay would

 5   have “no impact to the preparations in Seattle and Moses Lake.” (Id.)

 6          46.     This “fourth delay in bringing the [MRJ] to market” “likely [made] the U.S.

 7   side of the [MRJ] certification program more important.” (Id.) According to at least one (1)

 8   report, the delay caused one aviation analyst to observe, “When you have a situation like this

 9   it’s all hands on deck.” (Id.)

10          47.     Additionally, the MRJ program’s fourth delay raised speculation that MITAC

11   might start to lose purchase orders. (Id.) As of December 24, 2015, MITAC reportedly had

12   “received 407 orders, including options and purchase rights” for the MRJ, 100 of which

13   originated from U.S. regional airline SkyWest. (Id.)

14          48.     On January 22, 2017, initial reports circulated that MITAC was “expected to

15   announce yet another delay to the MRJ regional jet program at a press conference in Tokyo”

16   that afternoon. (Denkenberger Decl., Ex. 25.) Speculation of the announcement had “been

17   rife since last October [2016], when [MITAC] admitted that it had warned launch customer

18   All Nippon Airways of a ‘risk of delay’ to the first MRJ.” (Id.)

19          49.     The following day, on January 23, 2017, MITAC confirmed the MRJ’s fifth

20   delay in the history of the program. (Denkenberger Decl., Ex. 26.) MITAC reportedly

21   attributed this latest delay “due to revisions of certain systems and electrical configurations on

22   the aircraft to meet the latest requirements for certification.” (Id.) In light of the significant

23   design change, and despite the fact that the MRJ Project was now well into its eighth year,

24   MITAC would be forced to return to the first stages of “preliminary design review for the

25   design change area,” would “get into the critical design phase in a few months” thereafter, and

26   would “require an additional two years” for projected commercial delivery of the MRJ.

27   (Denkenberger Decl., Ex. 27.) MITAC now “expected to obtain type certification in mid-


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 1   2019” for its new design, and it projected first commercial delivery of the MRJ to occur “in

 2   mid-2020.” (Denkenberger Decl., Ex. 26, see also Denkenberger Decl., Ex. 36.)

 3          50.     Nearly four (4) months after announcing the MRJ project’s fifth delay, MITAC

 4   was more forthcoming publicly about the need for it: reportedly the delay “was mainly to

 5   mitigating [sic] the risk of not meeting certification criteria, or having to make changes even

 6   further down the aircraft’s development.” (Denkenberger Decl., Ex. 28.) MITAC further

 7   reportedly explained that “in some small areas, it was very difficult to show the compliance of

 8   the avionics bay, so we decided to relocate components in the avionics bay and this also led to

 9   a change in the electrical wires routing.” (Id.) When “[a]sked why the issue was only

10   discovered more than eight years into the MRJ’s development, [MITAC] stresse[d] that the

11   manufacturer was already aware of the requirements, but explain[ed] that certification

12   regulations do not ‘precisely define’ the risk analysis that must be done. (Id.; see also

13   Denkenberger Decl., Ex. 35.) There was also the risk that it would ‘take a lot of time’ to

14   explain how the system meets compliance to Japan’s Civil Aviation Bureau, which could

15   further delay its schedule.”   (Id.)   MITAC also reportedly disclosed that “[f]rom some

16   efficiency view point, our original design of the avionics bay components was very efficient.

17   But at the same time we needed a complex process to certify it. So from the viewpoint of

18   how easy it is for certification, our original design was not so good.” (Id.) MITAC’s decision

19   for the MRJ’s design change was reportedly made in December of 2016, after “[t]he

20   [certification] issue was first identified sometime between summer and autumn [of 2016].”

21   (Id.) Importantly, the certification issue was identified only shortly after MITAC’s direct

22   recruiting efforts of Bombardier personnel began paying off. Indeed, a detailed explanation

23   for the MRJ program’s January 2017 delay (its fifth) was provided to Leeham News six (6)

24   months later by two (2) former Bombardier personnel—Alex Bellamy, former C-Series Flight

25   Test Program Manager for Bombardier, subsequently the Senior Director of the MRJ Program

26   Management office for Defendant MITAC, and a current MITAC Vice President; and

27   Defendant Michel Korwin-Szymanowski, former Director of Bombardier’s C-Series Flight


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 1   Test Teams and the new Head of MRJ Flight Testing for Defendant AeroTEC.

 2   (Denkenberger Decl., Ex. 16 (explaining latest delay attributable to “concerns the present

 3   aircraft configuration would be challenging to get through certification”).)

 4          Targeted Recruitment of Bombardier Personnel and Theft of Bombardier’s
            Trade Secrets
 5
            51.     Shortly before MITAC’s announcement in December 2015 of the MRJ’s
 6
     fourth delay, and despite the fact that MITAC had been working with ex-Boeing employees
 7
     and other industry personnel in developing the MRJ, Defendants MITAC, MITAC America,
 8
     and AeroTEC began a direct recruiting effort of Bombardier personnel. As part of this effort,
 9
     MITAC and MITAC America organized a “job fair” in Montréal to be held on July 15-16,
10
     2016 at a venue located less than one (1) kilometer from Bombardier’s global principal place
11
     of business. (See Denkenberger Decl., Ex. 29.) On information and belief, MITAC and
12
     MITAC America promoted their job fair both online and in the Montréal Gazette in the weeks
13
     leading up to the event and they advertised that it was “looking to hire over 200 Aircraft
14
     System Engineers who can work on Certification activities of MRJ aircraft.”              (Id.
15
     (emphasis added).) On information and belief, MITAC’s July 2016 targeted recruiting of
16
     Bombardier’s employees in Montréal started paying dividends shortly thereafter.          For
17
     example, by no later than August 18, 2016, MITAC successfully secured the commitment Mr.
18
     Keith Ayre to join the MRJ project. Mr. Ayre at that time was serving in the critical role of
19
     TCCA’s Design Approval Designee (“DAD”) for Bombardier.               Mr. Ayre therefore was
20
     critical to Bombardier’s own certification efforts regarding the C-Series and Global
21
     7000/8000 Aircraft, as MITAC well knew. And despite the fact that Mr. Ayre did not
22
     terminate his employment with Bombardier until August 26, 2016, MITAC was actively
23
     soliciting, and Mr. Ayre was actively providing, MRJ certification guidance during
24
     Bombardier business hours through Mr. Ayre’s personal email account more than one (1)
25
     week before Mr. Ayre left Bombardier. For example and by no means limiting, Mr. Ayre sent
26
     an email on August 24, 2016—using Bombardier equipment and from Bombardier
27


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 1   facilities—addressed to an individual named “Frederic” (who upon information and belief

 2   was a MITAC employee or contractor during the relevant time period) disclosing Bombardier

 3   confidential and/or trade secret information pertaining to Fire Detection and Extinguishing

 4   (“FIDEX”) and related System Safety Analysis (“SSA”). On information and belief, Mr.

 5   Ayre’s disclosures and teachings to “Frederic” in August 2016 led to an improved redesign of

 6   the MRJ now subject to certification efforts. (See Denkenberger Decl., Exs. 26-28.)

 7          52.     In addition to MITAC’s direct recruitment efforts in Montreal, AeroTEC

 8   launched its own targeted recruiting campaign of Bombardier personnel working in the

 9   United States. Specifically, Mr. Korwin-Szymanowski on behalf of both MITAC America

10   and AeroTEC organized a job fair to be held on October 23-24 of 2015 in Wichita, Kansas—

11   home of Bombardier’s Flight Test Center in the United States—to interview candidates to

12   work at MITAC America’s SEC for purposes of certifying the MRJ . (See Denkenberger

13   Decl., Ex. 30.) On further information and belief, AeroTEC and MITAC America targeted

14   Bombardier personnel specifically for this job fair by arranging for billboards mounted on

15   flatbed trucks advertising the job fair to be displayed immediately outside Bombardier’s

16   Flight Test Center. (See id.)

17          53.     On information and belief, further efforts of MITAC, MITAC America, and

18   AeroTEC to recruit Bombardier personnel to work on MRJ development and certification

19   included retaining and using professional recruiting services such as Velocity Consulting

20   Solutions (see Denkenberger Decl., Ex. 31), contacting Bombardier personnel directly via

21   email (Denkenberger Decl., Ex. 32), and using successfully-recruited former Bombardier

22   personnel to entice their former colleagues to likewise defect. For example, and by no means

23   limiting, former Bombardier employee and Defendant Korwin-Szymanowski on behalf of

24   both AeroTEC and MITAC America sent a targeted email on October 20, 2015 “to 247

25   Bombardier [email] accounts” entitled, “Flight Test Opportunities in Seattle” to inform then-

26   current Bombardier personnel of “positions open immediately” to work on “the development

27   and certification of the Mitsubishi Regional Jet (MRJ).” (Id.) Four (4) days later, on October


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 1   24, 2015, Defendant Korwin-Szymanowski spoke directly with Mr. Stephen Stowe, then a

 2   Senior Engineering Test Pilot for Bombardier, about potential recruitment to AeroTEC.

 3   (Denkenberger Decl., Ex. 33) In addition, Defendant Korwin-Szymanowski made detailed

 4   plans to attend a “hiring event” four (4) days after that, on October 28, 2015 in Montréal,

 5   Canada. See Denkenberger Decl., Ex. 34. He solicited Bombardier personnel to meet him

 6   that evening for “drinks & food” at a venue located within a fifteen-minute drive from

 7   Bombardier. (Denkenberger Decl., Ex. 34.) On information and belief, these activities

 8   represent only a small fraction of the various Defendants’ targeted recruiting efforts of

 9   Bombardier personnel.

10          54.     Further, while he was working to recruit Bombardier personnel with trade

11   secret knowledge, Defendant Korwin-Szymanowski was, upon information and belief,

12   working as an agent for his principal MITAC America to staff MITAC America’s facilities as

13   part of his scope of employment and job responsibilities. According to Defendant Korwin-

14   Szymanowski:

15          At AeroTEC, I am functionally responsible for Flight Test and I have
            supported multiple projects in my three years here, including the MRJ
16
            flight test program. My duties include organizing AeroTEC’s facilities
17          and support equipment, and assisting with staffing the MITAC America’s
            new MRJ flight test center in Moses Lake. As part of this effort, I
18          helped develop a recruiting plan starting in the Fall of 2015. My
            strategy was to hire across the North American aerospace labor
19          market . . . .
20
     See Dkt. No. 65, ¶ 9 (emphasis added).
21
22          55.     The Moses Lake facility, in addition to the SEC, is another physical locus for

23   MITAC America. Kenji Okimoto, vice president for MITAC America, runs operations at the

24   Moses Lake Flight Test Center. See Denkenberger Decl., Ex. 11, at 1.

25          56.     As an agent for MITAC America, during his time working at MITAC

26   America’s facilities, Defendant Korwin-Szymanowski knew or had reason to know that

27   employees he had recruited to work on the MRJ program were using Bombardier trade secret


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 1   information related to flight testing and certification.       Due to his lengthy tenure at

 2   Bombardier, during which he became intimately familiar with Bombardier’s proprietary and

 3   trade secret certification information (and its employees’ ongoing obligation to maintain the

 4   secrecy of that information), Defendant Korwin-Szymanowski possessed the expertise to

 5   recognize—and on information and belief did recognize—Bombardier trade secret

 6   information as it flowed from MITAC in Nagoya to MITAC America and AeroTEC in

 7   Washington State, and was shared among the employees of those companies in both Moses

 8   Lake and the Seattle Engineering Center.

 9          57.     On information and belief, in his role in assisting with MRJ certification,

10   Defendant Korwin-Szymanowski had recruited and was supervising multiple employees who

11   used Bombardier trade secrets, including Defendants Dornéval, Delarche, and Basson. Upon

12   information and belief, in that supervisory capacity, Defendant Korwin-Szymanowski

13   reviewed and used their work and contributions to advance MRJ certification, which upon

14   further information and belief incorporated the Bombardier trade secret information that each

15   illicitly emailed to their personal email accounts prior to their planned and voluntary departure

16   from Bombardier. Upon further information and belief, based on his lengthy tenure and

17   experience with Bombardier, Defendant Korwin-Szymanowski knew and recognized, or at

18   least should have known and recognized, that the work and contributions of at least

19   Defendants Dornéval, Delarche, and Basson were incorporating Bombardier trade secret

20   information of which each was under a duty to maintain its secrecy. Defendant Korwin-

21   Szymanowski therefore knew or should have known that Bombardier’s trade secret

22   information had been misappropriated by Defendants Dornéval, Delarche, and Basson and

23   was being used for improper purposes to assist in MRJ certification. Because Defendant

24   Korwin-Szymanowski’s role at AeroTEC was to assist in MRJ certification, and because he

25   was aware that Bombardier trade secret information was being used for MRJ certification

26   purposes, Defendant Korwin-Szymanowski was also knowingly using and further disclosing

27   Bombardier trade secret information without authorization.


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 1          58.     Defendant Korwin-Szymanowski acted as an agent of MITAC America for the

 2   purposes of certifying the MRJ and for hiring personnel to support that objective. As such,

 3   MITAC America, through Korwin-Szymanowski, knew or had reason to know that

 4   Bombardier trade secret information had been illicitly obtained and was being improperly

 5   used for purposes of certifying the MRJ. Bombardier learned of the Corporate Defendants’

 6   sustained targeted recruiting efforts shortly after they began with Defendant Korwin-

 7   Szymanowski’s October 20, 2015 email, and it engaged in significant steps short of litigation

 8   to stop it. For instance, on October 22, 2015, Bombardier wrote directly to Defendant

 9   Korwin-Szymanowski and AeroTEC to address the impropriety of their targeted recruitment

10   of 247 Bombardier employees via email just two (2) days earlier, as well as the impropriety of

11   AeroTEC’s targeted recruiting of Bombardier personnel in Wichita, Kansas. (See Ex. B.)

12   Specifically, Bombardier informed AeroTEC and Defendant Korwin-Szymanowski of his

13   ongoing duties of confidentiality owed to Bombardier; it informed them that their targeted

14   recruiting was occurring at a critical time in the development of the C-Series, Global 7000,

15   and Global 8000 Aircraft; and it specifically stated that their continued “activities in order to

16   entice some key flight test employees to leave the employ of Bombardier and join AeroTEC

17   LLC may lead to serious consequences on Bombardier’s affairs.” (Id.) Bombardier also

18   requested that their targeted recruiting activities immediately cease. (Id.)

19          59.     On April 26, 2016, Bombardier followed up with AeroTEC concerning the

20   impropriety of its targeted recruiting efforts. In addition to repeating its positions previously

21   stated in its October 22, 2015 letter, Bombardier cited additional instances of improper

22   recruiting efforts, including but not limited to using outgoing-but-still-current Bombardier

23   personnel to actively recruit other Bombardier employees before their departure from

24   Bombardier. (See Ex. C.) Bombardier also emphasized its former employees’ ongoing

25   obligation to maintain the confidentiality of Bombardier’s proprietary information. (Id.)

26   Bombardier requested that in addition to discontinuing the practice of targeting Bombardier

27   employees for recruitment, AeroTEC and all its former Bombardier employees execute an


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 1   attached “Agreement and Acknowledgement of Obligations and Actions to Ensure

 2   Compliance with the Same” (“Agreement”).           (Id.)   Terms of the Agreement included

 3   “refrain[ing] from, amongst other things, . . . Using or disclosing any confidential or

 4   proprietary information of Bombardier” as well as “Directly or indirectly soliciting or

 5   communicating with any current or recently departed employee of Bombardier regarding any

 6   employment or similar opportunities for work . . . for a period of one year.” (Id.) Bombardier

 7   also provided a copy of relevant portions of Bombardier’s Code of Ethics. (Id.) Notably,

 8   Bombardier’s Code of Ethics expressly provides, “[e]mployees agree to maintain [the]

 9   confidentiality [of Bombardier’s confidential information] at all times, even after leaving the

10   employ of Bombardier.” (Id.; see also Ex. D, at 15.)

11          60.     Having achieved no progress with its correspondence with AeroTEC directly,

12   Bombardier on June 3, 2016 contacted Mr. Luke Walker of MHI, MITAC’s corporate parent,

13   to address concerns relating to AeroTEC’s improper recruiting efforts. Bombardier informed

14   MHI of its concern that AeroTEC had “recently been soliciting and recruiting a number of

15   key employees . . . , despite being asked by us on numerous occasions to cease and desist

16   from that practice.” (Ex. E.) Bombardier continued:

17                  [W]e have reasons to believe that AeroTEC has been soliciting Mr.
                    Ed Grabman, one of our test pilots who will be critical to the
18
                    Global 7000 and 8000 flight test program. His departure would
19                  seriously disrupt our flight test program.

20                  We also have reasons to believe that some of these former
                    Bombardier employees have been transferred to MHI or are
21                  working on the MRJ flight test program.
22                  This raises serious concerns. First, this is draining our capabilities
                    and depriving us of key resources that are critical to the success of
23
                    our aircraft programs in development. Second, the science and
24                  expertise of flight testing can only be acquired through experience
                    and is extremely valuable to any OEM. We are concerned that
25                  some of the Bombardier proprietary methods and know-how
                    (“Proprietary IP”) developed or acquired by the former
26                  Bombardier employees hired by AeroTEC while working for
27


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                   Bombardier will inevitably be transferred and used by AeroTEC or
 1                 MHI for the purpose of their flight testing activities.
 2
                   I am seeking your assistance in ensuring that this practice of
 3                 soliciting and hiring Bombardier key flight testing employees
                   ceases immediately and that those Bombardier employees who
 4                 have been hired by AeroTEC or MHI and are working on MHI
                   aircraft program development do not use any Bombardier
 5                 Proprietary IP.
 6   (Id.) Mr. Walker in response stated, “The MITAC legal department and I are looking into this
 7   matter, and we will get back to you after we find out more information.” (Id.) Thus, the
 8   concerns that Bombardier conveyed to MHI were subsequently shared by MHI with MITAC,
 9   and on information and belief, with MITAC America.
10          61.    On July 14, 2016, after being “recently informed” of MITAC’s upcoming
11   Montréal job fair, Bombardier again reached out to MHI. On this occasion, Bombardier
12   informed MHI of the potential harm to Bombardier resulting from that job fair. (See Ex. F.)
13          62.    On August 5, 2016, Bombardier again reached out to MHI in an effort to
14   protect its interests and intellectual property, this time from the desk of Bombardier’s
15   President and Chief Executive Office, Mr. Alain Bellemare, to MHI’s Chairman of the Board
16   Mr. Hideaki Omiya. Mr. Bellemare, citing the fact that “Bombardier and MHI have been
17   partners on various aircraft programs for several decades,” and in an effort to preserve their
18   “mutually beneficial relationship,” asked for MHI’s cooperation concerning execution of the
19   Agreements Bombardier sent to AeroTEC in April 2016. (Ex. G.) Mr. Bellemare was forced
20   to follow up with Mr. Omiya on January 27, 2017. (See Ex. H.) Mr. Bellemare again
21   requested that the targeted solicitation of Bombardier employees immediately cease, and he
22   stated unequivocally as follows:
23
                   Last August, I wrote to inform you that MHI has been engaging in
24                 massive solicitation of Bombardier engineers and asked that MHI
                   cease[] such solicitation which is contrary to the relationship of
25                 trust that must prevail between close business partners such as
                   ourselves. Unfortunately, despite my letter to you and the various
26                 attempts that my team has made to address the situation with your
27                 team, MHI continues to actively solicit and hire key employees of


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                    Bombardier. The employees targeted by MHI are highly skilled
 1                  and specialized engineers and test pilots that have developed
 2                  valuable know-how and trade-secrets through their experience and
                    work with Bombardier. . . .
 3
                    As you can understand, the hiring of these employees by MHI is
 4                  detrimental to Bombardier’s business. Not only does it deprive
                    Bombardier of key resources at a time when these resources are
 5                  crucial to the development of its new aircraft programs, but we
 6                  have reasons to believe that the employees recruited by MHI will
                    use the intellectual property owned by Bombardier to assist MHI in
 7                  developing the MRJ aircraft which will compete against
                    Bombardier aircraft.
 8
     (Id.)
 9
              63.   On February 17, 2017, because its repeated attempts to resolve its concerns
10
     with the Corporate Defendants were unavailing, Bombardier commissioned outside counsel to
11
     contact Mr. Hiromichi Morimoto, President of MITAC, via couriered letter. (See Ex. I.) In
12
     so doing, Bombardier’s counsel conveyed a formal “Letter of Demand – Solicitation of Key
13
     Bombardier Employees.”      (Id.)    The letter reiterated in detail the concerns Bombardier
14
     previously conveyed to the various Corporate Defendants, and it contained a number of
15
     formal requests.    Among those requests were to “[r]equire all former employees of
16
     Bombardier to sign agreements undertaking not to solicit employees of Bombardier”; to
17
     “[r]equire all former employees of Bombardier to sign agreements undertaking not to divulge
18
     or use any confidential, proprietary or trade secret information of Bombardier for the purposes
19
     of the MJR [sic] program”; and to “[t]ake any and all necessary measures to ensure that the
20
     agreements are respected by former employees of Bombardier.” (Id.)
21
              64.   This February 17, 2017 Demand Letter prompted communications to begin
22
     between outside counsel for Bombardier and outside counsel for MITAC. For the next
23
     several months, counsel exchanged correspondence to relay to each other their respective
24
     positions. Communications between the parties resumed in 2018 after a brief hiatus to
25
     thoroughly evaluate opposing positions. The most recent discussion between Bombardier and
26
     MITAC was held on September 13, 2018. No resolution was reached.
27


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 1          65.    Through its series of letters and communications, Bombardier put MHI—and

 2   as such MITAC and MITAC America—on               notice of specific individuals Bombardier

 3   believed could abscond with Bombardier’s trade secret information, and of the specific

 4   information Bombardier believed would be compromised by MITAC’s aggressive, targeted

 5   recruitment campaign. In particular, in his letter from January 27, 2017, Mr. Bellemare

 6   informed the chairman of MHI’s board that MITAC’s recruitment efforts were depriving

 7   Bombardier of key resources at a critical time for Bombardier, and that Mr. Bellemare feared

 8   that former Bombardier employees could potentially use intellectual property acquired at

 9   Bombardier to “assist MHI in developing the MRJ.” (See Ex. H.) In Bombardier’s next

10   letter, sent through counsel, Bombardier identified key employees—including Keith Ayre—

11   who had left Bombardier for MITAC, and expressed concern of the potential that these

12   individuals “possess[ed] confidential information essential to the development of the MRJ

13   program and to meeting certification requirements.” (See Ex. I.)

14          66.    MHI’s attorneys acted on behalf of both MITAC and MITAC America, and on

15   information and belief, disseminated the notice to those subsidiary companies that MITAC

16   and MITAC America may be knowingly and improperly acquiring and using Bombardier’s

17   trade secret information related to aircraft certification. As of at least January 27, 2017,

18   through their shared counsel, both MITAC and MITAC America were on specific notice of

19   the potential acquisition and use of Bombardier trade secrets by their new employees, and

20   therefore knew or had reason to know of those trade secrets’ improper acquisition as of at

21   least that date. The targeted recruitment campaign by MITAC and MITAC America therefore

22   not only resulted in the transfer of trade secret information from Bombardier to MITAC and

23   MITAC America, but also in Bombardier’s expressly informing MITAC and MITAC

24   America of their employees’ misappropriation of trade secrets.

25          67.    Despite Bombardier’s best efforts to prevent the continued targeted recruitment

26   of its employees, Defendants MITAC, MITAC America, and AeroTEC now employ, on

27   information and belief, at least 92 former Bombardier personnel whose current job


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 1   responsibilities relate directly to the development, certification, and/or commercialization of

 2   the MRJ. Among these are the individually named Defendants, who absconded with highly

 3   sensitive Bombardier trade secret information before departing Bombardier.

 4          68.     For example, Defendant Laurus Basson, on information and belief, is currently

 5   working on the MRJ project as a “Mechanical Systems Engineer (FCS)” at AeroTEC in

 6   Seattle, Washington. (Denkenberger Decl., Ex. 2.)       As a condition of his employment,

 7   Defendant Basson, on information and belief, signed an acknowledgement on the first day of

 8   his employment, March 4, 2013, of having received and agreeing to abide by the then-current

 9   version of Bombardier’s Code of Ethics. (See Ex. K, agreeing to abide by the version of

10   Bombardier’s Code of Ethics attached hereto as Ex. D, which is an unmodified version of the

11   Code of Ethics that Mr. Basson agreed to abide by when he first began employment at

12   Bombardier.) Under this Code of Ethics, which has a copyright date of 2012 (hereinafter,

13   “the 2012 Code of Ethics”), Defendant Basson agreed to “not divulge confidential

14   information to anyone other than the person or persons for whom it is intended.” (See Ex. D,

15   at 14-15.) Moreover, Defendant Basson “agree[d] to maintain such confidentiality at all

16   times, even after leaving the employ of Bombardier.” (Id.) Defendant Basson was based in

17   and worked out of Bombardier’s offices in Canada, until leaving to work for AeroTEC. On

18   March 4, 2016, his last day as a Bombardier employee, Defendant Basson, without

19   permission, sent an email from his Bombardier email account to his private “Yahoo” email

20   account two (2) proprietary PowerPoint slide decks entitled, “TCCA Skew Detection

21   Presentation- Updated with latest Systems and Structure Limits 16-02-01.pptx” and “2016-03-

22   03 TCCA Skew Detection Presentation-JAN 28 FINAL.pptx.” (See Ex. J.) These documents

23   contain highly sensitive, proprietary Bombardier trade secret information concerning

24   Bombardier’s Global 7000/8000 Skew Detection System (“SDS”) and related confidential

25   communications Bombardier made with Transport Canada for certification purposes, such as

26   (a) the proposed agenda and topics Bombardier intended to cover with TCCA in presenting its

27   SDS for consideration and acceptance during negotiations well known to be highly


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 1   confidential; (b) explicit identification of Bombardier’s Preliminary Design Review (“PDR”)

 2   Requirements; (c) a design schematic of Bombardier’s Slat/Flap Control System (“SFCS”)

 3   complete with identification and placement of the various skew sensors; (d) explicit

 4   identification of Bombardier’s Critical Design Review (“CDR”) Requirements; (e) disclosure

 5   and explanations of Bombardier’s previously approved CRJ SDS, complete with high-level

 6   schematics, upon which Bombardier’s Global 7000/8000 aircraft SDS was predicated; (f)

 7   particularized and extensive details comparing and contrasting the SDS of the Global

 8   7000/8000 and the CRJ SDS, complete with specific identification of design and component

 9   differences for both production and Safety of Flight (“SOF”) configurations for the two

10   models, and including defined and measured operating parameters and system characteristics

11   of each SDS; (g) particular details concerning installation of various components; (h)

12   summaries and detailed analysis of compliance with various regulatory requirements related

13   to criticality impact, Functional Development Assurance Level (“FDAL”), and Candidate

14   Certification Maintenance Requirements (“CCMR”); (i) identification of particularized

15   certification regulations “deemed applicable for demonstration of SDS compliance”; (j)

16   summaries and data sufficient to show results from specifically identified testing

17   configurations and compliance with applicable regulations; (k) identification of the third party

18   suppliers of various components of the SDS; (l) identification of and explanation of the Skew

19   Detection Unit (“SDU”) inputs/outputs and built-in tests; (m) explanation of conditions

20   triggering SDS Crew-Alerting System (“CAS”) messaging; (n) explanation and analysis of

21   SDS Proof of Concept testing; and (o) explanation and analysis of SDS SOF requirements.

22   These files also contain over 60 slides of particularized information concerning Bombardier’s

23   design, development, testing, and certification approach of the Global 7000/8000 Aircraft

24   SDS, and it identifies with precision and specificity the entirety of regulations for which

25   Bombardier specifically comported its testing to demonstrate regulatory compliance of its

26   SDS. All of this information is highly proprietary to Bombardier, and none of it is publicly

27   disseminated or available—including the testing data and information found therein. Even the


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 1   applicable regulations for which Bombardier tested compliance are not readily ascertainable,

 2   because those particular regulations applicable to a specific system are a subset of countless

 3   regulations relating to commercial aircraft certification, and they are identified only after an

 4   aircraft manufacturer meets in confidence with certifying authority representatives (often

 5   through the course of several meetings) to reach agreement on which specific subset of

 6   regulations must be satisfied. The information contained in these documents would be

 7   invaluable to anyone involved in an effort to certify an aircraft, specifically, and without

 8   limitation, to those attempting to certify the MRJ’s skew detection system, for entry into

 9   service, and Defendant Basson knew or should have known as much. The information

10   contained in these documents is not readily ascertainable by proper means, as it was the result

11   of countless hours of design effort, testing, verification, and other development efforts

12   dedicated towards certification of Bombardier’s aircraft throughout the past thirty (30) years

13   and Defendant Basson knew this. The documents also were the subject of efforts reasonable

14   under the circumstances to keep secret, as access to the documents was restricted by

15   Bombardier and the documents themselves were marked private and confidential, with

16   Bombardier expressly reserving all rights in the documents. Further, Defendant Basson knew

17   or should have known he was violating Bombardier’s 2012 Code of Ethics—a code taught to

18   each Bombardier employee with the express expectation that each remains compliant

19   therewith—when he emailed such highly sensitive information to his personal email account.

20   Defendant Basson expressly “agree[d] to conform to” Bombardier’s Code of Ethics after

21   expressly acknowledging “having received Bombardier’s Code of Ethics” and “having read

22   and understood all the dispositions of that Code.” (See Ex. K.) And because he emailed these

23   documents to himself on his last day as a Bombardier employee knowing he would soon

24   begin work on the MRJ project for AeroTEC, Defendant Basson, on information and belief,

25   had every intention of misusing this information in his new role.

26          69.     Similarly, upon information and belief Defendant Marc-Antoine Delarche is a

27   former Bombardier employee currently working on the MRJ project as an Aircraft


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 1   Performance Engineer at MITAC after having worked in the same capacity at AeroTEC.

 2   (Denkenberger Decl., Exs. 3 and 4.) As a condition of his employment, Defendant Delarche

 3   signed an acknowledgement on the first day of his employment, January 17, 2005, of having

 4   received and agreeing to abide by the then-current version of Bombardier’s Code of Ethics.

 5   (See Ex. L, agreeing to abide by the version of Bombardier’s Code of Ethics attached hereto

 6   as Ex. M, which is an unmodified version of the Code of Ethics that Mr. Delarche agreed to

 7   abide by when he first began employment at Bombardier.) Under this Code of Ethics, which

 8   has a copyright date of 2004 (hereinafter, “the 2004 Code of Ethics”), Defendant Delarche

 9   agreed to “not divulge confidential information to anyone other than the person or persons for

10   whom it is intended.” (See Ex. M, at 13–14.) Moreover, Defendant Delarche “agree[d] to

11   maintain such confidentiality at all times, even after leaving the employ of Bombardier.” (Id.)

12   Defendant Delarche was based in and worked out of Bombardier’s offices in Canada until

13   leaving to work for AeroTEC. Defendant Delarche’s last day with Bombardier was May 18,

14   2016, but in the two (2) weeks leading up to his departure, after giving his notice of

15   resignation, he sent several documents containing highly sensitive Bombardier trade secret

16   information to his personal email account. Specifically, on May 6, 2016, Defendant Delarche

17   emailed six (6) such documents from his work email to his “Hotmail” email account entitled

18   “RAA-BA503-412 Reduction of Temperature, Airspeed, Altitude and Mach Number

19   Errors.pdf”;   “RAA-BA503-414        Lag_Effects_in_the_Production_and_Experimental_Pitot-

20   Static_Systems.pdf”; “RAA-BA503-418 Data Reduction of Ground Position Errors.pdf,”

21   “RAA-BA500-412 Rev A - Reduction of Temperature, Airspeed, Altitude and Mach Number

22   Errors.pdf”;                                                        “RAA-BA500-414-RevA-

23   Lag_Effects_in_the_Production_and_Experimental_Pitot-Static_Systems.pdf”; and “RAA-

24   BA500-418_signed.pdf.” (See Exs. N-O.)           Generally speaking, these documents are

25   certification reports for Bombardier’s CSeries Aircraft, specifically the CS100 Model BD-

26   500-1A10 Commercial Aircraft and the CS300 Model BD-500-1A11, specifically recording

27   the demonstration of compliance and constituting statements of compliance with pertinent


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 1   certification type approval requirements as established by government regulations. More

 2   specifically, the documents disclose highly confidential and proprietary Bombardier trade

 3   secret information concerning the CS100 and CS300 airspeed indicating systems under

 4   various conditions, static pressure systems, air temperature indicators, and lag effects during

 5   flight. They disclose very specific and/or highly technical data and information pertaining to

 6   (a) Bombardier’s production and experimental air data systems; (b) the flight tests conducted

 7   by Bombardier to determine the air data system errors, including but not limited to the flight

 8   test aircraft configurations used by Bombardier to demonstrate regulatory compliance (of

 9   which there are literally hundreds of possibilities, as a result of the various positions in which,

10   for example, inboard and outboard slats, flaps, and ailerons could be configured and whether

11   such tests were conducted with the landing gear deployed); (c) Bombardier’s proprietary

12   methodology used to determine Static Source Error Correction (“SSEC”); (d) how

13   Bombardier’s air data systems comport with applicable and governing regulations for

14   certification, including but not limited to measuring and testing performance thresholds when

15   approaching flight stall speeds as well as at above maximum operating speeds; (e)

16   Bombardier’s total temperature probe; (f) identification of the regulations applicable to the air

17   data system for which Bombardier is demonstrating compliance; (g) the proprietary

18   methodology Bombardier used to determine the various lag values of its air data system; (h)

19   the specific instrumentation installed by Bombardier for lag testing; (i) the parameters used to

20   identify and quantify its air data system lag; (j) the proposed lag constants Bombardier used to

21   calculate various lag through application of standardized formulae; (k) specific details

22   concerning Bombardier’s air data system for production; (l) detailed schematics of

23   Bombardier’s production and experimental air data systems; (m) specific data collected

24   concerning the various lags of its air data systems; and (n) information in the form of

25   extensive testing data under very specific and explicit testing conditions and configurations

26   sufficient to establish conclusively and convincingly with the certifying authority that during

27   accelerated takeoff for the CS100 and CS300 aircraft, ground speed errors between indicated


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 1   and calibrated airspeeds were sufficiently negligible so as to require no correction to decision

 2   speed (V1), rotation speed (VR), or takeoff safety speed (V2) as they are required to be

 3   presented in each aircraft’s Aircraft Flight Manual (“AFM”). The information contained in

 4   these documents would be invaluable to anyone involved in an effort to certify aircraft for

 5   entry into service—they provide tremendous insight as to the quality, quantity, and type of

 6   information an aircraft manufacturer needs to provide to any particular regulatory agency to

 7   obtain certification—and Defendant Delarche knew or should have known as much. The

 8   information contained in these documents is not readily ascertainable by proper means, as it

 9   was the result of innumerable hours of exhaustive development efforts throughout the past

10   thirty (30) years, and Defendant Delarche knew it. The documents also were the subject of

11   efforts reasonable under the circumstances to keep secret, as access to the documents was

12   restricted by Bombardier and the documents themselves were marked private and

13   confidential, with Bombardier expressly reserving all rights in the documents. Further,

14   Defendant Delarche knew or should have known he was violating Bombardier’s 2004 Code of

15   Ethics when he emailed such highly sensitive information to his personal email account.

16   Defendant Delarche expressly agreed to conform to Bombardier’s 2004 Code of Ethics after

17   expressly acknowledging having received Bombardier’s Code of Ethics and having read and

18   understood all dispositions of that Code.     (See Ex. L.)    And because he emailed these

19   documents to himself in the two (2) weeks before his departure from Bombardier, after

20   resigning, knowing he would soon begin work on the MRJ project for AeroTEC, Defendant

21   Delarche on information and belief had every intention of misusing this information in his

22   new role.

23          70.     On information and belief, Defendant Delarche took the Bombardier trade

24   secrets from his new employer AeroTEC to his latest employer, MITAC.                All of the

25   knowledge Defendant Delarche imparted to AeroTEC, he then transferred to MITAC, which

26   was and is collaborating closely with AeroTEC on the certification of the MRJ.

27


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 1          71.     Like Defendants Basson and Delarche before her, Defendant Cindy Dornéval

 2   is a former Bombardier employee who, upon information and belief, is currently working on

 3   the MRJ project for AeroTEC. (Denkenberger Decl., Ex. 5.)              As a condition of her

 4   employment, Defendant Dornéval signed an acknowledgement on the first day of her

 5   employment, July 3, 2007, of having received and agreeing to abide by the then-current

 6   version of Bombardier’s Code of Ethics. (See Ex. Q, agreeing to abide by the version of

 7   Bombardier’s Code of Ethics attached hereto as Ex. M, which is an unmodified version of the

 8   Code of Ethics that Ms. Dornéval agreed to abide by when she first began employment at

 9   Bombardier.) Under the 2004 Code of Ethics, Defendant Dornéval agreed to “not divulge

10   confidential information to anyone other than the person or persons for whom it is intended.”

11   (See Ex. M, at 13–14.)        Moreover, Defendant Dornéval “agree[d] to maintain such

12   confidentiality at all times, even after leaving the employ of Bombardier.” (Id.) Defendant

13   Dornéval was based in and worked out of Bombardier’s offices in Canada, until leaving to

14   work for AeroTEC. Defendant Dornéval’s last day with Bombardier was February 10, 2017,

15   and in the weeks, days, and even hours before her departure, she sent several documents

16   containing highly sensitive Bombardier trade secret information to her personal email

17   account.     For example, on November 18, 2016, Defendant Dornéval emailed two (2)

18   documents from her work email to her “Hotmail” email account entitled “FTP PROD CSeries

19   Rev 5.0 – 17 November 2016.docx”; and “FTP PROD CSERIES Rev 5.0 – 17 November

20   2016.pdf.” (See Ex. P.) Generally speaking, these documents constitute Production Test Flight

21   Profiles for Bombardier’s CSeries Aircraft. More specifically, these documents disclose

22   highly confidential and proprietary Bombardier trade secret information disclosing (a)

23   preflight checklists detailing every system and component the flight crew must check prior to

24   every test flight; (b) the ground checks that the flight crew must perform prior to every test

25   flight; and (c) the critical in-flight checklist that details hundreds of flight conditions the

26   aircraft must perform to efficiently gather the data necessary to show the aircraft and its

27   systems perform properly during flight and therefore that the aircraft warrants a Certificate of


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 1   Airworthiness. In other words, these documents constitute hundreds of pages of highly

 2   sensitive, proprietary Bombardier trade secret information in the form of specific details

 3   concerning the flight test profiles developed throughout previous certification which

 4   Bombardier employed in gathering necessary data to obtain certificates of airworthiness for

 5   the C-Series aircraft prior to being able to commercially deliver them. This information

 6   would be invaluable to anyone involved in an effort to obtain certificates of airworthiness for

 7   commercial delivery of an aircraft—not least because it would give the reader flight

 8   streamlined testing parameters and configurations to prove that the aircraft meets the certified

 9   design criteria without having to arrive at those parameters and configurations independently

10   or having to conduct needless, incredibly costly additional flight testing. The information

11   contained in these documents is not readily ascertainable by proper means, as it was the result

12   of innumerable hours of exhaustive development efforts throughout the past thirty (30) years,

13   and Defendant Dornéval knew it. The documents also were the subject of efforts reasonable

14   under the circumstances to keep secret, as access to the documents was restricted by

15   Bombardier and the documents themselves were either marked private and confidential with

16   Bombardier expressly reserving all rights in the documents or the documents on their face

17   contained known confidential information. Further, Defendant Dornéval knew or should have

18   known she was violating Bombardier’s 2004 Code of Ethics when she emailed such highly

19   sensitive information to her personal email account. Defendant Dornéval expressly agreed to

20   conform to Bombardier’s Code of Ethics after expressly acknowledging having received

21   Bombardier’s 2004 Code of Ethics and having read and understood all dispositions of that

22   Code. (See Ex. Q.)

23          72.     In addition to her illicit email of November 18, 2016, Cindy Dornéval

24   improperly attempted to transmit to her personal email account highly sensitive, proprietary

25   Bombardier trade secret and other Bombardier Confidential information on her last day at

26   Bombardier on February 10, 2017. Shortly after 8:00 P.M. upon completing her last day of

27   work, Defendant Dornéval sent an email to her personal email account attaching a .zip file


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 1   named “Carriere et training.zip” containing copies of three (3) Bombardier’s Air Safety

 2   Investigation Office (ASIO) Manuals, entitled “010101,” “020301,” and “BM7002.06.01.01 -

 3   TSG.” (See Ex. R.) These confidential manuals set forth “standards and requirements

 4   regarding aircraft accident and incident investigations” meeting regulatory certification

 5   requirements. Defendant Dornéval also attached Bombardier’s Computerized Airplane Flight

 6   Manual (“CAFM”) calculation methodology, entitled “BM7002.02.15.02 – Flight

 7   Performances” to that email. This document sets the standard for all current and future

 8   Bombardier aircraft CAFM and would be highly valuable to another aircraft manufacturer’s

 9   attempts to obtain a certificate of airworthiness to enable it to deliver its commercial aircraft:

10   the document discloses with specificity the performance calculation methodology that

11   Bombardier uses in its CAFM to calculate performance outputs for various scenarios that can

12   occur during flight, including but not limited to identifying numerous coefficients determined

13   by equations and constants that were negotiated with applicable regulatory authorities;

14   identifying calculation methodologies for scenarios involving drag on the aircraft from

15   various precipitation conditions, for various airspeed and altitude calibrations, for maximum

16   altitude, weight, mach, load factor, and bank angle scenarios; and a large volume of other

17   significant, specific, and highly proprietary Bombardier trade secret information that was the

18   result of extraordinary investments in time and resources in design, development, and testing

19   of critical Bombardier aircraft components. Defendant Dornéval’s email attempt failed,

20   however, because the file sizes of the email attachments were too large. Undaunted by her

21   first failure, Defendant Dornéval attempted to send the same attachments, with one exception,

22   to her personal email account again at 8:13 P.M. (PST); at 8:18 P.M. (PST); and at 8:20 P.M.

23   (PST). (Id.) The lone exception, Bombardier’s CAFM calculation methodology, contained

24   186 pages of Bombardier highly proprietary and trade secret certification information. Upon

25   information and belief, Defendant Dornéval absconded with this information in either hard

26   copy form or through portable storage device means after realizing the file was too large to

27   send by way of email.


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 1          73.     While each of Defendant Dornéval’s attempts to send highly sensitive,

 2   proprietary Bombardier trade secret information and other confidential information to her

 3   personal email account late in the evening on her last day of work failed, on information and

 4   belief Defendant Dornéval nonetheless privately retained, in addition to the CAFM

 5   calculation methodology, copies of the documents entitled “010101,” “020301,” and

 6   “BM7002.06.01.01 – TSG” in violation of the Bombardier 2004 Code of Ethics. These

 7   documents were expressly marked as Bombardier Confidential and Proprietary Information,

 8   and the information contained therein was “not to be used, reproduced or disclosed to others

 9   without the written consent of Bombardier Inc.” Because Defendant Dornéval emailed or

10   otherwise retained personal copies of this information knowing she would soon begin work on

11   the MRJ project for AeroTEC, on information and belief, she had every intention of misusing

12   this information in her new role.

13          74.     Defendant Ayre is another former Bombardier employee who, upon

14   information and belief, is currently working on the MRJ project for MITAC. (Denkenberger

15   Decl., Ex. 6.) Defendant Ayre signed an acknowledgement on March 31, 1991, of having

16   received and agreeing to abide by the then-current version of Bombardier’s Code of Ethics.

17   (See Ex. S.) Under this Code of Ethics, which was implemented in 1991 (hereinafter, “the

18   1991 Code of Ethics”), Defendant Ayre, upon information and belief, agreed to “keep secret

19   and undertake not to use for his profit or the profit of third parties, nor to divulge or transmit

20   to third parties: information, knowledge or documents designated as secret, confidential or

21   privileged.” Moreover, Defendant Ayre, upon information and belief, agreed to abide by these

22   provisions “during and at all times after the duration of his employment with the Company.”

23   Defendant Ayre was based in and worked out of Bombardier’s offices in Canada, until

24   leaving to work for MITAC.

25          75.     Bombardier relied, to its detriment, on the representations that Defendant Ayre

26   made by signing his 1991 acknowledgement letter. Specifically, Bombardier relied on these

27   representations to provide him with confidential and proprietary and trade secret information.


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 1   Bombardier’s reliance on these representations is further evidenced by the investment it made

 2   in Defendant Ayre’s professional growth, ultimately resulting in Defendant Ayre becoming a

 3   Bombardier Design Approval Designee—a position requiring heightened trust and fidelity.

 4          76.     Defendant Ayre’s last day with Bombardier was August 26, 2016, and in the

 5   weeks and days before his departure, he sent several emails containing highly sensitive

 6   Bombardier trade secret information to his personal email accounts. For example, on August

 7   24, 2016, Defendant Ayre sent multiple emails from his Bombardier work email account to

 8   either his personal “Apple” or “Gmail” account containing detailed Bombardier trade secret

 9   information concerning Bombardier aircraft certification efforts and issues, schematics, and

10   discussions with Transport Canada (TCCA). (See, e.g., Ex. S.) This information would be

11   invaluable to anyone involved in an effort to obtain certificates of airworthiness for

12   commercial delivery of an aircraft. Additionally, the information contained in these emails is

13   not readily ascertainable by proper means, as it was the result of innumerable hours of

14   exhaustive development efforts throughout the past thirty (30) years, and Defendant Ayre

15   knew it. The information contained in these emails were the subject of efforts reasonable

16   under the circumstances to keep secret, as the information on its face is precisely the type of

17   highly proprietary and confidential information routinely marked as such by Bombardier, is

18   the type of information identified in Bombardier’s 1991 Code of Ethics as highly confidential

19   and trade secret information, and is information that an individual with Defendant Ayre’s

20   extensive experience would know to be trade secret information of Bombardier. Defendant

21   Ayre served as Bombardier’s Principal Engineering Specialist (PES) and TCCA’s Design

22   Approval Designee (DAD), and in that role Defendant Ayre would have every reason to know

23   that the information he was sending to his personal email accounts was restricted, was not for

24   any use other than for Bombardier’s benefit, and was not to be circulated through unsecure or

25   private channels. Such distribution was expressly prohibited by Bombardier’s 1991 Code of

26   Ethics, a Code Defendant Ayre agreed to abide, a representation upon which Bombardier

27   detrimentally relied. (See Ex. S.)


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 1          77.     Upon information and belief, Defendant Ayre had every intention of misusing

 2   Bombardier trade secret information for MRJ certification efforts once he began work for

 3   MITAC. For instance, on July 11, 2016, Defendant Ayre emailed to himself what appears to

 4   be a summary of his job responsibilities that he would assume upon joining MITAC, and the

 5   next day, on July 12, 2016—more than one month before his final day at Bombardier—

 6   Defendant Ayre signed and dated a MITAC “Employee Proprietary Information, Inventions,

 7   Non-Competition and Non-Solicitation Agreement.” (Ex. S.)          Among Defendant Ayre’s

 8   responsibilities at MITAC would be to “[d]efine and support flight test for all smoke test

 9   detection, smoke penetration and smoke evacuation activities and systems effects.” (Id.)

10   Two days before his departure from Bombardier, on August 24, 2016, Defendant Ayre

11   emailed to his personal account a highly confidential email discussing Bombardier trade

12   secrets that he initially received from TCCA nearly three years earlier concerning smoke

13   penetration testing for Bombardier aircraft. (Id.)

14          78.     Additionally, on August 18, 2016, Defendant Ayre emailed to himself a copy

15   of correspondence previously exchanged with MITAC personnel, Mr. Koki Fukuda, the

16   Engineering Lead of Ice Protection Systems for the MRJ, concerning Bombardier trade secret

17   certification activities, the details of which he was “happy to discuss” “when [he is] in the

18   MRJ office.” (Id.); see also Dkt. No. 128, Ex. A (full email from Ayre to Fukuda, dated

19   August 19, 2016.) On information and belief, Mr. Fukuda’s responsibilities at the time

20   involved certification efforts related to ice detection and prevention systems for the MRJ, the

21   very subject of his correspondence with Mr. Ayre. In his correspondence with Defendant

22   Ayre, Mr. Fukuda demonstrated a complete lack of understanding or awareness of the history

23   and progression of the relevant certification requirements for these systems. As a result, Mr.

24   Fukuda contacted Mr. Ayre while Mr. Ayre was working for Defendant Bombardier to solicit

25   direction related to the certification process and requirements for these systems on the MRJ.

26   Mr. Fukuda knew or should have known that the information he was soliciting, and the

27   information he eventually received from Mr. Ayre in response, included Bombardier


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 1   confidential, proprietary, and/or trade secret information. Moreover, not only did Mr. Ayre

 2   respond to Mr. Fukuda’s solicitation by disclosing Bombardier’s trade secret information, but

 3   he did so during normal business hours, and on information and belief, while at Bombardier’s

 4   facilities and using Bombardier’s equipment.          Mr. Fukuda, within the scope of his

 5   employment at MITAC, thereby induced Mr. Ayre to breach his obligations to Bombardier to

 6   not divulge such confidential, proprietary, and/or trade secret information to others, and in

 7   violation of his ongoing duties of good faith and fidelity to his employer.

 8          79.     On information and belief, Defendant Ayre also sent other emails from his

 9   Bombardier email address to his personal email address and then forwarded those emails to

10   MITAC. For example, on August 24, 2016, two days prior to his last day at Bombardier,

11   Defendant Ayre—using Bombardier equipment and from Bombardier facilities—sent an

12   email addressed to an individual named “Frederic” (who upon information and belief was a

13   MITAC employee or contractor during the relevant time period) disclosing Bombardier

14   confidential and/or trade secret information pertaining to Fire Detection and Extinguishing

15   (“FIDEX”) and related System Safety Analysis (“SSA”). On information and belief, Mr.

16   Ayre’s disclosures and teachings to “Frederic” in August 2016 led to an improved redesign of

17   the MRJ now subject to certification efforts. (See Denkenberger Decl., Exs. 26-28.)

18          80.     Upon information and belief, Defendant Ayre also has personally visited and

19   participated in MRJ certification efforts in Washington State, and he illicitly relied on and

20   made use of Bombardier trade secret information as part of those visits and efforts.

21   Additionally, Defendant Ayre knew at all relevant times that MRJ certification efforts were

22   taking place within this judicial district, and that the trade secret certification information he

23   deliberately misappropriated from Bombardier would be used within this judicial district to

24   the detriment of Bombardier.

25          81.     In addition to the named Individual Defendants, and on information and belief,

26   other former Bombardier personnel now currently residing in Japan also absconded with

27   Bombardier trade secret information. For example, and on information and belief, Andrius


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 1   Knystautas is another former Bombardier employee who is now working on the MRJ project

 2   after having been involved with the C-Series project. Specifically, Mr. Knystautas, after

 3   resigning, worked his last day at Bombardier on March 2, 2017, but less than one (1) month

 4   before his departure he sent an email to his “Videotron.ca” email account with a password-

 5   protected .zip file attached thereto. Despite repeated efforts, Bombardier to date has been

 6   unable to determine the contents of that .zip file because of the strength of password

 7   protection Mr. Knystautas, on information and belief, imparted on that file. On further

 8   information and belief, the .zip file Mr. Knystautas transmitted to his personal email account

 9   contains highly sensitive, proprietary Bombardier trade secret information.

10          82.     The hiring of Bombardier personnel involved in the certification process by

11   MITAC, MITAC America, and AeroTEC had a detrimental impact on Bombardier’s

12   certification efforts, as Bombardier warned it would. For example, the hiring of Bombardier

13   personnel by MITAC, MITAC America, and AeroTEC occurred during Bombardier’s efforts

14   to certify its C-series Aircraft, as well as its Global 7000/8000 Aircraft. As a result of the

15   actions of Defendants MITAC, MITAC America, and AeroTEC, as well as those acting on

16   their behalf (both separately and collectively), Bombardier’s certification efforts for these

17   aircraft were delayed by several months.      The Defendants were alerted to the fact that

18   Bombardier would sustain harm in the form of delays to its certification schedule as a result

19   of Defendants’ targeted recruiting. (See Exs. C, E, F, and I.) Defendants MITAC, MITAC

20   America, and AeroTEC nevertheless continued to recruit and hire Bombardier personnel

21   involved in the certification process even knowing about the detrimental impact that these

22   actions would have on Bombardier.

23          MITAC America’s Continuous Operation as Alter Ego of MITAC

24          83.     MITAC formed its subsidiary, Defendant MITAC America, on June 4, 2014,

25   to, upon information and belief, focus on drawing from North American resources to design,

26   develop, and certify the MRJ. (See, e.g., Denkenberger Decl., Exs. 10 and 11.)

27


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 1          84.     Upon information and belief, MITAC America has never operated

 2   independently from MITAC, and in fact, it operates as an extension, or alter ego, of MITAC.

 3   Based on publicly available information and on sources from MITAC itself, the two

 4   companies are, in fact, one:

 5          a.      MITAC America does not maintain its own website. Attempts to visit a web

 6   address for MITAC America are redirected to www.flythemrj.com (accessed April 19, 2019).

 7          b.      That page—entitled the Mitsubishi Aircraft Corporation’s “Company Profile”

 8   lists the five locations of the company together, with Nagoya being the “head office” and

 9   Seattle and Dallas comprising the “Mitsubishi Aircraft Corporation America” offices in the

10   United States. See Denkenberger Decl., Ex. 37.

11          c.      Evidence from numerous sources shows that there is no distinction between the

12   Nagoya and Seattle offices for the purposes of designing and certifying the MRJ.         For

13   example, according to a “Progress Update” posted by the MRJ team in December 2017, the

14   teams merely trade work according to whether it is daytime in Seattle (and nighttime in

15   Japan), or daytime in Japan (and nighttime in Seattle). According to an employee in the

16   MRJ’s operations support group, “Any data that needs crunching, engineering that needs to be

17   worked out, we can hand over to Japan and they can take a stab at it while we’re asleep.” See

18   Denkenberger Decl., Ex. 11, at 2.

19          d.      Further, the article describes:

20          Once a flight test has been performed, there’s a debrief in the afternoon
21          where results are reviewed and data is prepared for transmission to Japan.
            As the day progresses, Nagoya wakes up and the cycle begins anew.
22          Workers on site say it feels similar to working at a commercial airport,
            where there’s a constant flurry of activity.
23
            Rather than two teams working separately from opposite sides of the
24          world, the MRJ operation has evolved and come together as one team.
25          Id. at 3.
26
27


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 1           85.     In MITAC’s own words, the entities working in Japan share specific, technical

 2   knowledge pertaining to the certification efforts with the domestic entities (MITAC America

 3   and AeroTEC)—and vice-versa—at least twice per day.

 4           86.     MITAC and MITAC America share key personnel, and in many cases,

 5   employees hold positions within both companies simultaneously and without conflict. As one

 6   example, Hirofumi Takahashi, the president of MITAC America, states publicly that in

 7   addition to his MITAC America role, he is also currently a “Manager Corporate Planning” at

 8   “Mitsubishi Aircraft Corporation.” See, e.g., Denkenberger Decl., Ex. 38.

 9           87.     Further, the employees of the two entities share an email address domain

10   name, mitsubishiaircraft.com.

11           88.     The companies also share a legal team. (See Dkt. No. 107, ¶ 3.)

12           89.     On information and belief, MITAC America is a wholly owned subsidiary of

13   MITAC, and MITAC America generates no revenue of its own.

14           90.     On information and belief, MITAC America also generates no profit of its

15   own.

16           91.     On information and belief, MITAC America is entirely controlled by its parent

17   company MITAC. MITAC America has neither autonomy nor decision making authority

18   over its functions, its revenue, or its budget.

19           92.     MITAC has stated publicly that by extending its operations to the United

20   States through MITAC America, MRJ certification processes have advanced considerably.

21   According to its Progress Update, MITAC’s expansion “is already producing results: In recent

22   months, the MRJ’s development has accelerated and the company has set important

23   benchmarks on tests critical to achieving type certification.” (Denkenberger Decl., Ex. 11, at

24   3.)

25           93.     On information and belief, MITAC and MITAC America are currently using

26   their corporate structure to shield MITAC America from liability for knowledge of

27   Bombardier’s trade secrets under the guise of separate business identity.         However, as


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 1   demonstrated by MITAC’s own statements, the companies are constantly sharing information.

 2   That information sharing has led, in MITAC’s own words, to “results” for the MRJ in the

 3   certification process. On information and belief, that information shared includes but is not

 4   limited to Bombardier’s trade secret information as well as the knowledge that the

 5   information was acquired by former Bombardier personnel known to have had duties to

 6   maintain that information as confidential.

 7          94.     Continued adherence to the fiction of separation between MITAC and MITAC

 8   America will harm Bombardier and promote injustice. First and foremost, it will harm

 9   Bombardier because former Bombardier employees or others may believe that they can

10   transmit Bombardier trade secrets to MITAC with impunity, as long as they ostensibly avoid

11   MITAC America. Second, it will also ensure that if MITAC is held liable for the claims

12   alleged in this case, only MITAC will suffer the consequences—potentially allowing MITAC

13   America to continue with its certification efforts unabated. That will produce the same harm

14   for Bombardier as if this case had never been filed.

15          95.     Adherence to this fiction will also promote injustice because any other

16   companies offering regional jets to compete with the MRJ would suffer the same fate as

17   Bombardier. This will have the result of stifling innovation in an industry that is absolutely

18   critical for the regional and worldwide economies.

19          96.     Defendants John and/or Jane Does 1-88 are individuals, including Mr.

20   Knystautas, formerly employed by Bombardier and currently working for either MITAC,

21   MITAC America, or AeroTEC, or have some relationship to or connection with the MRJ

22   project. Individuals will be named with specificity to the extent discovery reveals that any

23   individual appears to have misappropriated Bombardier trade secret information.

24                                        CLAIMS FOR RELIEF

25     Count I: Violation of the Defend Trade Secrets Act (DTSA), 18 U.S.C. § 1836 et seq.

26                                                (MITAC)

27          97.     Bombardier incorporates by reference paragraphs 1-96, above, as though fully


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 1   set forth herein.

 2           98.     Prior to the commencement of the C-Series aircraft program, Bombardier had

 3   certified twenty-seven (27) clean-sheet design and derivative programs over a period of thirty

 4   (30) years. To successfully achieve said design certifications, Bombardier developed and

 5   owns confidential, proprietary, and trade secret information. Said information was then used

 6   throughout the design, development, testing, evaluation, certification, and commercialization

 7   for use in the United States and abroad, as described above, of Bombardier’s latest clean-sheet

 8   design: the C-Series aircraft. Such information includes, but is not limited to, the specific

 9   documents described and/or identified above as being illicitly transmitted to personal email

10   accounts by former Bombardier personnel before their departure from Bombardier. This

11   information constitutes financial, business, scientific, technical, economic, and/or engineering

12   information.

13           99.     This confidential, proprietary, and trade secret information relates to products

14   and services used, sold, shipped and ordered in, or intended to be used, sold, shipped and/or

15   ordered in, interstate and foreign commerce, as it was used, among others, for the medium

16   range C-Series aircraft with a range of over 3,000 nautical miles approved by FAA and other

17   regulatory agencies abroad for service between states and foreign countries.

18           100.    Plaintiff has taken reasonable measures to keep such information secret as

19   described above and including, without limitation, subjecting all employees to a Code of

20   Ethics that instructs personnel in the specifics of identifying and safeguarding Bombardier

21   proprietary information; clearly marking trade secret information as proprietary and

22   confidential subject to restrictions on further use and dissemination; physically restricting

23   access in its facilities to properly credentialed individuals; and virtually restricting electronic

24   access to proprietary trade secret information to properly credentialed personnel.

25           101.    This confidential, proprietary, and trade secret information derives independent

26   economic value from not being generally known to, and not being readily ascertainable

27   through proper means by another person who could obtain economic value from the


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 1   disclosure or use of the information. In addition to the foregoing, the information at issue

 2   would be of tremendous value to MITAC in its efforts to develop, certify, and commercialize

 3   its MRJ aircraft, as it would at a minimum provide invaluable guidance in ultimately

 4   obtaining regulatory certification for entry into service of a narrow-body, geared turbofan

 5   twin-engine, jet aircraft, something MITAC has been unable to obtain for its MRJ despite

 6   nearly a decade of effort.

 7           102.    In violation of Plaintiff’s rights under the Defend Trade Secrets Act, 18 U.S.C.

 8   § 1836, MITAC misappropriated the confidential, proprietary, and trade secret information

 9   described above in an improper and unlawful manner as alleged above and herein. In addition

10   to the foregoing, and upon further information and belief as detailed in part below, MITAC

11   has misappropriated Plaintiff’s trade secrets under federal law because it acquired Bombardier

12   trade secret information knowing or having reason to know that it was acquired by improper

13   means. Additionally, MITAC misappropriated Bombardier’s trade secrets because at the time

14   it obtained and/or used Bombardier trade secret information without Bombardier permission,

15   MITAC knew or had reason to know its knowledge of the trade secrets was derived from or

16   through a person who had utilized improper means to acquire it, acquired under circumstances

17   giving rise to a duty to maintain its secrecy or limit its use, or derived from or through a

18   person who owed a duty to Bombardier to maintain its secrecy or limit its use. Alternatively,

19   MITAC misappropriated Bombardier’s trade secrets because it used Bombardier’s trade

20   secrets without permission, knowing or having reason to know that the information

21   constituted trade secrets acquired by accident or mistake before MITAC materially changed

22   its position.

23           For example, and by no means limiting, MITAC (as described above) had been

24   working on the MRJ project for “more than five years” by August 22, 2013, and by that time

25   it had already “hired many foreign experts, especially ex-Boeing people, to help.”

26   (Denkenberger Decl., Ex. 22.) Notwithstanding years of its best efforts in conjunction with

27   outside expert consulting help, MITAC was heading for further delays. On information and


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 1   belief, MITAC and/or MITAC officers and/or directors formed MITAC America on June 4,

 2   2014, at least in part to expand efforts into the United States to work the MRJ project. On

 3   further information and belief, MITAC America (MITAC’s alter ego) then opened the Seattle

 4   Engineering Center jointly with AeroTEC on August 3, 2015, at least in part to further expand

 5   U.S. efforts to work the MRJ project. This resulted in “a constant flow of communication”

 6   among MITAC, MITAC America, and AeroTEC, which upon information and belief included

 7   the sharing of Bombardier trade secret information and the fact that such information had

 8   been illicitly obtained. (Denkenberger Decl., Ex. 11.) Shortly thereafter, on information and

 9   belief, MITAC began willful, targeted recruiting of Bombardier personnel—personnel who

10   had experience in designing and/or certifying the clean-sheet, narrow-body, geared turbofan

11   twin-engine, medium range C-Series aircraft—to assist in the design and/or certification of

12   MITAC’s clean-sheet, narrow-body, geared turbofan twin-engine MRJ aircraft. Upon further

13   information and belief, MITAC specifically targeted Bombardier personnel for recruitment

14   with the intention of using these new recruits to provide proprietary and trade secret

15   Bombardier design and/or certification information for use in the MRJ project. This is

16   evidenced as described above, but it is also evidenced by the fact that experienced aviation

17   experts such as ex-Boeing personnel lacked sufficient information to prevent MITAC from

18   experiencing four (4) significant delays in the MRJ timetable; by the fact that, upon

19   information and belief, at least one (1) representative from MITAC—Mr. Koki Fukuda—was

20   knowingly extracting confidential, proprietary, and trade secret information in the scope of his

21   employment with and for the benefit of MITAC from then-Bombardier Design Approval

22   Designee Mr. Ayre; by the fact that MITAC hosted a job fair less than one (1) kilometer from

23   Bombardier’s global principal place of business weeks before the fourth announced delay of

24   the MRJ project, advertising that it was “looking to hire over 200 Aircraft System Engineers

25   who can work on Certification activities of MRJ aircraft” (Denkenberger Decl., Ex. 29); by

26   the fact that, upon information and belief, MITAC had knowledge of and condoned MITAC

27   America’s and AeroTEC’s targeted recruiting of Bombardier personnel in Wichita, Kansas;


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 1   and by the fact that it had been expressly informed by Bombardier that such continued, wide-

 2   spread, targeted recruiting efforts directed at Bombardier could well lead to misappropriation

 3   of Bombardier’s intellectual property and trade secret information. (See Exs. C, E, F, G, and

 4   H.)

 5          103.     Further, MITAC’s misappropriation of Bombardier trade secret information is

 6   also evidenced by the fact that shortly after a critical mass of former Bombardier personnel

 7   began working for MITAC, MITAC America, and AeroTEC in their respective capacities on

 8   the MRJ project—a period that began over eight (8) years after the MRJ project was initially

 9   launched—MITAC abandoned its design of certain MRJ systems and electrical configurations

10   in favor of a new design that was prompted by Mr. Ayre’s feedback while he was still

11   employed by Bombardier. On information and belief, MITAC has been using Bombardier

12   confidential and trade secret information to assist in the new design’s certification, and

13   MITAC has been benefiting from MITAC America’s and AeroTEC’s known illicit use of

14   Bombardier’s trade secrets to further the MRJ project. On further information and belief,

15   MITAC knew or should have known that certification of its new design incorporates

16   Bombardier trade secret information, because of the aforementioned circumstances leading up

17   to and surrounding MITAC’s January 2017 announcement—said circumstances including the

18   explicit notification by Bombardier to MHI counsel who acted on behalf of both MITAC and

19   MITAC America and were on specific notice of the potential acquisition and use of

20   Bombardier trade secrets by its now-former employees (including Mr. Ayre).

21          104.   In addition to MITAC misappropriating Bombardier’s trade secret information

22   in a corporate capacity, MITAC is liable for trade secret misappropriation due to the conduct

23   of its employees within the scope of their employment with and for the benefit of MITAC.

24   Specifically, upon information and belief, MITAC employees, including Mr. Ayre, Mr.

25   Knystautas, and Mr. Delarche, knowingly obtained, used, and/or disseminated at least

26   portions of the Bombardier trade secret information identified above, and each did so within

27   the scope of their employment with, and for the benefit of, MITAC to advance certification


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 1   efforts for the MRJ. Those employees also knew or had reason to know that the Bombardier

 2   trade secret information was improperly obtained, particularly because each was aware during

 3   their employment with Bombardier that this information was shared with Bombardier

 4   employees only because of an ongoing duty to maintain the confidentiality of this information

 5   even following an employee’s departure from Bombardier. Their use of the information to

 6   further MRJ certification efforts contravened these ongoing obligations of confidentiality and

 7   constitute acquisition/distribution/use of Bombardier’s trade secret information by improper

 8   means. Under these circumstances, in accordance with the doctrine of respondeat superior,

 9   MITAC is liable for the improper actions—and in this case the trade secret

10   misappropriation—of those individuals.

11          105.     MITAC’s conduct as described herein was intentional, knowing, willful,

12   malicious, fraudulent, and oppressive.

13          106.     As a direct and proximate result of MITAC’s conduct, Plaintiff has suffered

14   and will continue to suffer irreparable financial loss, loss of goodwill, and an irreparable loss

15   of the confidentiality of their proprietary and trade secret information, for which there is no

16   adequate remedy at law.

17          107.     Plaintiff has also suffered substantial damages as a direct and proximate cause

18   of MITAC’s conduct in an amount to be proven at trial.

19          108.     MITAC has also been unjustly enriched by its misappropriation of

20   Bombardier’s trade secrets in an amount to be proven at trial.

21         Count II: Violation of the Washington Uniform Trade Secrets Act (WUTSA),

22                                 RCW 19.108.010 et seq. (MITAC)

23          109.     Plaintiff incorporates by reference paragraphs 1-108, above, as though fully set

24   forth herein.

25          110.     As explained above, Plaintiff has developed, owns, and possesses certain

26   confidential, proprietary, and trade secret information, including but not limited to

27   information used for the C-Series aircraft’s design, development, testing, evaluation,


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 1   certification, and commercialization for use in the United States and abroad.                Such

 2   information includes, but is not limited to, the specific documents described and/or identified

 3   above as being illicitly transmitted to personal email accounts by former Bombardier

 4   personnel before their departure from Bombardier. This information constitutes financial,

 5   business, scientific, technical, economic, and/or engineering information.

 6          111.    This confidential, proprietary, and trade secret information relates to products

 7   and services used, sold, shipped and ordered in, or intended to be used, sold, shipped and/or

 8   ordered in, interstate and foreign commerce, as it was used, among others, for the medium

 9   range C-Series aircraft with a range of over 3,000 nautical miles approved by FAA and other

10   regulatory agencies abroad for service between states and foreign countries.

11          112.    Plaintiff has taken reasonable measures to keep such information secret as

12   described above and including, without limitation, subjecting all employees to a Code of

13   Ethics that instructs personnel in the specifics of identifying and safeguarding Bombardier

14   proprietary information; clearly marking trade secret information as proprietary and

15   confidential subject to restrictions on further use and dissemination; physically restricting

16   access in its facilities to properly credentialed individuals; and virtually restricting electronic

17   access to proprietary trade secret information to properly credentialed personnel.

18          113.    This confidential, proprietary, and trade secret information derives independent

19   economic value from not being generally known to, and not being readily ascertainable

20   through proper means by another person who could obtain economic value from the

21   disclosure or use of the information. In addition to the foregoing, the information at issue

22   would be of tremendous value to MITAC in its efforts to develop, certify, and commercialize

23   its MRJ aircraft, as it would at a minimum provide invaluable guidance in ultimately

24   obtaining regulatory certification for entry into service of a narrow-body, geared turbofan

25   twin-engine, jet aircraft, something MITAC has been unable to obtain for its MRJ despite

26   nearly a decade of effort.

27


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 1          114.    In violation of Plaintiff’s rights under the WUTSA, RCW 19.108.010 et seq.,

 2   MITAC misappropriated the confidential, proprietary, and trade secret information described

 3   above in an improper and unlawful manner as alleged above and herein. In addition to the

 4   foregoing, and upon further information and belief as detailed in part below, MITAC has

 5   misappropriated Plaintiff’s trade secrets under Washington law because it acquired

 6   Bombardier trade secret information knowing or having reason to know that it was acquired

 7   by improper means.      Additionally, MITAC misappropriated Bombardier’s trade secrets

 8   because at the time it obtained and/or used Bombardier trade secret information without

 9   Bombardier permission, MITAC knew or had reason to know its knowledge of the trade

10   secrets was derived from or through a person who had utilized improper means to acquire it,

11   acquired under circumstances giving rise to a duty to maintain its secrecy or limit its use, or

12   derived from or through a person who owed a duty to Bombardier to maintain its secrecy or

13   limit its use. Alternatively, MITAC misappropriated Bombardier’s trade secrets because it

14   used Bombardier’s trade secrets without permission, knowing or having reason to know that

15   the information constituted trade secrets acquired by accident or mistake before MITAC

16   materially changed its position.

17          For example, and by no means limiting, MITAC (as described above) had been

18   working on the MRJ project for “more than five years” by August 22, 2013, and by that time

19   it had already “hired many foreign experts, especially ex-Boeing people, to help.”

20   (Denkenberger Decl., Ex. 22.) Notwithstanding years of its best efforts in conjunction with

21   outside expert consulting help, MITAC was heading for further delays. On information and

22   belief, MITAC and/or MITAC officers and/or directors formed MITAC America on June 4,

23   2014, at least in part to expand efforts into the United States to work the MRJ project. On

24   further information and belief, MITAC America (MITAC’s alter ego) then opened the Seattle

25   Engineering Center jointly with AeroTEC on August 3, 2015, at least in part to further expand

26   U.S. efforts to work the MRJ project. This resulted in “a constant flow of communication”

27   among MITAC, MITAC America, and AeroTEC, which upon information and belief included


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 1   the sharing of Bombardier trade secret information and the fact that such information had

 2   been illicitly obtained. (Denkenberger Decl., Ex. 11.) Shortly thereafter, on information and

 3   belief, MITAC began willful, targeted recruiting of Bombardier personnel—personnel who

 4   had experience in designing and/or certifying the clean-sheet, narrow-body, geared turbofan

 5   twin-engine, medium range C-Series aircraft—to assist in the design and/or certification of

 6   MITAC’s clean-sheet, narrow-body, geared turbofan twin-engine MRJ aircraft. Upon further

 7   information and belief, MITAC specifically targeted Bombardier personnel for recruitment

 8   with the intention of using these new recruits to provide proprietary and trade secret

 9   Bombardier design and/or certification information for use in the MRJ project. This is

10   evidenced as described above, but it is also evidenced by the fact that experienced aviation

11   experts such as ex-Boeing personnel lacked sufficient information to prevent MITAC from

12   experiencing four (4) significant delays in the MRJ timetable; by the fact that, upon

13   information and belief, at least one (1) representative from MITAC—Mr. Koki Fukuda—was

14   knowingly extracting confidential, proprietary and trade secret information in the scope of his

15   employment with and for the benefit of MITAC from then-Bombardier Design Approval

16   Designee Mr. Ayre; by the fact that MITAC hosted a job fair less than one (1) kilometer from

17   Bombardier’s global principal place of business weeks before the fourth announced delay of

18   the MRJ project, advertising that it was “looking to hire over 200 Aircraft System Engineers

19   who can work on Certification activities of MRJ aircraft” (Denkenberger Decl., Ex. 29); by

20   the fact that, upon information and belief, MITAC had knowledge of and condoned MITAC

21   America’s and AeroTEC’s targeted recruiting of Bombardier personnel in Wichita, Kansas;

22   and by the fact that it had been expressly informed by Bombardier that such continued, wide-

23   spread, targeted recruiting efforts directed at Bombardier could well lead to misappropriation

24   of Bombardier’s intellectual property and trade secret information. (See Exs. C, E, F, G, and

25   H.)

26          115.    Further, MITAC’s misappropriation of Bombardier trade secret information is

27   also evidenced by the fact that shortly after a critical mass of former Bombardier personnel


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 1   began working for MITAC, MITAC America, and AeroTEC in their respective capacities on

 2   the MRJ project—a period that began over eight (8) years after the MRJ project was initially

 3   launched—MITAC abandoned its design of certain MRJ systems and electrical configurations

 4   in favor of a new design that was prompted by Mr. Ayre’s feedback while he was still

 5   employed by Bombardier. On information and belief, MITAC has been using Bombardier

 6   trade secret information to assist in the new design’s certification, and MITAC has been

 7   benefiting from MITAC America’s and AeroTEC’s known illicit use of Bombardier’s trade

 8   secrets to further the MRJ project. On further information and belief, MITAC knew or should

 9   have known that certification of its new design incorporates Bombardier trade secret

10   information, because of the aforementioned circumstances leading up to and surrounding

11   MITAC’s January 2017 announcement—said circumstances including the explicit notification

12   by Bombardier to MHI counsel who acted on behalf of both MITAC and MITAC America

13   and were on specific notice of the potential acquisition and use of Bombardier trade secrets by

14   its now-former employees (including Mr. Ayre).

15          116.    In addition to MITAC misappropriating Bombardier’s trade secret information

16   in a corporate capacity, MITAC is liable for trade secret misappropriation due to the conduct

17   of its employees within the scope of their employment with and for the benefit of MITAC.

18   Specifically, upon information and belief, MITAC employees, including Mr. Ayre, Mr.

19   Knystautas, and Mr. Delarche, knowingly obtained, used, and/or disseminated at least

20   portions of the Bombardier trade secret information identified above, and each did so within

21   the scope of their employment with, and for the benefit of, MITAC to advance certification

22   efforts for the MRJ. Those employees knew or had reason to know that the Bombardier trade

23   secret information was improperly obtained, particularly because each was aware during their

24   employment with Bombardier that this information was shared with Bombardier employees

25   only because of an ongoing duty to maintain the confidentiality of this information even

26   following an employee’s departure from Bombardier. Their use of the information to further

27   MRJ certification efforts contravened these ongoing obligations of confidentiality and


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 1   constitute acquisition/distribution/use of Bombardier’s trade secret information by improper

 2   means. Under these circumstances, in accordance with the doctrine of respondeat superior,

 3   MITAC is liable for the improper actions—and in this case the trade secret

 4   misappropriation—of those individuals.

 5          117.     MITAC’s conduct as described herein was intentional, knowing, willful,

 6   malicious, fraudulent, and oppressive.

 7          118.     As a direct and proximate result of MITAC’s conduct, Plaintiff has suffered

 8   and will continue to suffer irreparable financial loss, loss of goodwill, and an irreparable loss

 9   of the confidentiality of their proprietary and trade secret information, for which there is no

10   adequate remedy at law.

11          119.     Plaintiff has also suffered substantial damages as a direct and proximate cause

12   of MITAC’s conduct in an amount to be proven at trial.

13          120.     MITAC has also been unjustly enriched by its misappropriation of

14   Bombardier’s trade secrets in an amount to be proven at trial.

15    Count III: Violation of the Defend Trade Secrets Act (DTSA), 18 U.S.C. § 1836 et seq.

16                                         (MITAC America)

17          121.     Plaintiff incorporates by reference paragraphs 1-120, above, as though fully set

18   forth herein.

19          122.     As explained above, Plaintiff has developed, owns, and possesses certain

20   confidential, proprietary, and trade secret information, including but not limited to

21   information used for the C-Series aircraft’s design, development, testing, evaluation,

22   certification, and commercialization for use in the United States and abroad.

23          123.     Such information includes, but is not limited to, the specific documents

24   described and/or identified above as being illicitly transmitted to personal email accounts by

25   former Bombardier personnel before their departure from Bombardier. This information

26   constitutes financial,    business, scientific, technical,    economic,    and/or engineering

27   information.


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 1          124.    This confidential, proprietary, and trade secret information relates to products

 2   and services used, sold, shipped and ordered in, or intended to be used, sold, shipped and/or

 3   ordered in, interstate and foreign commerce, as it was used, among others, for the medium

 4   range C-Series aircraft with a range of over 3,000 nautical miles approved by FAA and other

 5   regulatory agencies abroad for service between states and foreign countries.

 6          125.    Plaintiff has taken reasonable measures to keep such information secret as

 7   described above and including, without limitation, subjecting all employees to a Code of

 8   Ethics that instructs personnel in the specifics of identifying and safeguarding Bombardier

 9   proprietary information; clearly marking trade secret information as proprietary and

10   confidential subject to restrictions on further use and dissemination; physically restricting

11   access in its facilities to properly credentialed individuals; and virtually restricting electronic

12   access to proprietary trade secret information to properly credentialed personnel.

13          126.    This confidential, proprietary, and trade secret information derives independent

14   economic value from not being generally known to, and not being readily ascertainable

15   through proper means by another person who could obtain economic value from the

16   disclosure or use of the information. In addition to the foregoing, the information at issue

17   would be of tremendous value to MITAC America in its efforts assisting MITAC to develop,

18   certify, and commercialize the MRJ aircraft, as it would at a minimum provide invaluable

19   guidance in ultimately obtaining regulatory certification for entry into service of a narrow-

20   body, geared turbofan twin-engine, medium-range jet aircraft, something MITAC has been

21   unable to obtain for its MRJ despite nearly a decade of collective effort.

22          127.    In violation of Plaintiff’s rights under the Defend Trade Secrets Act, 18 U.S.C.

23   § 1836, MITAC America misappropriated the confidential, proprietary, and trade secret

24   information described above in an improper and unlawful manner as alleged above and

25   herein. In addition to the foregoing, and upon further information and belief as detailed in

26   part below, MITAC America has misappropriated Plaintiff’s trade secrets under federal law

27   because it acquired Bombardier trade secret information knowing or having reason to know


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 1   that it was acquired by improper means. Additionally, MITAC America misappropriated

 2   Bombardier’s trade secrets because at the time it obtained and/or used Bombardier trade

 3   secret information without Bombardier permission, MITAC America knew or had reason to

 4   know its knowledge of the trade secrets was derived from or through a person who had

 5   utilized improper means to acquire it, acquired under circumstances giving rise to a duty to

 6   maintain its secrecy or limit its use, or derived from or through a person who owed a duty to

 7   Bombardier to maintain its secrecy or limit its use.       Alternatively, MITAC America

 8   misappropriated Bombardier’s trade secrets because it used Bombardier’s trade secrets

 9   without permission, knowing or having reason to know that the information constituted trade

10   secrets acquired by accident or mistake before MITAC America materially changed its

11   position.

12          128.   For instance, MITAC (MITAC America’s corporate parent as described above)

13   had been working on the MRJ project for “more than five years” by August 22, 2013, and by

14   that time it had already “hired many foreign experts, especially ex-Boeing people, to help.”

15   (Denkenberger Decl., Ex. 22.) Notwithstanding years of its best efforts in conjunction with

16   outside expert consulting help, MITAC was heading for further delays. On information and

17   belief, MITAC and/or MITAC officers and/or directors formed MITAC America on June 4,

18   2014, at least in part to expand efforts into the United States to work the MRJ project. On

19   further information and belief, MITAC America then opened the Seattle Engineering Center

20   jointly with AeroTEC on August 3, 2015, at least in part to further expand U.S. efforts to

21   work the MRJ Project. This resulted in “a constant flow of communication” among MITAC,

22   MITAC America, and AeroTEC, which upon information and belief included the sharing of

23   Bombardier trade secret information and the fact that such information had been illicitly

24   obtained.   (Denkenberger Decl., Ex. 11.)    Shortly thereafter, on information and belief,

25   MITAC America participated with MITAC in the willful, targeted recruiting of Bombardier

26   personnel—personnel who had experience in designing and/or certifying the clean-sheet,

27   narrow-body, geared turbofan twin-engine, medium range C-Series aircraft—to assist in the


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 1   design and/or certification of MITAC’s clean-sheet, narrow-body, geared turbofan twin-

 2   engine MRJ aircraft. Upon further information and belief, MITAC America specifically

 3   targeted Bombardier personnel for recruitment with the intention of using these new recruits

 4   to provide proprietary and trade secret Bombardier design and/or certification information for

 5   use in the MRJ project. This is evidenced as described above, but it is also evidenced by the

 6   fact that experienced aviation experts such as ex-Boeing personnel lacked sufficient

 7   information to prevent MITAC from experiencing four (4) significant delays in the MRJ

 8   timetable; by the fact that MITAC America, on information and belief, operates as a corporate

 9   subsidiary and alter ego to MITAC and was formed at least in part to expand efforts in North

10   America to design, develop, and certify the MRJ; by the fact that shortly after forming

11   MITAC America, MITAC hosted a job fair less than one (1) kilometer from Bombardier’s

12   global principal place of business weeks before the fourth announced delay of the MRJ

13   project advertising that it was “looking to hire over 200 Aircraft System Engineers who can

14   work on Certification activities of MRJ aircraft” (Denkenberger Decl., Ex. 29); and by the

15   fact that, upon information and belief, MITAC America had knowledge of, condoned, and

16   participated in AeroTEC’s targeted recruiting of Bombardier personnel in Wichita, Kansas by

17   virtue of Mr. Korwin-Szymanowski’s admitted agency of MITAC America for purposes of

18   recruiting certification personnel.     Further, MITAC America’s misappropriation of

19   Bombardier trade secret information is also evidenced by the fact that shortly after a critical

20   mass of former Bombardier personnel began working for MITAC, MITAC America, and

21   AeroTEC in their respective capacities on the MRJ project—a period that began over eight (8)

22   years after the MRJ project was launched—MITAC abandoned its design of certain MRJ

23   systems and electrical configurations in favor of a new design that was prompted by Mr.

24   Ayre’s feedback while he was still employed by Bombardier. On information and belief,

25   MITAC America has been using Bombardier confidential and trade secret information to

26   assist in the new design’s certification, and MITAC America has been benefiting from the

27   Corporate Defendants’ collective known illicit use of Bombardier’s trade secrets to further the


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 1   MRJ project. On further information and belief, MITAC America knew or should have known

 2   that certification of its new design incorporates Bombardier trade secret information, because

 3   of the aforementioned circumstances leading up to and surrounding MITAC’s January 2017

 4   announcement—said circumstances including the explicit notification by Bombardier to MHI

 5   counsel who acted on behalf of both MITAC and MITAC America and were on specific

 6   notice of the potential acquisition and use of Bombardier trade secrets by its now-former

 7   employees (including Mr. Ayre).

 8           129.    Additionally, because of the unique, highly detailed, and highly technical

 9   nature of Bombardier’s trade secret information pertaining to aircraft certification, MITAC

10   America employees recruited from Bombardier would know or have reason to know and

11   recognize any Bombardier trade secret information being incorporated into MRJ certification

12   processes. Further, these same employees would know that this information would have been

13   acquired under an ongoing duty to Bombardier to maintain its confidentiality, and as such

14   would know that its incorporation into MRJ certification processes is in contravention of this

15   ongoing duty and thus acquired/disclosed/used through improper means.

16           130.    Further, at all relevant times, MITAC America operated as an alter ego of

17   MITAC.      As alleged in the foregoing paragraphs, MITAC America does not operate

18   independently from MITAC, and in fact, it was created and sustained—and is sustained to this

19   day—for the very purpose of certifying the MRJ. MITAC and MITAC America freely and

20   intentionally share all information related to technical data, flight tests, and certification, using

21   their multiple global locations to ensure that they can work around the clock and “hand off”

22   unfinished projects to their counterparts across the Pacific when it is time to turn in for the

23   day. Upon information and belief, and according to MITAC’s own public statements, the

24   institutional knowledge of MITAC and MITAC America—at least with respect to the

25   development, design, and certification of the MRJ—are coextensive in scope.

26           131.    As a result of MITAC America’s establishment, existence, and operation as an

27   alter ego of MITAC, all knowledge possessed by MITAC, both of the improper acquisition of


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 1   Bombardier’s trade secrets and of the use and dissemination of those trade secrets, can and

 2   must be attributed to MITAC America. As such, MITAC America knew or had reason to

 3   know—just as MITAC knew or had reason to know—that it improperly acquired and/or used

 4   Bombardier’s trade secrets knowing that these secrets were obtained through improper means.

 5          132.     MITAC America’s conduct as described herein was intentional, knowing,

 6   willful, malicious, fraudulent, and oppressive.

 7          133.     As a direct and proximate result of MITAC America’s conduct, Plaintiff has

 8   suffered and will continue to suffer irreparable financial loss, loss of goodwill, and an

 9   irreparable loss of the confidentiality of their proprietary and trade secret information, for

10   which there is no adequate remedy at law.

11          134.     Plaintiff has also suffered substantial damages as a direct and proximate cause

12   of MITAC America’s conduct in an amount to be proven at trial.

13          135.     MITAC America has also been unjustly enriched by its misappropriation of

14   Bombardier’s trade secrets in an amount to be proven at trial.

15        Count IV: Violation of the Washington Uniform Trade Secrets Act (WUTSA),

16                            RCW 19.108.010 et seq. (MITAC AMERICA)

17          136.     Plaintiff incorporates by reference paragraphs 1-135, above, as though fully set

18   forth herein.

19          137.     As explained above, Plaintiff has developed, owns, and possesses certain

20   confidential, proprietary, and trade secret information, including but not limited to

21   information used for the C-Series aircraft’s design, development, testing, evaluation,

22   certification, and commercialization for use in the United States and abroad.

23          138.     Such information includes, but is not limited to, the specific documents

24   described and/or identified above as being illicitly transmitted to personal email accounts by

25   former Bombardier personnel before their departure from Bombardier. This information

26   constitutes financial,    business, scientific, technical,    economic,    and/or engineering

27   information.


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 1          139.    This confidential, proprietary, and trade secret information relates to products

 2   and services used, sold, shipped and ordered in, or intended to be used, sold, shipped and/or

 3   ordered in, interstate and foreign commerce, as it was used, among others, for the medium

 4   range C-Series aircraft with a range of over 3,000 nautical miles approved by FAA and other

 5   regulatory agencies abroad for service between states and foreign countries.

 6          140.    Plaintiff has taken reasonable measures to keep such information secret as

 7   described above and including, without limitation, subjecting all employees to a Code of

 8   Ethics that instructs personnel in the specifics of identifying and safeguarding Bombardier

 9   proprietary information; clearly marking trade secret information as proprietary and

10   confidential subject to restrictions on further use and dissemination; physically restricting

11   access in its facilities to properly credentialed individuals; and virtually restricting electronic

12   access to proprietary trade secret information to properly credentialed personnel.

13          141.    This confidential, proprietary, and trade secret information derives independent

14   economic value from not being generally known to, and not being readily ascertainable

15   through proper means by another person who could obtain economic value from the

16   disclosure or use of the information. In addition to the foregoing, the information at issue

17   would be of tremendous value to MITAC America in its efforts assisting MITAC to develop,

18   certify, and commercialize the MRJ aircraft, as it would at a minimum provide invaluable

19   guidance in ultimately obtaining regulatory certification for entry into service of a narrow-

20   body, geared turbofan twin-engine, medium-range jet aircraft, something MITAC has been

21   unable to obtain for its MRJ despite nearly a decade of collective effort.

22          142.    In violation of Plaintiff’s rights under the WUTSA, RCW 19.108.010 et seq.,

23   MITAC America misappropriated the confidential, proprietary, and trade secret information

24   described above in an improper and unlawful manner as alleged above and herein. In addition

25   to the foregoing, and upon further information and belief as detailed in part below, MITAC

26   America has misappropriated Plaintiff’s trade secrets under federal law because it acquired

27   Bombardier trade secret information knowing or having reason to know that it was acquired


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 1   by improper means. Additionally, MITAC America misappropriated Bombardier’s trade

 2   secrets because at the time it obtained and/or used Bombardier trade secret information

 3   without Bombardier permission, MITAC America knew or had reason to know its knowledge

 4   of the trade secrets was derived from or through a person who had utilized improper means to

 5   acquire it, acquired under circumstances giving rise to a duty to maintain its secrecy or limit

 6   its use, or derived from or through a person who owed a duty to Bombardier to maintain its

 7   secrecy or limit its use. Alternatively, MITAC America misappropriated Bombardier’s trade

 8   secrets because it used Bombardier’s trade secrets without permission, knowing or having

 9   reason to know that the information constituted trade secrets acquired by accident or mistake

10   before MITAC America materially changed its position.

11          143.    For instance, MITAC (MITAC America’s corporate parent as described above)

12   had been working on the MRJ project for “more than five years” by August 22, 2013, and by

13   that time it had already “hired many foreign experts, especially ex-Boeing people, to help.”

14   (Denkenberger Decl., Ex. 22.) Notwithstanding years of its best efforts in conjunction with

15   outside expert consulting help, MITAC was heading for further delays. On information and

16   belief, MITAC and/or MITAC officers and/or directors formed MITAC America on June 4,

17   2014, at least in part to expand efforts into the United States to work the MRJ project. On

18   further information and belief, MITAC America then opened the Seattle Engineering Center

19   jointly with AeroTEC on August 3, 2015, at least in part to further expand U.S. efforts to

20   work the MRJ Project. This resulted in “a constant flow of communication” among MITAC,

21   MITAC America, and AeroTEC, which upon information and belief included the sharing of

22   Bombardier trade secret information and the fact that such information had been illicitly

23   obtained.   (Denkenberger Decl., Ex. 11.)     Shortly thereafter, on information and belief,

24   MITAC America participated with MITAC in the willful, targeted recruiting of Bombardier

25   personnel—personnel who had experience in designing and/or certifying the clean-sheet,

26   narrow-body, geared turbofan twin-engine, medium range C-Series aircraft—to assist in the

27   design and/or certification of MITAC’s clean-sheet, narrow-body, geared turbofan twin-


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 1   engine MRJ aircraft. Upon further information and belief, MITAC America specifically

 2   targeted Bombardier personnel for recruitment with the intention of using these new recruits

 3   to provide proprietary and trade secret Bombardier design and/or certification information for

 4   use in the MRJ project. This is evidenced as described above, but it is also evidenced by the

 5   fact that experienced aviation experts such as ex-Boeing personnel lacked sufficient

 6   information to prevent MITAC from experiencing four (4) significant delays in the MRJ

 7   timetable; by the fact that MITAC America, on information and belief, operates as a corporate

 8   subsidiary and alter ego to MITAC and was formed at least in part to expand efforts in North

 9   America to design, develop, and certify the MRJ; by the fact that shortly after forming

10   MITAC America, MITAC hosted a job fair less than one (1) kilometer from Bombardier’s

11   global principal place of business weeks before the fourth announced delay of the MRJ

12   project advertising that it was “looking to hire over 200 Aircraft System Engineers who can

13   work on Certification activities of MRJ aircraft” (Denkenberger Decl., Ex. 29); and by the

14   fact that, upon information and belief, MITAC America had knowledge of, condoned, and

15   participated in AeroTEC’s targeted recruiting of Bombardier personnel in Wichita, Kansas by

16   virtue of Mr. Korwin-Szymanowski’s admitted agency of MITAC America for purposes of

17   recruiting certification personnel.     Further, MITAC America’s misappropriation of

18   Bombardier trade secret information is also evidenced by the fact that shortly after a critical

19   mass of former Bombardier personnel began working for MITAC, MITAC America, and

20   AeroTEC in their respective capacities on the MRJ project—a period that began over eight (8)

21   years after the MRJ project was launched—MITAC abandoned its design of certain MRJ

22   systems and electrical configurations in favor of a new design that was prompted by Mr.

23   Ayre’s feedback while he was still employed by Bombardier. On information and belief,

24   MITAC America has been using Bombardier confidential and trade secret information to

25   assist in the new design’s certification, and MITAC America has been benefiting from the

26   Corporate Defendants’ collective known illicit use of Bombardier’s trade secrets to further the

27   MRJ project. On further information and belief, MITAC America knew or should have known


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 1   that certification of its new design incorporates Bombardier trade secret information, because

 2   of the aforementioned circumstances leading up to and surrounding MITAC’s January 2017

 3   announcement—said circumstances including the explicit notification by Bombardier to MHI

 4   counsel who acted on behalf of both MITAC and MITAC America and were on specific

 5   notice of the potential acquisition and use of Bombardier trade secrets by their now-former

 6   employees (including Mr. Ayre).

 7           144.    Additionally, because of the unique, highly detailed, and highly technical

 8   nature of Bombardier’s trade secret information pertaining to aircraft certification, MITAC

 9   America employees recruited from Bombardier would know or have reason to know and

10   recognize any Bombardier trade secret information being incorporated into MRJ certification

11   processes. Further, these same employees would know that this information would have been

12   acquired under an ongoing duty to Bombardier to maintain its confidentiality, and as such

13   would know that its incorporation into MRJ certification processes is in contravention of this

14   ongoing duty and thus acquired through improper means.

15           145.    Further, at all relevant times, MITAC America operated as an alter ego of

16   MITAC.      As alleged in the foregoing paragraphs, MITAC America does not operate

17   independently from MITAC, and in fact, it was created and sustained—and is sustained to this

18   day—for the very purpose of certifying the MRJ. MITAC and MITAC America freely and

19   intentionally share all information related to technical data, flight tests, and certification, using

20   their multiple global locations to ensure that they can work around the clock and “hand off”

21   unfinished projects to their counterparts across the Pacific when it is time to turn in for the

22   day. Upon information and belief, and according to MITAC’s own public statements, the

23   institutional knowledge of MITAC and MITAC America—at least with respect to the

24   development, design, and certification of the MRJ—are coextensive in scope.

25           146.    As a result of MITAC America’s establishment, existence, and operation as an

26   alter ego of MITAC, all knowledge possessed by MITAC, both of the improper acquisition of

27   Bombardier’s trade secrets and of the use and dissemination of those trade secrets, can and


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 1   must be attributed to MITAC America. As such, MITAC America knew or had reason to

 2   know—just as MITAC knew or had reason to know—that it improperly acquired and/or used

 3   Bombardier’s trade secrets knowing that these secrets were obtained through improper means.

 4          147.     MITAC America’s conduct as described herein was intentional, knowing,

 5   willful, malicious, fraudulent, and oppressive.

 6          148.     As a direct and proximate result of MITAC America’s conduct, Plaintiff has

 7   suffered and will continue to suffer irreparable financial loss, loss of goodwill, and an

 8   irreparable loss of the confidentiality of their proprietary and trade secret information, for

 9   which there is no adequate remedy at law.

10          149.     Plaintiff has also suffered substantial damages as a direct and proximate cause

11   of MITAC America’s conduct in an amount to be proven at trial.

12          150.     MITAC America has also been unjustly enriched by its misappropriation of

13   Bombardier’s trade secrets in an amount to be proven at trial.

14     Count V: Violation of the Defend Trade Secrets Act (DTSA), 18 U.S.C. § 1836 et seq.

15                                             (AeroTEC)

16          151.     Plaintiff incorporates by reference paragraphs 1-150, above, as though fully set

17   forth herein.

18          152.     As explained above, Plaintiff has developed, owns, and possesses certain

19   confidential, proprietary, and trade secret information, including but not limited to

20   information used for the C-Series aircraft’s design, development, testing, evaluation,

21   certification, and commercialization for use in the United States and abroad.             Such

22   information includes, but is not limited to, the specific documents described and/or identified

23   above as being illicitly transmitted to personal email accounts by former Bombardier

24   personnel before their departure from Bombardier. This information constitutes financial,

25   business, scientific, technical, economic, and/or engineering information.

26          153.     This confidential, proprietary, and trade secret information relates to products

27   and services used, sold, shipped and ordered in, or intended to be used, sold, shipped and/or


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 1   ordered in, interstate and foreign commerce, as it was used, among others, for the medium

 2   range C-Series aircraft with a range of over 3,000 nautical miles approved by FAA and other

 3   regulatory agencies abroad for service between states and foreign countries.

 4          154.    Plaintiff has taken reasonable measures to keep such information secret as

 5   described above and including, without limitation, subjecting all employees to a Code of

 6   Ethics that instructs personnel in the specifics of identifying and safeguarding Bombardier

 7   proprietary information; clearly marking trade secret information as proprietary and

 8   confidential subject to restrictions on further use and dissemination; physically restricting

 9   access in its facilities to properly credentialed individuals; and virtually restricting electronic

10   access to proprietary trade secret information to properly credentialed personnel.

11          155.    This confidential, proprietary, and trade secret information derives independent

12   economic value from not being generally known to, and not being readily ascertainable

13   through proper means by another person who could obtain economic value from the

14   disclosure or use of the information. In addition to the foregoing, the information at issue

15   would be of tremendous value to AeroTEC in its efforts to assist MITAC and MITAC

16   America develop, certify, and commercialize its MRJ aircraft, as it would at a minimum

17   provide invaluable guidance in ultimately obtaining regulatory certification for entry into

18   service of a narrow-body, geared turbofan twin-engine, medium-range jet aircraft, something

19   MITAC has been unable to obtain for its MRJ despite nearly a decade of effort.

20          156.    In violation of Plaintiff’s rights under the Defend Trade Secrets Act, 18 U.S.C.

21   § 1836, AeroTEC misappropriated the confidential, proprietary, and trade secret information

22   described above in an improper and unlawful manner as alleged herein. In addition to the

23   foregoing, and upon further information and belief, AeroTEC has misappropriated Plaintiff’s

24   trade secrets under federal law because it acquired Bombardier trade secret information

25   knowing or having reason to know that it was acquired by improper means. Additionally,

26   AeroTEC misappropriated Bombardier’s trade secrets because at the time it obtained and/or

27   used Bombardier trade secret information without Bombardier permission, AeroTEC knew or


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 1   had reason to know its knowledge of the trade secrets was derived from or through a person

 2   who had utilized improper means to acquire it, acquired under circumstances giving rise to a

 3   duty to maintain its secrecy or limit its use, or derived from or through a person who owed a

 4   duty to Bombardier to maintain its secrecy or limit its use.          Alternatively, AeroTEC

 5   misappropriated Bombardier’s trade secrets because it used Bombardier’s trade secrets

 6   without permission, knowing or having reason to know that the information constituted trade

 7   secrets acquired by accident or mistake before AeroTEC materially changed its position.

 8             157.   For example, and by no means limiting, AeroTEC on information and belief

 9   began its involvement with the MRJ project by no later than August 3, 2015, at which time in

10   conjunction with MITAC America it opened the Seattle Engineering Center. On information

11   and belief, MITAC America partnered with AeroTEC for at least the purpose of enlisting

12   AeroTEC’s assistance in the design, development, and/or certification of the MRJ—a project

13   that by August 3, 2015 had experienced three significant delays and would soon experience a

14   fourth.    Upon information and belief, shortly after partnering with MITAC America in

15   forming the Seattle Engineering Center, and after realizing it did not then have the necessary

16   personnel or resources to effectively assist MITAC and MITAC America with the MRJ

17   project, AeroTEC began willful, targeted recruiting of Bombardier personnel—personnel

18   who had experience in designing and/or certifying the clean-sheet, narrow-body, geared

19   turbofan twin-engine, medium range C-Series aircraft—to assist in the design and/or

20   certification of MITAC’s clean-sheet, narrow-body, geared turbofan twin-engine MRJ

21   aircraft. Upon further information and belief, AeroTEC specifically targeted Bombardier

22   personnel for recruitment with the intention of using these new recruits to provide proprietary

23   and trade secret Bombardier design and certification information for use in the MRJ project.

24   This is evidenced as described above, but it is also evidenced by the fact that, upon

25   information and belief, AeroTEC initially lacked the requisite expertise—just as experienced

26   aviation experts such as ex-Boeing personnel did—to prevent MITAC from experiencing any

27   additional delays in the MRJ timetable; by the fact that at least one (1) officer or director of


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 1   AeroTEC, former Bombardier employee Defendant Michel Korwin-Szymanowski, sent

 2   targeted electronic communications to then-current Bombardier personnel relaying his and

 3   AeroTEC’s intention to hire Bombardier personnel for work on the MRJ project; by the fact

 4   AeroTEC retained the services of professional recruiting services such as Velocity Consulting

 5   Solutions who attempted to recruit Bombardier personnel; and by the fact that AeroTEC

 6   organized a job fair in Wichita, Kansas in proximity to Bombardier’s U.S. Flight Test Center

 7   and upon information and belief further targeted Bombardier personnel specifically for this

 8   job fair by arranging for billboards mounted on flatbed trucks advertising the job fair to be

 9   displayed immediately outside Bombardier’s Flight Test Center.             Further, AeroTEC’s

10   misappropriation of Bombardier trade secret information is also evidenced by the fact that

11   shortly after a critical mass of former Bombardier personnel began working for AeroTEC in

12   their respective capacities on the MRJ project—over eight (8) years after the MRJ project was

13   launched—MITAC abandoned its design of certain MRJ systems and electrical configurations

14   in favor of a new design that would be easier to certify, even though that would require

15   MITAC to begin its certification process anew. On information and belief, AeroTEC has

16   been using Bombardier trade secret information to assist in the new design’s certification, and

17   AeroTEC has been benefiting from the Corporate Defendants’ collective known illicit use of

18   Bombardier’s trade secrets to further the MRJ project. On further information and belief,

19   AeroTEC knows or should know that certification of the MRJ’s new design will rely on

20   Bombardier’s trade secret information, because of the aforementioned circumstances leading

21   up to and surrounding MITAC’s January 2017 announcement.

22          158.    AeroTEC’s conduct as described herein was intentional, knowing, willful,

23   malicious, fraudulent, and oppressive.

24          159.    As a direct and proximate result of AeroTEC’s conduct, Plaintiff has suffered

25   and will continue to suffer irreparable financial loss, loss of goodwill, and an irreparable loss

26   of the confidentiality of their proprietary and trade secret information, for which there is no

27   adequate remedy at law.


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 1           160.    Plaintiff has also suffered substantial damages as a direct and proximate cause

 2   of AeroTEC’s conduct in an amount to be proven at trial.

 3           161.    AeroTEC has also been unjustly enriched by its misappropriation of

 4   Bombardier’s trade secrets in an amount to be proven at trial.

 5         Count VI: Violation of the Washington Uniform Trade Secrets Act (WUTSA),

 6                                RCW 19.108.010 et seq. (AeroTEC)

 7           162.    Bombardier incorporates by reference paragraphs 1-161, above, as though fully

 8   set forth herein.

 9           163.    As explained above, Plaintiff has developed, owns, and possesses certain

10   confidential, proprietary, and trade secret information, including but not limited to

11   information used for the C-Series aircraft’s design, development, testing, evaluation,

12   certification, and commercialization for use in the United States and abroad.             Such

13   information includes, but is not limited to, the specific documents described and/or identified

14   above as being illicitly transmitted to personal email accounts by former Bombardier

15   personnel before their departure from Bombardier. This information constitutes financial,

16   business, scientific, technical, economic, and/or engineering information.

17           164.    This confidential, proprietary, and trade secret information relates to products

18   and services used, sold, shipped and ordered in, or intended to be used, sold, shipped and/or

19   ordered in, interstate and foreign commerce, as it was used, among others, for the medium

20   range C-Series aircraft with a range of over 3,000 nautical miles approved by FAA and other

21   regulatory agencies abroad for service between states and foreign countries.

22           165.    Plaintiff has taken reasonable measures to keep such information secret as

23   described above and including, without limitation, subjecting all employees to a Code of

24   Ethics that instructs personnel in the specifics of identifying and safeguarding Bombardier

25   proprietary information; clearly marking trade secret information as proprietary and

26   confidential subject to restrictions on further use and dissemination; physically restricting

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 1   access in its facilities to properly credentialed individuals; and virtually restricting electronic

 2   access to proprietary trade secret information to properly credentialed personnel.

 3          166.    This confidential, proprietary, and trade secret information derives independent

 4   economic value from not being generally known to, and not being readily ascertainable

 5   through proper means by another person who could obtain economic value from the

 6   disclosure or use of the information. In addition to the foregoing, the information at issue

 7   would be of tremendous value to AeroTEC in its efforts to assist MITAC and MITAC

 8   America develop, certify, and commercialize its MRJ aircraft, as it would at a minimum

 9   provide invaluable guidance in ultimately obtaining regulatory certification for entry into

10   service of a narrow-body, geared turbofan twin-engine, medium-range jet aircraft, something

11   MITAC has been unable to obtain for its MRJ despite nearly a decade of effort.

12          167.    In violation of Plaintiff’s rights under the WUTSA, RCW 19.108.010 et seq.,

13   AeroTEC misappropriated the confidential, proprietary, and trade secret information

14   described above in an improper and unlawful manner as alleged herein. In addition to the

15   foregoing, and upon further information and belief, AeroTEC has misappropriated Plaintiff’s

16   trade secrets under federal law because it acquired Bombardier trade secret information

17   knowing or having reason to know that it was acquired by improper means. Additionally,

18   AeroTEC misappropriated Bombardier’s trade secrets because at the time it obtained and/or

19   used Bombardier trade secret information without Bombardier permission, AeroTEC knew or

20   had reason to know its knowledge of the trade secrets was derived from or through a person

21   who had utilized improper means to acquire it, acquired under circumstances giving rise to a

22   duty to maintain its secrecy or limit its use, or derived from or through a person who owed a

23   duty to Bombardier to maintain its secrecy or limit its use.            Alternatively, AeroTEC

24   misappropriated Bombardier’s trade secrets because it used Bombardier’s trade secrets

25   without permission, knowing or having reason to know that the information constituted trade

26   secrets acquired by accident or mistake before AeroTEC materially changed its position.

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 1             168.   For example, and by no means limiting, AeroTEC on information and belief

 2   began its involvement with the MRJ project by no later than August 3, 2015, at which time in

 3   conjunction with MITAC America it opened the Seattle Engineering Center. On information

 4   and belief, MITAC America partnered with AeroTEC for at least the purpose of enlisting

 5   AeroTEC’s assistance in the design, development, and/or certification of the MRJ—a project

 6   that by August 3, 2015 had experienced three significant delays and would soon experience a

 7   fourth.    Upon information and belief, shortly after partnering with MITAC America in

 8   forming the Seattle Engineering Center, and after realizing it did not then have the necessary

 9   personnel or resources to effectively assist MITAC and MITAC America with the MRJ

10   project, AeroTEC began willful, targeted recruiting of Bombardier personnel—personnel

11   who had experience in designing and/or certifying the clean-sheet, narrow-body, geared

12   turbofan twin-engine, medium range C-Series aircraft—to assist in the design and/or

13   certification of MITAC’s clean-sheet, narrow-body, geared turbofan twin-engine MRJ

14   aircraft. Upon further information and belief, AeroTEC specifically targeted Bombardier

15   personnel for recruitment with the intention of using these new recruits to provide proprietary

16   and trade secret Bombardier design and certification information for use in the MRJ project.

17   This is evidenced as described above, but it is also evidenced by the fact that, upon

18   information and belief, AeroTEC initially lacked the requisite expertise—just as experienced

19   aviation experts such as ex-Boeing personnel did—to prevent MITAC from experiencing any

20   additional delays in the MRJ timetable; by the fact that at least one (1) officer or director of

21   AeroTEC, former Bombardier employee Defendant Michel Korwin-Szymanowski, sent

22   targeted electronic communications to then-current Bombardier personnel relaying his and

23   AeroTEC’s intention to hire Bombardier personnel for work on the MRJ project; by the fact

24   AeroTEC retained the services of professional recruiting services such as Velocity Consulting

25   Solutions who attempted to recruit Bombardier personnel; and by the fact that AeroTEC

26   organized a job fair in Wichita, Kansas in proximity to Bombardier’s U.S. Flight Test Center

27   and upon information and belief further targeted Bombardier personnel specifically for this


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 1   job fair by arranging for billboards mounted on flatbed trucks advertising the job fair to be

 2   displayed immediately outside Bombardier’s Flight Test Center.             Further, AeroTEC’s

 3   misappropriation of Bombardier trade secret information is also evidenced by the fact that

 4   shortly after a critical mass of former Bombardier personnel began working for AeroTEC in

 5   their respective capacities on the MRJ project—over eight (8) years after the MRJ project was

 6   launched—MITAC abandoned its design of certain MRJ systems and electrical configurations

 7   in favor of a new design that would be easier to certify, even though that would require

 8   MITAC to begin its certification process anew. On information and belief, AeroTEC has

 9   been using Bombardier trade secret information to assist in the new design’s certification, and

10   AeroTEC has been benefiting from the Corporate Defendants’ collective known illicit use of

11   Bombardier’s trade secrets to further the MRJ project. On further information and belief,

12   AeroTEC knows or should know that certification of the MRJ’s new design will rely on

13   Bombardier’s trade secret information, because of the aforementioned circumstances leading

14   up to and surrounding MITAC’s January 2017 announcement.

15          169.    AeroTEC’s conduct as described herein was intentional, knowing, willful,

16   malicious, fraudulent, and oppressive.

17          170.    As a direct and proximate result of AeroTEC’s conduct, Plaintiff has suffered

18   and will continue to suffer irreparable financial loss, loss of goodwill, and an irreparable loss

19   of the confidentiality of their proprietary and trade secret information, for which there is no

20   adequate remedy at law.

21          171.    Plaintiff has also suffered substantial damages as a direct and proximate cause

22   of AeroTEC’s conduct in an amount to be proven at trial.

23          172.     AeroTEC has also been unjustly enriched by its misappropriation of

24   Bombardier’s trade secrets in an amount to be proven at trial.

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 1       Count VII: Tortious Interference with Contractual Relationship and/or Business

 2                                        Expectancy (MITAC)

 3          173.     Plaintiff incorporates by reference paragraphs 1-172, above, as though fully set

 4   forth herein.

 5          174.     Bombardier had a reasonable and valid contractual relationship and/or business

 6   expectancy with each of its former employees arising from each former employee’s

 7   agreement to be bound by Bombardier’s Code of Ethics provision to “not divulge

 8   [Bombardier] confidential information to anyone other than the person or persons for whom it

 9   is intended, unless authorized or legally required to do so.          This includes confidential

10   information provided by suppliers and customers.          Employees agree to maintain such

11   confidentiality at all times, even after leaving the employ of Bombardier.” (Ex. D, at 15.)

12   Both the 2004 Code of Ethics and the 2012 Code of Ethics contain this provision. (See Exs.

13   D and M.) Upon information and belief, all previous versions of Bombardier’s Code of

14   Ethics contained these exact or substantively identical provisions.

15          175.     On information and belief, each of Defendants Delarche and Dornéval signed

16   an acknowledgement on their respective first day of working for Bombardier that as a

17   condition to their respective employment each would abide by the 2004 Code of Ethics. On

18   information and belief, Defendant Basson signed an acknowledgement on his first day of

19   working for Bombardier that as a condition of his employment he would abide by the 2012

20   Code of Ethics.      The relevant versions of Bombardier’s Code of Ethics that each of

21   Defendants Basson, Delarche, and Dornéval signed and agreed to abide by on their respective

22   first day of working for Bombardier included the confidentiality provision noted in the

23   preceding paragraph. Thus, each of these employees had a continuing obligation under the

24   respective Code of Ethics to maintain the confidentiality of all Bombardier trade secret,

25   proprietary, and/or confidential information following termination of employment.            On

26   information and belief, at least Defendant Delarche, as well as certain of Does 1-88, owed this

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 1   continuing duty to Bombardier when they were employed by MITAC as part of Defendants’

 2   efforts to gain certification for the MRJ.

 3          176.    Bombardier also had a reasonable and valid business expectancy that personnel

 4   working out of its offices in Canada would honor their duties of good faith and fidelity to

 5   Bombardier as their employer under Canadian law. (See Dkt. No. 87-1.) Bombardier had a

 6   reasonable expectation that, as part of these duties, these employees would not take or use any

 7   of Bombardier’s trade secret, confidential, and/or proprietary information when these

 8   employees left Bombardier.       This reasonable expectation exists at least with respect to

 9   Defendants Basson, Delarche, Dornéval, and Ayre, as well as any of Does 1-88 who

10   previously worked in or out of Bombardier’s Canadian offices.           Thus, each of these

11   employees had a continuing obligation following termination of employment to maintain the

12   confidentiality of all Bombardier trade secret, proprietary, and/or confidential information.

13   On information and belief, at least Defendants Delarche and Ayre, as well as certain of Does

14   1-88 who previously worked in or out of Bombardier’s Canadian offices and now work at

15   MITAC, owe this continuing duty to Bombardier while employed by MITAC.

16          177.    Bombardier had yet another reasonable and valid business expectancy that it

17   would generally adhere to its certification schedules set forth for the C-Series and Global

18   7000/8000 Aircraft, particularly because Bombardier had successfully obtained certification

19   for approximately thirty (30) different aircraft in the preceding three (3) decades, it had

20   significant experience and understanding of certification processes as a result of these

21   previous certifications, and it could reasonably expect based on this experience and

22   understanding that its projected schedule to obtain certification for the C-Series and Global

23   7000/8000 Aircraft would be accurate. The hiring by Defendant MITAC of Bombardier

24   personnel working on the certification process occurred during, and had a detrimental impact

25   on, the certification schedules for the C-Series and the Global 7000/8000 Aircraft, delaying

26   these certification schedules by at least several months. On information and belief, MITAC

27   continued its recruitment and hiring of Bombardier personnel who were working on


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 1   Bombardier’s certification efforts despite learning—at least through written correspondence

 2   sent to MHI (and therefore MITAC and MITAC America)—about the detrimental impact that

 3   the continued recruitment and hiring of Bombardier personnel would have on Bombardier’s

 4   certification schedules. Accordingly, MITAC knew or should have known of the detrimental

 5   impact that its actions were having on Bombardier and its certification schedules but

 6   nevertheless persisted in continuing to recruit and hire these Bombardier personnel. Based on

 7   the foregoing, and upon further information and belief, MITAC’s persisted course of conduct,

 8   which resulted in the loss of key Bombardier certification personnel (including but not limited

 9   to Bombardier’s chief and deputy chief flight test pilots for certification purposes) at critical

10   times to Bombardier’s certification efforts, was done for the improper purpose of delaying

11   Bombardier’s certification schedule, it in fact delayed Bombardier’s certification schedule,

12   and it inflicted resulting harm on Bombardier in the form of costly delays to the certification

13   schedules of its C Series and/or Global 7000/8000 Aircraft.

14          178.    MITAC knew of each of these contractual relationships and business

15   expectancies, at least because Bombardier informed MITAC’s parent of these relationships

16   and expectancies through various letters described above and, on information and belief,

17   because MITAC’s parent shared information regarding these relationships and expectancies

18   with MITAC, because MITAC had previously hired former Bombardier personnel who were

19   aware of these relationships and expectancies, and/or because MITAC as a similarly situated

20   corporate entity maintains the same relationships and/or expectations of its own.

21          179.    By engaging in the aforementioned conduct, specifically but without limitation

22   targeting Bombardier personnel for recruitment for its MRJ project, MITAC intentionally

23   interfered with Bombardier’s contractual relationships and business expectancies, which

24   proximately induced or caused breach of the aforementioned contractual relationships with,

25   and/or business expectancies from, at least individual Defendants Delarche Ayre, and those

26   Does 1-88 employed by MITAC. ’

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 1          180.    MITAC’s intentional interference with Bombardier’s contractual relationships

 2   and business expectancies was conducted for improper purposes, namely—to knowingly,

 3   willfully, and illicitly obtain Bombardier confidential, proprietary, and/or trade secret

 4   information to assist in the development and/or certification of its MRJ; and to harm

 5   Bombardier in the form of costly delays to its certification efforts for the C-Series and Global

 6   7000/8000 Aircraft, which in fact materialized as described above.

 7          181.    MITAC’s intentional interference with Bombardier’s contractual relationships

 8   and business expectancies was also conducted using improper means, namely—by

 9   knowingly, willfully, and illicitly solicit Bombardier confidential, proprietary, and/or trade

10   secret information from then-current Bombardier employees to assist Defendants in their

11   efforts in developing and/or certifying the MRJ. For example, in at least one instance,

12   MITAC’s Engineering Lead of Ice Protection Systems for the MRJ, Mr. Fukuda, solicited and

13   received Bombardier confidential and/or trade secret information from Defendant Ayre while

14   Defendant Ayre still worked for Bombardier. (See Ex. S (email to Fukuda-san).) At the time

15   of this correspondence, Mr. Ayre held a high level position with Bombardier and had specific

16   responsibility on Bombardier’s certification efforts as a Design Approval Designee. On

17   information and belief, Mr. Fukuda’s responsibilities at the time were related to MITAC’s

18   certification efforts for the ice detection and prevention systems for the MRJ, the very subject

19   of his correspondence with Mr. Ayre; yet, in this correspondence, Mr. Fukuda appeared to be

20   unaware of the history and progression of the relevant certification requirements for these

21   systems. As a result, on information and belief, Mr. Fukuda contacted Mr. Ayre while Mr.

22   Ayre was working for Defendant Bombardier to solicit input and obtain guidance related to

23   the certification process and requirements for these systems on the MRJ. By virtue of his

24   leadership position at MITAC, Mr. Fukuda knew or should have known of Mr. Ayre’s

25   obligation to refrain from assisting Bombardier competitors while still employed by

26   Bombardier. Further, Mr. Fukuda knew or should have known that the information he was

27   soliciting, and the information he eventually received from Mr. Ayre in response, included


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 1   Bombardier confidential and/or trade secret information. Moreover, not only did Mr. Ayre

 2   respond to Mr. Fukuda’s solicitation by disclosing Bombardier’s confidential and/or trade

 3   secret information, but he did so during normal business hours, and on information and belief,

 4   while at Bombardier’s facilities and using Bombardier’s equipment.

 5          182.     MITAC’s intentional interference with Bombardier’s contractual relationships

 6   and business expectancies for an improper purpose by improper means has caused resulting

 7   damage to Plaintiff and is continuing to cause resulting damage to Plaintiff at least by causing

 8   Bombardier’s confidential, proprietary, and/or trade secret information to be divulged, and/or

 9   by causing delays to Bombardier’s own certification schedule, as described above, in an

10   amount to be determined at trial.

11      Count VIII: Tortious Interference with Contractual Relationship and/or Business

12                                 Expectancy (MITAC AMERICA)

13          183.     Plaintiff incorporates by reference paragraphs 1-182, above, as though fully set

14   forth herein.

15          184.     Bombardier had a reasonable and valid business expectancy that it would

16   generally adhere to its certification schedules set forth for the C-Series and Global 7000/8000

17   Aircraft, particularly because Bombardier had successfully obtained certification for

18   approximately thirty (30) different aircraft in the preceding three (3) decades, it had

19   significant experience and understanding of certification processes as a result of these

20   previous certifications, and it could reasonably expect based on this experience and

21   understanding that its projected schedule to obtain certification for the C-Series and Global

22   7000/8000 Aircraft would be accurate. The hiring by Defendant MITAC America of at least

23   some of Does 1-88 occurred during and had a detrimental impact on the certification

24   schedules for the C-Series and the Global 7000/8000 Aircraft, delaying these certification

25   schedules by at least several months. In addition, Defendant Korwin-Szymanowski acted as

26   an agent for MITAC America by recruiting and hiring employees for MITAC America’s

27   facilities. (See Dkt. No. 65, ¶ 9.) Bombardier informed Mr. Korwin-Szymanowski (as well


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 1   as counsel for MHI, and therefore MITAC and MITAC America, as detailed above) of the

 2   detrimental impact that these recruiting efforts were having, and would continue to have, on

 3   Bombardier and its certification schedules.

 4          185.    On information and belief, MITAC America and Defendant Korwin-

 5   Szymanowski continued their recruitment and hiring of Bombardier personnel who were

 6   working on Bombardier’s certification process despite learning about the detrimental impact

 7   that these efforts would have on Bombardier’s certification schedules. Accordingly, MITAC

 8   America knew or should have known of the detrimental impact that its actions were having on

 9   Bombardier and its certification schedules but nevertheless persisted in continuing to recruit

10   and hire these Bombardier personnel. Based on the foregoing, and upon further information

11   and belief, MITAC America’s persisted course of conduct, which resulted in the loss of key

12   Bombardier certification personnel (including but not limited to Bombardier’s chief and

13   deputy chief flight test pilots for certification purposes) at critical times to Bombardier’s

14   certification efforts, was done for the improper purpose of delaying Bombardier’s certification

15   schedule, it in fact delayed Bombardier’s certification schedule, and it inflicted resulting harm

16   on Bombardier in the form of costly delays to the certification schedules of its C Series and/or

17   Global 7000/8000 Aircraft.

18          186.    MITAC America knew of each of these business expectancies to maintain

19   projected certification schedules, at least because Bombardier informed MITAC America’s

20   agent (Defendant Korwin-Szymanowski) along with MHI of these expectancies through

21   various letters described above and on information and belief, MITAC America’s agent

22   and/or MHI counsel acting on behalf of MITAC America shared information regarding these

23   relationships and expectancies with MITAC America, and because MITAC America had

24   previously hired former Bombardier personnel who were aware of these expectancies

25   regarding certification schedules.

26          187.    By engaging in the aforementioned conduct, specifically but without limitation

27   targeting Bombardier personnel for recruitment for its MRJ project, MITAC America


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 1   intentionally interfered with Bombardier’s business expectancies, which proximately caused

 2   delay to Bombardier’s schedule and inflicted resultant harm on Bombardier.

 3          188.     MITAC America’s intentional interference with Bombardier’s business

 4   expectancies was conducted for an improper purpose, namely to harm Bombardier in the form

 5   of costly delays to its certification efforts for the C-Series and Global 7000/8000 Aircraft,

 6   which in fact materialized as described above.

 7          189.     MITAC America’s intentional interference with Bombardier’s business

 8   expectancies for an improper purpose has caused resulting damage to Plaintiff at least by

 9   causing delays to Bombardier’s own certification schedule, as described above, in an amount

10   to be determined at trial.

11        Count IX: Tortious Interference with Contractual Relationship and/or Business

12                                        Expectancy (AeroTEC)

13          190.     Plaintiff incorporates by reference paragraphs 1-189, above, as though fully set

14   forth herein.

15          191.     Bombardier had a reasonable and valid contractual relationship and/or business

16   expectancy with each of its former employees arising from each former employee’s

17   agreement to be bound by Bombardier’s Code of Ethics provision to “not divulge

18   [Bombardier] confidential information to anyone other than the person or persons for whom it

19   is intended, unless authorized or legally required to do so.        This includes confidential

20   information provided by suppliers and customers.          Employees agree to maintain such

21   confidentiality at all times, even after leaving the employ of Bombardier.” (Ex. D, at 15.)

22   Both the 2004 Code of Ethics and the 2012 Code of Ethics contain this provision. (See Exs.

23   D and M.)

24          192.     On information and belief, each of Defendants Delarche and Dornéval signed

25   an acknowledgement on their respective first day of working for Bombardier that as a

26   condition to their respective employment each would abide by the 2004 Code of Ethics. On

27   information and belief, Defendant Basson signed an acknowledgement on his first day of


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 1   working for Bombardier that as a condition of his employment he would abide by the 2012

 2   Code of Ethics.     The relevant versions of Bombardier’s Code of Ethics that each of

 3   Defendants Basson, Delarche, and Dornéval signed and agreed to abide by on their respective

 4   first day of working for Bombardier included the confidentiality provision noted in the

 5   preceding paragraph. Thus, each of these employees had a continuing obligation under the

 6   respective Code of Ethics to maintain the confidentiality of all Bombardier trade secret,

 7   proprietary, and/or confidential information following termination of employment.          On

 8   information and belief, at least Defendants Basson, Delarche, and Dornéval, as well as certain

 9   of Does 1-88, owed this continuing duty to Bombardier when they were employed by

10   AeroTEC as part of Defendants’ efforts to gain certification for the MRJ.

11          193.    Bombardier also had a reasonable and valid business expectancy that personnel

12   working out of its offices in Canada would honor their duties of good faith and fidelity to

13   Bombardier as their employer under Canadian law. (See Dkt. No. 87-1.) Bombardier had a

14   reasonable expectation that, as part of these duties, these employees would not take or use any

15   of Bombardier’s trade secret, confidential, and/or proprietary information when these

16   employees left Bombardier.     This reasonable expectation exists at least with respect to

17   Defendants Basson, Delarche, Dornéval, and Ayre, as well as any of Does 1-88 who

18   previously worked in or out of Bombardier’s Canadian offices. Thus, each of these employees

19   had a continuing obligation following termination of employment to maintain the

20   confidentiality of all Bombardier trade secret, proprietary, and/or confidential information.

21   On information and belief, at least Defendants Basson, Dornéval, and Delarche, as well as

22   certain of Does 1-88 who previously worked in or out of Bombardier’s Canadian offices and

23   now work at AeroTEC, owe this continuing duty to Bombardier while employed by

24   AeroTEC.

25          194.    Bombardier had yet another reasonable and valid business expectancy that it

26   would generally adhere to its certification schedules set forth for the C-Series and Global

27   7000/8000 Aircraft, particularly because Bombardier had successfully obtained certification


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 1   for approximately thirty (30) different aircraft in the preceding three (3) decades, it had

 2   significant experience and understanding of certification processes as a result of these

 3   previous certifications, and it could reasonably expect based on this experience and

 4   understanding that its projected schedule to obtain certification for the C-Series and Global

 5   7000/8000 Aircraft would be accurate. The hiring by Defendant AeroTEC of Bombardier

 6   personnel working on the certification process occurred during, and had a detrimental impact

 7   on, the certification schedules for the C-Series and the Global 7000/8000 Aircraft, delaying

 8   these certification schedules by at least several months. Defendant AeroTEC continued its

 9   recruitment and hiring of Bombardier personnel who were working on Bombardier’s

10   certification efforts despite learning about the detrimental impact that the continued

11   recruitment and hiring of Bombardier personnel would have on Bombardier’s certification

12   schedules. Accordingly, Defendant AeroTEC knew or should have known of the detrimental

13   impact that its actions were having on Bombardier and its certification schedules but

14   nevertheless persisted in continuing to recruit and hire these Bombardier personnel. Based

15   upon the foregoing, and upon further information and belief, Defendant AeroTEC’s persisted

16   course of conduct, which resulted in the loss of key Bombardier certification personnel

17   (including but not limited to Bombardier’s chief and deputy chief flight test pilots for

18   certification purposes) at critical times to Bombardier’s certification efforts, was done for the

19   improper purpose of delaying Bombardier’s certification schedule, it in fact delayed

20   Bombardier’s certification schedule, and it inflicted resulting harm on Bombardier in the form

21   of costly delays to the certification schedules of its C Series and/or Global 7000/8000

22   Aircraft.

23          195.    AeroTEC knew of each of these contractual relationships and business

24   expectancies, at least because Bombardier informed AeroTEC of this expectation through

25   various letters described above, because upon information and belief they were relayed from

26   Bombardier through MHI/MITAC/MITAC America to AeroTEC, because AeroTEC had

27   previously hired former Bombardier personnel who were aware of these relationships and


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 1   expectancies and upon information and belief now work as AeroTEC officers, and/or because

 2   AeroTEC as a similarly situated corporate entity maintains the same relationships and/or

 3   expectations of its own.

 4           196.    By engaging in the aforementioned conduct, specifically but without limitation

 5   targeting Bombardier personnel for recruitment for its MRJ project, AeroTEC intentionally

 6   interfered with Bombardier’s contractual relationships and business expectancies, which

 7   proximately induced or caused breach of the aforementioned contractual relationships with,

 8   and business expectancies from, at least individual Defendants Basson, Delarche, Dornéval,

 9   and those Does 1-88 employed by AeroTEC.

10           197.    AeroTEC’s     intentional   interference   with    Bombardier’s     contractual

11   relationships and business expectancies was conducted for improper purposes, namely—to

12   knowingly, willfully, and illicitly obtain Bombardier confidential, proprietary, and/or trade

13   secret information to assist in the development and/or certification of the MRJ; and to harm

14   Bombardier in the form of costly delays to its certification efforts for the C-Series and Global

15   7000/8000 Aircraft, which in fact materialized as described above.

16           198.    AeroTEC’s     intentional   interference   with    Bombardier’s     contractual

17   relationships and business expectancies for an improper purpose has caused resulting damage

18   to Plaintiff and is continuing to cause resulting damage to Plaintiff at least by causing

19   Bombardier’s confidential, proprietary, and/or trade secret information to be divulged, and/or

20   by causing delays to Bombardier’s own certification schedule, as described above, and in an

21   amount to be determined at trial

22     Count X: Violation of the Defend Trade Secrets Act (DTSA), 18 U.S.C. § 1836 et seq.

23                                          (Laurus Basson)

24           199.    Bombardier incorporates by reference paragraphs 1-198, above, as though fully

25   set forth herein.

26           200.    As explained above, Plaintiff has developed, owns, and possesses certain

27   confidential, proprietary, and trade secret information, including but not limited to


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 1   information used for the C-Series aircraft’s design, development, testing, evaluation,

 2   certification, and commercialization for use in the United States and abroad.                Such

 3   information includes, but is not limited to, information contained in two proprietary

 4   PowerPoint slide decks entitled, “TCCA Skew Detection Presentation- Updated with latest

 5   Systems and Structure Limits 16-02-01.pptx” and “2016-03-03 TCCA Skew Detection

 6   Presentation-JAN 28 FINAL.pptx” (collectively, “Bombardier Skew Detection TCCA Files”).

 7   These documents contain highly sensitive, proprietary Bombardier trade secret information

 8   concerning Bombardier’s Skew Detection System and related confidential communications

 9   Bombardier made with Transport Canada for certification purposes.

10          201.    This confidential, proprietary, and trade secret information—including the

11   information contained in the Bombardier Skew Detection TCCA Files—relates to products

12   and services used, sold, shipped and ordered in, or intended to be used, sold, shipped and/or

13   ordered in, interstate and foreign commerce, as it was used, among others, for the design,

14   development, and/or certification of certain Bombardier aircraft.

15          202.    Plaintiff has taken reasonable measures to keep such information—including

16   the information contained in the Bombardier Skew Detection TCCA Files—secret as

17   described above and including, without limitation, subjecting all employees to a Code of

18   Ethics that instructs personnel in the specifics of identifying and safeguarding Bombardier

19   proprietary information; clearly marking trade secret information as proprietary and

20   confidential subject to restrictions on further use and dissemination; physically restricting

21   access in its facilities to properly credentialed individuals; and virtually restricting electronic

22   access to proprietary trade secret information to properly credentialed personnel.

23          203.    This confidential, proprietary, and trade secret information—including the

24   information contained in the Bombardier Skew Detection TCCA Files—derives independent

25   economic value from not being generally known to, and not being readily ascertainable

26   through proper means by another person who could obtain economic value from the

27   disclosure or use of the information. In addition to the foregoing, the information at issue


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 1   would be of tremendous value to MITAC, MITAC America, and AeroTEC in their efforts to

 2   develop, certify, and commercialize the MRJ aircraft, as it would at a minimum provide

 3   invaluable guidance in ultimately obtaining regulatory certification for entry into service of a

 4   narrow-body, geared turbofan twin-engine, medium-range jet aircraft, something MITAC has

 5   been unable to obtain for its MRJ despite nearly a decade of effort.

 6          204.    In violation of Plaintiff’s rights under the Defend Trade Secrets Act, 18 U.S.C.

 7   § 1836, Defendant Basson misappropriated the confidential, proprietary, and trade secret

 8   information described above, including but not limited to the Bombardier Skew Detection

 9   TCCA Files, in an improper and unlawful manner as alleged herein. Specifically, and without

10   limitation, Defendant Basson misappropriated at least the Bombardier Skew Detection TCCA

11   Files because at the time he emailed the files to his private email account, he lacked

12   authorization to do so, and he knew or should have known that this was an impermissible

13   transfer of Bombardier files containing highly sensitive Bombardier trade secret information

14   for his personal possession. Additionally, and upon information and belief, on or after May

15   11, 2016, Defendant Basson disclosed this and potentially other Bombardier trade secret

16   information to others without Bombardier permission after using improper means to acquire

17   the information, knowing or having reason to know at the time of disclosure that his

18   knowledge of the trade secret information was derived under circumstances giving rise to a

19   duty to maintain its secrecy and limit its use.

20          205.    Defendant Basson’s conduct as described herein was intentional, knowing,

21   willful, malicious, fraudulent, and oppressive.

22          206.    As a direct and proximate result of Defendant Basson’s conduct, Plaintiff has

23   suffered and will continue to suffer irreparable financial loss, loss of goodwill, and an

24   irreparable loss of the confidentiality of their proprietary and trade secret information, for

25   which there is no adequate remedy at law.

26          207.    Plaintiff has also suffered substantial damages as a direct and proximate cause

27   of Defendant Basson’s conduct in an amount to be proven at trial.


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 1         Count XI: Violation of the Washington Uniform Trade Secrets Act (WUTSA),

 2                             RCW 19.108.010 et seq. (Laurus Basson)

 3           208.    Bombardier incorporates by reference paragraphs 1-207, above, as though fully

 4   set forth herein.

 5           209.    As explained above, Plaintiff has developed, owns, and possesses certain

 6   confidential, proprietary, and trade secret information, including, but is not limited to,

 7   information contained in two proprietary PowerPoint slide decks entitled, “TCCA Skew

 8   Detection Presentation- Updated with latest Systems and Structure Limits 16-02-01.pptx” and

 9   “2016-03-03 TCCA Skew Detection Presentation-JAN 28 FINAL.pptx” (collectively,

10   “Bombardier Skew Detection TCCA Files”). These documents contain highly sensitive,

11   proprietary Bombardier trade secret information concerning Bombardier’s Skew Detection

12   System and related confidential communications Bombardier made with Transport Canada for

13   certification purposes.

14           210.    This confidential, proprietary, and trade secret information—including the

15   information contained in the Bombardier Skew Detection TCCA Files—relates to products

16   and services used, sold, shipped and ordered in, or intended to be used, sold, shipped and/or

17   ordered in, interstate and foreign commerce, as it was used, among others, for the design,

18   development, and/or certification of certain Bombardier aircraft.

19           211.    Plaintiff has taken reasonable measures to keep such information—including

20   the information contained in the Bombardier Skew Detection TCCA Files—secret as

21   described above and including, without limitation, subjecting all employees to a Code of

22   Ethics that instructs personnel in the specifics of identifying and safeguarding Bombardier

23   proprietary information; clearly marking trade secret information as proprietary and

24   confidential subject to restrictions on further use and dissemination; physically restricting

25   access in its facilities to properly credentialed individuals; and virtually restricting electronic

26   access to proprietary trade secret information to properly credentialed personnel.

27


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 1           212.     This confidential, proprietary, and trade secret information—including the

 2   information contained in the Bombardier Skew Detection TCCA Files—derives independent

 3   economic value from not being generally known to, and not being readily ascertainable

 4   through proper means by another person who could obtain economic value from the

 5   disclosure or use of the information. In addition to the foregoing, the information at issue

 6   would be of tremendous value to MITAC, MITAC America, and AeroTEC in their efforts to

 7   develop, certify, and commercialize the MRJ aircraft, as it would at a minimum provide

 8   invaluable guidance in ultimately obtaining regulatory certification for entry into service of a

 9   narrow-body, geared turbofan twin-engine, medium-range jet aircraft, something MITAC has

10   been unable to obtain for its MRJ despite nearly a decade of effort.

11           213.     In violation of Plaintiff’s rights under the WUTSA, RCW 19.108.010 et seq.,

12   Defendant Basson misappropriated the confidential, proprietary, and trade secret information

13   described above, including but not limited to the Bombardier Skew Detection TCCA Files, in

14   an improper and unlawful manner as alleged herein. Specifically, and without limitation,

15   Defendant Basson misappropriated at least the Bombardier Skew Detection TCCA Files

16   because at the time he emailed the files to his private email account, he lacked authorization

17   to do so, and he knew or should have known that this was an impermissible transfer of

18   Bombardier files containing highly sensitive Bombardier trade secret information for his

19   personal possession.     Additionally, and upon information and belief, Defendant Basson

20   disclosed this and potentially other Bombardier trade secret information to others without

21   Bombardier permission after using improper means to acquire the information, knowing or

22   having reason to know at the time of disclosure that his knowledge of the trade secret

23   information was derived under circumstances giving rise to a duty to maintain its secrecy and

24   limit its use.

25           214.     Defendant Basson’s conduct as described herein was intentional, knowing,

26   willful, malicious, fraudulent, and oppressive.

27


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 1           215.    As a direct and proximate result of Defendant Basson’s conduct, Plaintiff has

 2   suffered and will continue to suffer irreparable financial loss, loss of goodwill, and an

 3   irreparable loss of the confidentiality of their proprietary and trade secret information, for

 4   which there is no adequate remedy at law.

 5           216.    Plaintiff has also suffered substantial damages as a direct and proximate cause

 6   of Defendant Basson’s conduct in an amount to be proven at trial.

 7                         Count XII: Breach of Contract (Laurus Basson)

 8           217.    Bombardier incorporates by reference paragraphs 1-216, above, as though fully

 9   set forth herein.

10           218.    At all relevant times, Bombardier had a valid and enforceable contract with

11   Defendant Basson at least arising out of Defendant Basson’s express agreement to abide by

12   Bombardier’s 2012 Code of Ethics. On information and belief, Defendant Basson signed on

13   March 4, 2013, his first day of employment with Bombardier, as a condition for his

14   employment, the acknowledgement that he would abide by the 2012 Code of Ethics.

15           219.    Pursuant to at least Bombardier’s 2012 Code of Ethics, Defendant Basson

16   owed Bombardier a duty to “not divulge [Bombardier] confidential information to anyone

17   other than the person or persons for whom it is intended, unless authorized or legally required

18   to do so.” (Exs. D, K.) Defendant Basson’s duty was “to maintain such confidentiality at all

19   times, even after leaving the employ of Bombardier.” (Id.) Defendant Basson also owed

20   Bombardier duties to Bombardier to “keep[] electronic and paper documents and files

21   containing confidential information in a safe place”; to “transmit[] confidential documents by

22   electronic devices, such as by fax or e-mail, only when it is reasonable to believe this can be

23   done under secure conditions”; and to “avoid[] unnecessary copying of confidential

24   documents.” (Id.)

25           220.    Defendant Basson breached these duties owed to Bombardier at least by

26   making and sending electronic copies of confidential and/or trade secret information from his

27   work email account to his unsecure personal email account without authorization as described


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 1   above.    Upon information and belief, Defendant Basson also breached these duties by

 2   disclosing Bombardier’s confidential and/or trade secret information to unauthorized third

 3   parties—including but not limited to his employer AeroTEC—and/or by using Bombardier’s

 4   confidential and/or trade secret information in his role at AeroTEC.

 5            221.   Defendant Basson’s breach of his duties has proximately caused Bombardier

 6   harm, both in the form of irreparable harm and monetary damages to be determined at trial, at

 7   least because his breach has compromised the security of Bombardier confidential and/or

 8   trade secret information, has lessened the value of Bombardier’s investment to develop and

 9   maintain the misappropriated confidential and/or trade secret information at issue, and has

10   reduced Bombardier’s benefits and competitive advantages it previously enjoyed by virtue of

11   maintaining such information as confidential.

12   Count XIII: Violation of the Defend Trade Secrets Act (DTSA), 18 U.S.C. § 1836 et seq.

13                                     (Marc-Antoine Delarche)

14            222.   Bombardier incorporates by reference paragraphs 1-221, above, as though fully

15   set forth herein.

16            223.   As explained above, Plaintiff has developed, owns, and possesses certain

17   confidential, proprietary, and trade secret information, including but not limited to

18   information used for the C-Series aircraft’s design, development, testing, evaluation,

19   certification, and commercialization for use in the United States and abroad.             Such

20   information includes, but is not limited to, information contained in six proprietary .pdf files

21   entitled, “RAA-BA503-412 Reduction of Temperature, Airspeed, Altitude and Mach Number

22   Errors.pdf”;    “RAA-BA503-414       Lag_Effects_in_the_Production_and_Experimental_Pitot-

23   Static_Systems.pdf”; “RAA-BA503-418 Data Reduction of Ground Position Errors.pdf,”

24   “RAA-BA500-412 Rev A - Reduction of Temperature, Airspeed, Altitude and Mach Number

25   Errors.pdf”;                                                           “RAA-BA500-414-RevA-

26   Lag_Effects_in_the_Production_and_Experimental_Pitot-Static_Systems.pdf”; and “RAA-

27   BA500-418_signed.pdf.” (collectively, “Bombardier Certification Reports”).               These


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 1   documents contain highly sensitive, proprietary Bombardier trade secret information

 2   developed throughout previous certification and used for the certification of the C-Series

 3   aircraft and critical subcomponents, and they include hundreds of pages of highly detailed

 4   certification reports.

 5           224.    This confidential, proprietary, and trade secret information—including the

 6   information contained in the Bombardier Certification Reports—relates to products and

 7   services used, sold, shipped and ordered in, or intended to be used, sold, shipped and/or

 8   ordered in, interstate and foreign commerce, as it was used, among others, for the design,

 9   development, and/or certification of the C-Series, a medium range aircraft with a range of

10   over 3,000 nautical miles approved by FAA and other regulatory agencies abroad for service

11   between states and foreign countries.

12           225.    Plaintiff has taken reasonable measures to keep such information—including

13   the information contained in the Bombardier Certification Reports—secret as described above

14   and including, without limitation, subjecting all employees to a Code of Ethics that instructs

15   personnel in the specifics of identifying and safeguarding Bombardier proprietary

16   information; clearly marking trade secret information as proprietary and confidential subject

17   to restrictions on further use and dissemination; physically restricting access in its facilities to

18   properly credentialed individuals; and virtually restricting electronic access to proprietary

19   trade secret information to properly credentialed personnel.

20           226.    This confidential, proprietary, and trade secret information—including the

21   information contained in the Bombardier Certification Reports—derives independent

22   economic value from not being generally known to, and not being readily ascertainable

23   through proper means by another person who could obtain economic value from the

24   disclosure or use of the information. In addition to the foregoing, the information at issue

25   would be of tremendous value to MITAC, MITAC America, and AeroTEC in their efforts to

26   develop, certify, and commercialize the MRJ aircraft, as it would at a minimum provide

27   invaluable guidance in ultimately obtaining regulatory certification for entry into service of a


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 1   narrow-body, geared turbofan twin-engine, medium-range jet aircraft, something MITAC has

 2   been unable to obtain for its MRJ despite nearly a decade of effort.

 3           227.     In violation of Plaintiff’s rights under the Defend Trade Secrets Act, 18 U.S.C.

 4   § 1836 et seq., Defendant Delarche misappropriated the confidential, proprietary, and trade

 5   secret information described above, including but not limited to the Bombardier Certification

 6   Reports, in an improper and unlawful manner as alleged herein. Specifically, and without

 7   limitation, Defendant Delarche misappropriated at least the Bombardier Certification Reports

 8   because at the time he emailed the files to his private email account, he lacked authorization

 9   to do so, and he knew or should have known that this was an impermissible transfer of

10   Bombardier files containing highly sensitive Bombardier trade secret information for his

11   personal possession. Additionally, and upon information and belief, Defendant Delarche

12   disclosed this and potentially other Bombardier trade secret information to others without

13   Bombardier permission after using improper means to acquire the information, knowing or

14   having reason to know at the time of disclosure that his knowledge of the trade secret

15   information was derived under circumstances giving rise to a duty to maintain its secrecy and

16   limit its use.

17           228.     Defendant Delarche’s conduct as described herein was intentional, knowing,

18   willful, malicious, fraudulent, and oppressive.

19           229.     As a direct and proximate result of Defendant Delarche’s conduct, Plaintiff has

20   suffered and will continue to suffer irreparable financial loss, loss of goodwill, and an

21   irreparable loss of the confidentiality of their proprietary and trade secret information, for

22   which there is no adequate remedy at law.

23           230.     Plaintiff has also suffered substantial damages as a direct and proximate cause

24   of Defendant Delarche’s conduct in an amount to be proven at trial.

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 1        Count XIV: Violation of the Washington Uniform Trade Secrets Act (WUTSA),

 2                        RCW 19.108.010 et seq. (Marc-Antoine Delarche)

 3           231.    Bombardier incorporates by reference paragraphs 1-230, above, as though fully

 4   set forth herein.

 5           232.    As explained above, Plaintiff has developed, owns, and possesses certain

 6   confidential, proprietary, and trade secret information, including but not limited to

 7   information used, among others, for the C-Series aircraft’s design, development, testing,

 8   evaluation, certification, and commercialization for use in the United States and abroad. Such

 9   information includes, but is not limited to, information contained in six proprietary .pdf files

10   entitled, “RAA-BA503-412 Reduction of Temperature, Airspeed, Altitude and Mach Number

11   Errors.pdf”;   “RAA-BA503-414        Lag_Effects_in_the_Production_and_Experimental_Pitot-

12   Static_Systems.pdf”; “RAA-BA503-418 Data Reduction of Ground Position Errors.pdf,”

13   “RAA-BA500-412 Rev A - Reduction of Temperature, Airspeed, Altitude and Mach Number

14   Errors.pdf”;                                                         “RAA-BA500-414-RevA-

15   Lag_Effects_in_the_Production_and_Experimental_Pitot-Static_Systems.pdf”; and “RAA-

16   BA500-418_signed.pdf.” (collectively, “Bombardier Certification Reports”).               These

17   documents contain highly sensitive, proprietary Bombardier trade secret information

18   developed throughout previous certification and used for the C-Series aircraft and critical

19   subcomponents, and they include hundreds of pages of highly detailed certification reports.

20           233.    This confidential, proprietary, and trade secret information—including the

21   information contained in the Bombardier Certification Reports—relates to products and

22   services used, sold, shipped and ordered in, or intended to be used, sold, shipped and/or

23   ordered in, interstate and foreign commerce, as it was used, among others, for the design,

24   development, and/or certification of the C-Series, a medium range aircraft with a range of

25   over 3,000 nautical miles approved by FAA and other regulatory agencies abroad for service

26   between states and foreign countries.

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 1          234.    Plaintiff has taken reasonable measures to keep such information—including

 2   the information contained in the Bombardier Certification Reports—secret as described above

 3   and including, without limitation, subjecting all employees to a Code of Ethics that instructs

 4   personnel in the specifics of identifying and safeguarding Bombardier proprietary

 5   information; clearly marking trade secret information as proprietary and confidential subject

 6   to restrictions on further use and dissemination; physically restricting access in its facilities to

 7   properly credentialed individuals; and virtually restricting electronic access to proprietary

 8   trade secret information to properly credentialed personnel.

 9          235.    This confidential, proprietary, and trade secret information—including the

10   information contained in the Bombardier Certification Reports—derives independent

11   economic value from not being generally known to, and not being readily ascertainable

12   through proper means by another person who could obtain economic value from the

13   disclosure or use of the information. In addition to the foregoing, the information at issue

14   would be of tremendous value to MITAC, MITAC America, and AeroTEC in their efforts to

15   develop, certify, and commercialize the MRJ aircraft, as it would at a minimum provide

16   invaluable guidance in ultimately obtaining regulatory certification for entry into service of a

17   narrow-body, geared turbofan twin-engine, medium-range jet aircraft, something MITAC has

18   been unable to obtain for its MRJ despite nearly a decade of effort.

19          236.    In violation of Plaintiff’s rights under the WUTSA, RCW 19.108.010 et seq.,

20   Defendant Delarche misappropriated the confidential, proprietary, and trade secret

21   information described above, including but not limited to the Bombardier Certification

22   Reports, in an improper and unlawful manner as alleged herein. Specifically, and without

23   limitation, Defendant Delarche misappropriated at least the Bombardier Certification Reports

24   because at the time he emailed the files to his private email account, he lacked authorization

25   to do so, and he knew or should have known that this was an impermissible transfer of

26   Bombardier files containing highly sensitive Bombardier trade secret information for his

27   personal possession. Additionally, and upon information and belief, Defendant Delarche


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 1   disclosed this and potentially other Bombardier trade secret information to others without

 2   Bombardier permission after using improper means to acquire the information, knowing or

 3   having reason to know at the time of disclosure that his knowledge of the trade secret

 4   information was derived under circumstances giving rise to a duty to maintain its secrecy and

 5   limit its use.

 6           237.     Defendant Delarche’s conduct as described herein was intentional, knowing,

 7   willful, malicious, fraudulent, and oppressive.

 8           238.     As a direct and proximate result of Defendant Delarche’s conduct, Plaintiff has

 9   suffered and will continue to suffer irreparable financial loss, loss of goodwill, and an

10   irreparable loss of the confidentiality of their proprietary and trade secret information, for

11   which there is no adequate remedy at law.

12           239.     Plaintiff has also suffered substantial damages as a direct and proximate cause

13   of Defendant Delarche’s conduct in an amount to be proven at trial.

14                       Count XV: Breach of Contract (Marc-Antoine Delarche)

15           240.     Bombardier incorporates by reference paragraphs 1-239, above, as though fully

16   set forth herein.

17           241.     At all relevant times, Bombardier had a valid and enforceable contract with

18   Defendant Delarche at least arising out of Defendant Delarche’s express agreement to abide

19   by Bombardier’s 2004 Code of Ethics. Defendant Delarche signed on January 17, 2005, his

20   first day of employment at Bombardier, as a condition for his employment, the

21   acknowledgement that he would abide by the 2004 Code of Ethics.

22           242.     Pursuant to at least Bombardier’s 2004 Code of Ethics, Defendant Delarche

23   owed Bombardier a duty to “not divulge [Bombardier] confidential information to anyone

24   other than the person or persons for whom it is intended, unless authorized or legally required

25   to do so.” (Ex. M, at 14.) Defendant Delarche’s duty was “to maintain such confidentiality at

26   all times, even after leaving the employ of Bombardier.” (Id.) Defendant Delarche also owed

27   Bombardier duties to Bombardier to “keep[] electronic and paper documents and files


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 1   containing confidential information in a safe place”; to “transmit[] confidential documents by

 2   electronic devices, such as by fax or e-mail, only when it is reasonable to believe this can be

 3   done under secure conditions”; and to “avoid[] unnecessary copying of confidential

 4   documents.” (Id.)

 5           243.    Defendant Delarche breached these duties owed to Bombardier at least by

 6   making and sending electronic copies of confidential and/or trade secret information from his

 7   work email account to his unsecure personal email account without authorization as described

 8   above. Upon information and belief, Defendant Delarche also breached these duties by

 9   disclosing Bombardier’s confidential and/or trade secret information to unauthorized third

10   parties—including but not limited to his employers AeroTEC and then MITAC—and/or by

11   using Bombardier’s confidential and/or trade secret information in his roles at AeroTEC and

12   then MITAC.

13           244.    Defendant Delarche’s breach of his duties has proximately caused Bombardier

14   harm, both in the form of irreparable harm and monetary damages to be determined at trial, at

15   least because his breach has compromised the security of Bombardier confidential and/or

16   trade secret information, has lessened the value of Bombardier’s investment to develop and

17   maintain the misappropriated confidential and/or trade secret information at issue, and has

18   reduced Bombardier’s benefits and competitive advantages it previously enjoyed by virtue of

19   maintaining such information as confidential.

20   Count XVI: Violation of the Defend Trade Secrets Act (DTSA), 18 U.S.C. § 1836 et seq.

21                                         (Cindy Dornéval)

22           245.    Bombardier incorporates by reference paragraphs 1-244, above, as though fully

23   set forth herein.

24           246.    As explained above, Plaintiff has developed, owns, and possesses certain

25   confidential, proprietary, and trade secret information, including but not limited to

26   information used for the C-Series aircraft’s design, development, testing, evaluation,

27   certification, and commercialization for use in the United States and abroad.            Such


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 1   information includes, but is not limited to, information contained in various Bombardier

 2   electronic documents with the following file names: “FTP PROD CSeries Rev 5.0 – 17

 3   November 2016.docx”; “FTP PROD CSERIES Rev 5.0 – 17 November 2016.pdf”;

 4   “CS100_Flight_FTP_Perf_N1_target.pdf”; and “CS300_Flight_FTP_Perf_N1_target.pdf,”

 5   and “BM7002.02.15.02 – Flight Performances” (collectively, “Flight Test Files and CAFM

 6   Methodology”). These documents contain highly sensitive, proprietary Bombardier trade

 7   secret information developed throughout previous certification and used for the C-Series

 8   aircraft, including but not limited to hundreds of pages of specific details concerning the flight

 9   test profiles Bombardier employed in gathering necessary data to obtain certificates of

10   airworthiness for the C-Series aircraft for entry into service and parameters used in

11   Bombardier’s proprietary Airplane Flight Manual.

12          247.    This confidential, proprietary, and trade secret information—including the

13   information contained in the Flight Test Files and CAFM Methodology —relates to products

14   and services used, sold, shipped and ordered in, or intended to be used, sold, shipped and/or

15   ordered in, interstate and foreign commerce, as it was used, among others, for the design,

16   development, and/or certification of the C-Series, a medium range aircraft with a range of

17   over 3,000 nautical miles approved by FAA and other regulatory agencies abroad for service

18   between states and foreign countries.

19          248.    Plaintiff has taken reasonable measures to keep such information—including

20   the information contained in the Flight Test Files and CAFM Methodology—secret as

21   described above and including, without limitation, subjecting all employees to a Code of

22   Ethics that instructs personnel in the specifics of identifying and safeguarding Bombardier

23   proprietary information; clearly marking trade secret information as proprietary and

24   confidential subject to restrictions on further use and dissemination; physically restricting

25   access in its facilities to properly credentialed individuals; and virtually restricting electronic

26   access to proprietary trade secret information to properly credentialed personnel.

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 1           249.    This confidential, proprietary, and trade secret information—including the

 2   information contained in the Flight Test Files and CAFM Methodology—derives independent

 3   economic value from not being generally known to, and not being readily ascertainable

 4   through proper means by another person who could obtain economic value from the

 5   disclosure or use of the information. In addition to the foregoing, the information at issue

 6   would be of tremendous value to MITAC, MITAC America, and AeroTEC in their efforts to

 7   develop, certify, and commercialize the MRJ aircraft, as it would at a minimum provide

 8   invaluable guidance in how to streamline flight testing to ultimately obtain a certificate of

 9   airworthiness for entry into service of a narrow-body, geared turbofan twin-engine, medium-

10   range jet aircraft.

11           250.    In violation of Plaintiff’s rights under the Defend Trade Secrets Act, 18 U.S.C.

12   § 1836 et seq., Defendant Dornéval misappropriated the confidential, proprietary, and trade

13   secret information described above, including but not limited to the Flight Test Files and

14   CAFM Methodology, in an improper and unlawful manner as alleged herein. Specifically,

15   and without limitation, Defendant Dornéval misappropriated at least the Flight Test Files and

16   CAFM Methodology because at the time she emailed the files to her private email account,

17   she lacked authorization to do so, and she knew or should have known that this was an

18   impermissible transfer of Bombardier files containing highly sensitive Bombardier trade

19   secret information for her personal possession.      Additionally, and upon information and

20   belief, Defendant Dornéval disclosed this and potentially other Bombardier trade secret

21   information to others without Bombardier permission after using improper means to acquire

22   the information, knowing or having reason to know at the time of disclosure that his

23   knowledge of the trade secret information was derived under circumstances giving rise to a

24   duty to maintain its secrecy and limit its use.

25           251.    Defendant Dornéval’s conduct as described herein was intentional, knowing,

26   willful, malicious, fraudulent, and oppressive.

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 1           252.    As a direct and proximate result of Defendant Dornéval’s conduct, Plaintiff has

 2   suffered and will continue to suffer irreparable financial loss, loss of goodwill, and an

 3   irreparable loss of the confidentiality of their proprietary and trade secret information, for

 4   which there is no adequate remedy at law.

 5           253.    Plaintiff has also suffered substantial damages as a direct and proximate cause

 6   of Defendant Dornéval’s conduct in an amount to be proven at trial.

 7       Count XVII: Violation of the Washington Uniform Trade Secrets Act (WUTSA),

 8                             RCW 19.108.010 et seq. (Cindy Dornéval)

 9           254.    Bombardier incorporates by reference paragraphs 1-253, above, as though fully

10   set forth herein.

11           255.    As explained above, Plaintiff has developed, owns, and possesses certain

12   confidential, proprietary, and trade secret information, including but not limited to

13   information used for the C-Series aircraft’s design, development, testing, evaluation,

14   certification, and commercialization for use in the United States and abroad.               Such

15   information includes, but is not limited to, information contained in various Bombardier

16   electronic documents with the following file names: “FTP PROD CSeries Rev 5.0 – 17

17   November 2016.docx”; “FTP PROD CSERIES Rev 5.0 – 17 November 2016.pdf”;

18   “CS100_Flight_FTP_Perf_N1_target.pdf”; and “CS300_Flight_FTP_Perf_N1_target.pdf,”

19   and “BM7002.02.15.02 – Flight Performances” (collectively, “Flight Test Files and CAFM

20   Methodology”).” These documents contain highly sensitive, proprietary Bombardier trade

21   secret information developed throughout previous certification and used for the C-Series

22   aircraft, including but not limited to hundreds of pages of specific details concerning the flight

23   test profiles Bombardier employed in gathering necessary data to obtain certificates of

24   airworthiness for the C-Series aircraft for entry into service and parameters used in

25   Bombardier’s proprietary Airplane Flight Manual.

26           256.    This confidential, proprietary, and trade secret information—including the

27   information contained in the Flight Test Files and CAFM Methodology—relates to products


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 1   and services used, sold, shipped and ordered in, or intended to be used, sold, shipped and/or

 2   ordered in, interstate and foreign commerce, as it was used, among others, for the design,

 3   development, and/or certification of the C-Series, a medium range aircraft with a range of

 4   over 3,000 nautical miles approved by FAA and other regulatory agencies abroad for service

 5   between states and foreign countries.

 6           257.    Plaintiff has taken reasonable measures to keep such information—including

 7   the information contained in the Flight Test Files and CAFM Methodology—secret as

 8   described above and including, without limitation, subjecting all employees to a Code of

 9   Ethics that instructs personnel in the specifics of identifying and safeguarding Bombardier

10   proprietary information; clearly marking trade secret information as proprietary and

11   confidential subject to restrictions on further use and dissemination; physically restricting

12   access in its facilities to properly credentialed individuals; and virtually restricting electronic

13   access to proprietary trade secret information to properly credentialed personnel.

14           258.    This confidential, proprietary, and trade secret information—including the

15   information contained in the Flight Test Files and CAFM Methodology—derives independent

16   economic value from not being generally known to, and not being readily ascertainable

17   through proper means by another person who could obtain economic value from the

18   disclosure or use of the information. In addition to the foregoing, the information at issue

19   would be of tremendous value to MITAC, MITAC America, and AeroTEC in their efforts to

20   develop, certify, and commercialize the MRJ aircraft, as it would at a minimum provide

21   invaluable guidance in how to streamline flight testing to ultimately obtain a certificate of

22   airworthiness for entry into service of a narrow-body, geared turbofan twin-engine, medium-

23   range jet aircraft.

24           259.    In violation of Plaintiff’s rights under the WUTSA, RCW 19.108.010 et seq.,

25   Defendant Dornéval misappropriated the confidential, proprietary, and trade secret

26   information described above, including but not limited to the Flight Test Files and CAFM

27   Methodology, in an improper and unlawful manner as alleged herein. Specifically, and


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 1   without limitation, Defendant Dornéval misappropriated at least the Flight Test Files and

 2   CAFM Methodology because at the time she emailed the files to her private email account,

 3   she lacked authorization to do so, and she knew or should have known that this was an

 4   impermissible transfer of Bombardier files containing highly sensitive Bombardier trade

 5   secret information for her personal possession.      Additionally, and upon information and

 6   belief, Defendant Dornéval disclosed this and potentially other Bombardier trade secret

 7   information to others without Bombardier permission after using improper means to acquire

 8   the information, knowing or having reason to know at the time of disclosure that his

 9   knowledge of the trade secret information was derived under circumstances giving rise to a

10   duty to maintain its secrecy and limit its use.

11           260.    Defendant Dornéval’s conduct as described herein was intentional, knowing,

12   willful, malicious, fraudulent, and oppressive.

13           261.    As a direct and proximate result of Defendant Dornéval’s conduct, Plaintiff has

14   suffered and will continue to suffer irreparable financial loss, loss of goodwill, and an

15   irreparable loss of the confidentiality of their proprietary and trade secret information, for

16   which there is no adequate remedy at law.

17           262.    Plaintiff has also suffered substantial damages as a direct and proximate cause

18   of Defendant Dornéval’s conduct in an amount to be proven at trial.

19                       Count XVIII: Breach of Contract (Cindy Dornéval)

20           263.    Bombardier incorporates by reference paragraphs 1-262, above, as though fully

21   set forth herein.

22           264.    At all relevant times, Bombardier had a valid and enforceable contract with

23   Defendant Dornéval at least arising out of Defendant Dornéval’s express agreement to abide

24   by Bombardier’s Code of Ethics. Defendant Dornéval signed on July 3, 2007, her first day of

25   employment with Bombardier, as a condition for her employment, the acknowledgement that

26   she would abide by the 2004 Code of Ethics.

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 1          265.    Pursuant to at least Bombardier’s 2004 Code of Ethics, Defendant Dornéval

 2   owed Bombardier a duty to “not divulge [Bombardier] confidential information to anyone

 3   other than the person or persons for whom it is intended, unless authorized or legally required

 4   to do so.” (Ex. M, at 14.) Defendant Dornéval’s duty was “to maintain such confidentiality at

 5   all times, even after leaving the employ of Bombardier.” (Id.) Defendant Dornéval also owed

 6   Bombardier duties to Bombardier to “keep[] electronic and paper documents and files

 7   containing confidential information in a safe place”; to “transmit[] confidential documents by

 8   electronic devices, such as by fax or e-mail, only when it is reasonable to believe this can be

 9   done under secure conditions”; and to “avoid[] unnecessary copying of confidential

10   documents.” (Id.)

11          266.    Defendant Dornéval breached these duties owed to Bombardier at least by

12   making and sending electronic copies of confidential and/or trade secret information from her

13   work email account to her unsecure personal email account without authorization as described

14   above. Upon information and belief, Defendant Dornéval also breached these duties by

15   disclosing Bombardier’s confidential and/or trade secret information to unauthorized third

16   parties—including but not limited to his employer AeroTEC—and/or by using Bombardier’s

17   confidential and/or trade secret information in her role at AeroTEC.

18          267.    Defendant Dornéval’s breach of his duties has proximately caused Bombardier

19   harm, both in the form of irreparable harm and monetary damages to be determined at trial, at

20   least because her breach has compromised the security of Bombardier confidential and/or

21   trade secret information, has lessened the value of Bombardier’s investment to develop and

22   maintain the misappropriated confidential and/or trade secret information at issue, and has

23   reduced Bombardier’s benefits and competitive advantages it previously enjoyed by virtue of

24   maintaining such information as confidential.

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 1   Count XIX: Violation of the Defend Trade Secrets Act (DTSA), 18 U.S.C. § 1836 et seq.

 2                                   (Michel Korwin-Szymanowski)

 3           268.    Bombardier incorporates by reference paragraphs 1-267, above, as though fully

 4   set forth herein.

 5           269.    As explained above, Plaintiff has developed, owns, and possesses certain

 6   confidential, proprietary, and trade secret information, including but not limited to

 7   information used for the C-Series aircraft’s design, development, testing, evaluation,

 8   certification, and commercialization for use in the United States and abroad.                Such

 9   information includes, but is not limited to, the specific documents described and/or identified

10   above as being illicitly transmitted to personal email accounts by former Bombardier

11   personnel before their departure from Bombardier. This information constitutes financial,

12   business, scientific, technical, economic, and/or engineering information.

13           270.    This confidential, proprietary, and trade secret information relates to products

14   and services used, sold, shipped and ordered in, or intended to be used, sold, shipped and/or

15   ordered in, interstate and foreign commerce, as it was used, among others, for the medium

16   range C-Series aircraft with a range of over 3,000 nautical miles approved by FAA and other

17   regulatory agencies abroad for service between states and foreign countries.

18           271.    Plaintiff has taken reasonable measures to keep such information secret as

19   described above and including, without limitation, subjecting all employees to a Code of

20   Ethics that instructs personnel in the specifics of identifying and safeguarding Bombardier

21   proprietary information; clearly marking trade secret information as proprietary and

22   confidential subject to restrictions on further use and dissemination; physically restricting

23   access in its facilities to properly credentialed individuals; and virtually restricting electronic

24   access to proprietary trade secret information to properly credentialed personnel.

25           272.    This confidential, proprietary, and trade secret information derives independent

26   economic value from not being generally known to, and not being readily ascertainable

27   through proper means by another person who could obtain economic value from the


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 1   disclosure or use of the information. In addition to the foregoing, the information at issue

 2   would be of tremendous value to MITAC, MITAC America, and AeroTEC in their efforts to

 3   develop, certify, and commercialize the MRJ aircraft, as it would at a minimum provide

 4   invaluable guidance in ultimately obtaining regulatory certification for entry into service of a

 5   narrow-body, geared turbofan twin-engine, medium-range jet aircraft, something MITAC has

 6   been unable to obtain for its MRJ despite nearly a decade of effort.

 7          273.    In violation of Plaintiff’s rights under the Defend Trade Secrets Act, 18 U.S.C.

 8   § 1836 et seq., Defendant Szymanowski misappropriated the confidential, proprietary, and

 9   trade secret information described above in an improper and unlawful manner as alleged

10   herein. Additionally, Szymanowski misappropriated Bombardier’s trade secrets because at

11   the time it obtained and/or used Bombardier trade secret information without Bombardier

12   permission, Szymanowski knew or had reason to know that his knowledge of the trade secrets

13   was derived from or through a person who had utilized improper means to acquire it, acquired

14   under circumstances giving rise to a duty to maintain its secrecy or limit its use, or derived

15   from or through a person who owed a duty to Bombardier to maintain its secrecy or limit its

16   use. Specifically, and without limitation, Defendant Szymanowski misappropriated

17   Bombardier trade secrets by inducing or knowingly permitting Defendants Basson, Delarche,

18   and Dornéval to misappropriate, divulge, and/or use the Bombardier trade secrets described

19   above through his targeted recruitment efforts on behalf of AeroTEC, including through his

20   emails to Defendants Basson, Delarche, and Dornéval. Alternatively, upon information and

21   belief, on or after May 11, 2016, Szymanowski misappropriated Bombardier’s trade secrets

22   because he disclosed and/or used Bombardier trade secrets without permission, knowing or

23   having reason to know that the information constituted trade secrets.

24          274.    Specifically, and upon information and belief, in his role in assisting with MRJ

25   certification, Defendant Korwin-Szymanowski was supervising multiple employees who used

26   Bombardier trade secrets, including Defendants Dornéval, Delarche, and Basson.            Upon

27   information and belief, in that supervisory capacity, Defendant Korwin-Szymanowski


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 1   reviewed and used their work and contributions to advance MRJ certification, which upon

 2   further information and belief incorporated the Bombardier trade secret information that each

 3   illicitly emailed to their personal email accounts prior to their planned and voluntary departure

 4   from Bombardier. Upon further information and belief, based on his lengthy tenure and

 5   experience with Bombardier, Defendant Korwin-Szymanowski knew and recognized, or at

 6   least should have known and recognized, that the work and contributions of at least

 7   Defendants Dornéval, Delarche, and Basson were incorporating Bombardier trade secret

 8   information of which each was under a duty to maintain its secrecy. Defendant Korwin-

 9   Szymanowski therefore knew or should have known that Bombardier’s trade secret

10   information had been misappropriated by Defendants Dornéval, Delarche, and Basson and

11   was being used for improper purposes to assist in MRJ certification. Because Defendant

12   Korwin-Szymanowski’s role at AeroTEC was to assist in MRJ certification, and because he

13   was aware that Bombardier trade secret information was being used for MRJ certification

14   purposes, Defendant Korwin-Szymanowski was also knowingly using and further disclosing

15   Bombardier trade secret information without authorization.

16           275.    Defendant Szymanowski’s conduct as described herein was intentional,

17   knowing, willful, malicious, fraudulent, and oppressive.

18           276.    As a direct and proximate result of Defendant Szymanowski’s conduct,

19   Plaintiff has suffered and will continue to suffer irreparable financial loss, loss of goodwill,

20   and an irreparable loss of the confidentiality of their proprietary and trade secret information,

21   for which there is no adequate remedy at law.

22           277.    Plaintiff has also suffered substantial damages as a direct and proximate cause

23   of Defendant Szymanowski’s conduct in an amount to be proven at trial.

24        Count XX: Violation of the Washington Uniform Trade Secrets Act (WUTSA),

25                       RCW 19.108.010 et seq. (Michel Korwin-Szymanowski)

26           278.    Bombardier incorporates by reference paragraphs 1-277, above, as though fully

27   set forth herein.


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 1          279.    As explained above, Plaintiff has developed, owns, and possesses certain

 2   confidential, proprietary, and trade secret information, including but not limited to

 3   information used for the C-Series aircraft’s design, development, testing, evaluation,

 4   certification, and commercialization for use in the United States and abroad.                Such

 5   information includes, but is not limited to, the specific documents described and/or identified

 6   above as being illicitly transmitted to personal email accounts by former Bombardier

 7   personnel before their departure from Bombardier. This information constitutes financial,

 8   business, scientific, technical, economic, and/or engineering information.

 9          280.    This confidential, proprietary, and trade secret information relates to products

10   and services used, sold, shipped and ordered in, or intended to be used, sold, shipped and/or

11   ordered in, interstate and foreign commerce, as it was used, among others, for the medium

12   range C-Series aircraft with a range of over 3,000 nautical miles approved by FAA and other

13   regulatory agencies abroad for service between states and foreign countries.

14          281.    Plaintiff has taken reasonable measures to keep such information secret as

15   described above and including, without limitation, subjecting all employees to a Code of

16   Ethics that instructs personnel in the specifics of identifying and safeguarding Bombardier

17   proprietary information; clearly marking trade secret information as proprietary and

18   confidential subject to restrictions on further use and dissemination; physically restricting

19   access in its facilities to properly credentialed individuals; and virtually restricting electronic

20   access to proprietary trade secret information to properly credentialed personnel.

21          282.    This confidential, proprietary, and trade secret information derives independent

22   economic value from not being generally known to, and not being readily ascertainable

23   through proper means by another person who could obtain economic value from the

24   disclosure or use of the information. In addition to the foregoing, the information at issue

25   would be of tremendous value to MITAC, MITAC America, and AeroTEC in their efforts to

26   develop, certify, and commercialize the MRJ aircraft, as it would at a minimum provide

27   invaluable guidance in ultimately obtaining regulatory certification for entry into service of a


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 1   narrow-body, geared turbofan twin-engine, medium-range jet aircraft, something MITAC has

 2   been unable to obtain for its MRJ despite nearly a decade of effort.

 3          283.    In violation of Plaintiff’s rights under the WUTSA, RCW 19.108.010 et seq.,

 4   Defendant Szymanowski misappropriated the confidential, proprietary, and trade secret

 5   information described above in an improper and unlawful manner as alleged herein.

 6   Additionally, Szymanowski misappropriated Bombardier’s trade secrets because at the time it

 7   obtained and/or used Bombardier trade secret information without Bombardier permission,

 8   Szymanowski knew or had reason to know that his knowledge of the trade secrets was derived

 9   from or through a person who had utilized improper means to acquire it, acquired under

10   circumstances giving rise to a duty to maintain its secrecy or limit its use, or derived from or

11   through a person who owed a duty to Bombardier to maintain its secrecy or limit its use.

12   Specifically, and without limitation, Defendant Szymanowski misappropriated Bombardier

13   trade secrets by inducing or knowingly permitting Defendants Basson, Delarche, and

14   Dornéval to misappropriate, divulge, and/or use the Bombardier trade secrets described above

15   through his targeted recruitment efforts on behalf of AeroTEC, including through his emails

16   to Defendants Basson, Delarche, and Dornéval. Alternatively, upon information and belief,

17   Szymanowski misappropriated Bombardier’s trade secrets because he disclosed and/or used

18   Bombardier trade secrets without permission, knowing or having reason to know that the

19   information constituted trade secrets.

20          284.    Specifically, and upon information and belief, in his role in assisting with MRJ

21   certification, Defendant Korwin-Szymanowski was supervising multiple employees who used

22   Bombardier trade secrets, including Defendants Dornéval, Delarche, and Basson.             Upon

23   information and belief, in that supervisory capacity, Defendant Korwin-Szymanowski

24   reviewed and used their work and contributions to advance MRJ certification, which upon

25   further information and belief, incorporated the Bombardier trade secret information that each

26   illicitly emailed to their personal email accounts prior to their planned and voluntary departure

27   from Bombardier. Upon further information and belief, based on his lengthy tenure and


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 1   experience with Bombardier, Defendant Korwin-Szymanowski knew and recognized, or at

 2   least should have known and recognized, that the work and contributions of at least

 3   Defendants Dornéval, Delarche, and Basson were incorporating Bombardier trade secret

 4   information of which each was under a duty to maintain its secrecy. Defendant Korwin-

 5   Szymanowski therefore knew or should have known that Bombardier’s trade secret

 6   information had been misappropriated by Defendants Dornéval, Delarche, and Basson and

 7   was being used for improper purposes to assist in MRJ certification. Because Defendant

 8   Korwin-Szymanowski’s role at AeroTEC was to assist in MRJ certification, and because he

 9   was aware that Bombardier trade secret information was being used for MRJ certification

10   purposes, Defendant Korwin-Szymanowski was also knowingly using and further disclosing

11   Bombardier trade secret information without authorization.

12          285.     Defendant Szymanowski’s conduct as described herein was intentional,

13   knowing, willful, malicious, fraudulent, and oppressive.

14          286.     As a direct and proximate result of Defendant Szymanowski’s conduct,

15   Plaintiff has suffered and will continue to suffer irreparable financial loss, loss of goodwill,

16   and an irreparable loss of the confidentiality of their proprietary and trade secret information,

17   for which there is no adequately remedy at law.

18          287.     Plaintiff has also suffered substantial damages as a direct and proximate cause

19   of Defendant Szymanowski’s conduct in an amount to be proven at trial.

20       Count XXI: Tortious Interference with Contractual Relationship and/or Business

21                            Expectancy (Michel Korwin-Szymanowski)

22          288.     Plaintiff incorporates by reference paragraphs 1-287, above, as though fully set

23   forth herein.

24          289.     Bombardier had a reasonable and valid contractual relationship and/or business

25   expectancy with each of its former employees arising from each former employee’s

26   agreement to be bound by Bombardier’s Code of Ethics provision to “not divulge

27   [Bombardier] confidential information to anyone other than the person or persons for whom it


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 1   is intended, unless authorized or legally required to do so.       This includes confidential

 2   information provided by suppliers and customers.         Employees agree to maintain such

 3   confidentiality at all times, even after leaving the employ of Bombardier.” (Ex. D, at 15.)

 4   Both the 2004 Code of Ethics and the 2012 Code of Ethics contain this provision. (See Exs.

 5   D and M.)

 6          290.    On information and belief, each of Defendants Delarche and Dornéval signed

 7   an acknowledgement on their respective first day of working for Bombardier that as a

 8   condition to their respective employment each would abide by the 2004 Code of Ethics. On

 9   information and belief, Defendant Basson signed an acknowledgement on his first day of

10   working for Bombardier that as a condition of his employment he would abide by the 2012

11   Code of Ethics.     The relevant versions of Bombardier’s Code of Ethics that each of

12   Defendants Basson, Delarche, and Dornéval signed and agreed to abide by on their respective

13   first day of working for Bombardier included the confidentiality provision noted in the

14   preceding paragraph. Thus, each of these employees had a continuing obligation under the

15   respective Code of Ethics to maintain the confidentiality of all Bombardier trade secret,

16   proprietary, and/or confidential information following termination of employment.          On

17   information and belief, at least Defendants Basson, Delarche, and Dornéval, as well as certain

18   of Does 1-88, owed this continuing duty to Bombardier when they were contacted by

19   Defendants Korwin-Szymanowski about working on Defendants’ efforts to gain certification

20   for the MRJ.

21          291.    Bombardier also had a reasonable and valid business expectancy that personnel

22   working out of its offices in Canada would honor their duties of good faith and fidelity to

23   Bombardier as their employer under Canadian law. (See Dkt. No. 87-1.) Bombardier had a

24   reasonable expectation that, as part of these duties, these employees would not take or use any

25   of Bombardier’s trade secret, confidential, and/or proprietary information when these

26   employees left Bombardier.     This reasonable expectation exists at least with respect to

27   Defendants Basson, Delarche, Dornéval, and Ayre, as well as any of Does 1-88 who


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 1   previously worked in or out of Bombardier’s Canadian offices.           Thus, each of these

 2   employees had a continuing obligation following termination of employment to maintain the

 3   confidentiality of all Bombardier trade secret, proprietary, and/or confidential information.

 4   On information and belief, at least Defendants Basson, Dornéval, and Delarche, as well as

 5   certain of Does 1-88 who previously worked in or out of Bombardier’s Canadian offices and

 6   were recruited and/or hired by Defendant Korwin-Szymanowski, owe this continuing duty to

 7   Bombardier’.

 8          292.    ’Bombardier had yet another reasonable and valid business expectancy that it

 9   would generally adhere to its certification schedules set forth for the C-Series and Global

10   7000/8000 Aircraft, particularly because Bombardier had successfully obtained certification

11   for approximately thirty (30) different aircraft in the preceding three (3) decades, it had

12   significant experience and understanding of certification processes as a result of these

13   previous certifications, and it could reasonably expect, based on this experience and

14   understanding, that its projected schedule to obtain certification for the C-Series and Global

15   7000/8000 Aircraft would be accurate.       The recruitment of Bombardier’s certification

16   personnel by Defendant Korwin-Szymanowski on behalf of, and the subsequent hiring of

17   Bombardier’s certification personnel by, Defendants occurred during and had a detrimental

18   impact on the certification schedules for the C-Series and the Global 7000/8000 Aircraft,

19   delaying these certification schedules by at least several months.       Defendant Korwin-

20   Szymanowski continued his recruitment of Bombardier personnel who were working on

21   Bombardier’s certification efforts despite learning about the detrimental impact that the

22   continued recruitment and hiring of Bombardier personnel would have on Bombardier’s

23   certification schedules. Accordingly, Defendant Korwin-Szymanowski knew or should have

24   known of the detrimental impact that his actions were having on Bombardier and its

25   certification schedules but nevertheless persisted in continuing to recruit these Bombardier

26   personnel for hiring by Defendants. Based upon the foregoing, and upon further information

27   and belief, Defendant Korwin-Szymanowski’s persisted course of conduct, which resulted in


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 1   the loss of key Bombardier certification personnel (including but not limited to Bombardier’s

 2   chief and deputy chief flight test pilots for certification purposes) at critical times to

 3   Bombardier’s certification efforts, was done for the improper purpose of delaying

 4   Bombardier’s certification schedule, it in fact delayed Bombardier’s certification schedule,

 5   and it inflicted resulting harm on Bombardier in the form of costly delays to the certification

 6   schedules of its C Series and/or Global 7000/8000 Aircraft.’

 7          293.    As a former employee of Bombardier, Defendant Korwin-Szymanowski knew

 8   of each of these contractual relationships and business expectancies. Further, Defendant

 9   Korwin-Szymanowski was made aware of these relationships and expectancies through

10   various letters he received from Bombardier as detailed above, particularly the letter

11   addressed to Defendant Korwin-Szymanowski personally and dated October 22, 2015.

12          294.    By engaging in the aforementioned conduct, specifically but without limitation

13   using and/or authorizing various means to target Bombardier personnel for recruitment for

14   AeroTEC’s involvement in the MRJ project, Defendant Korwin-Szymanowski intentionally

15   interfered with Bombardier’s contractual relationships and business expectancies, which

16   proximately induced or caused breach of the aforementioned contractual relationships with,

17   and business expectancies from, at least those individual Does 1-88 who were identified for

18   recruitment and/or recruited by Defendant Korwin-Szymanowski’.

19          295.    Defendant Korwin-Szymanowski’s intentional interference with Bombardier’s

20   contractual relationships and business expectancies was conducted for improper purposes,

21   namely—to knowingly, willfully, and illicitly obtain Bombardier confidential, proprietary,

22   and/or trade secret information to assist in the development and/or certification of the MRJ;

23   and to harm Bombardier in the form of costly delays to its certification efforts for the C-Series

24   and Global 7000/8000 Aircraft, which in fact materialized as described above.

25          296.    Defendant Korwin-Szymanowski’s intentional interference with Bombardier’s

26   contractual relationships and business expectancies for an improper purpose has caused

27   resulting damage to Plaintiff and is continuing to cause resulting damage to Plaintiff at least


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 1   by causing Bombardier’s confidential, proprietary, and/or trade secret information to be

 2   divulged, and/or by causing delays to Bombardier’s own certification schedule, as described

 3   above, in an amount to be determined at trial.

 4   Count XXII: Violation of the Defend Trade Secrets Act (DTSA), 18 U.S.C. § 1836 et seq.

 5                                            (Keith Ayre)

 6           297.    Bombardier incorporates by reference paragraphs 1-296, above, as though fully

 7   set forth herein.

 8           298.    As explained above, Plaintiff has developed, owns, and possesses certain

 9   confidential, proprietary, and trade secret information, including but not limited to

10   information used for the C-Series aircraft’s design, development, testing, evaluation,

11   certification, and commercialization for use in the United States and abroad.             Such

12   information includes, but is not limited to, information contained in several emails Defendant

13   Ayre sent from his Bombardier work email account to his personal Apple and Gmail email

14   accounts in the weeks and days before his departure from Bombardier. These emails contain

15   highly sensitive, proprietary Bombardier trade secret information concerning Bombardier’s

16   aircraft certification efforts and related confidential communications Bombardier made with

17   Transport Canada for certification purposes.

18           299.    This confidential, proprietary, and trade secret information relates to products

19   and services used, sold, shipped and ordered in, or intended to be used, sold, shipped and/or

20   ordered in, interstate and foreign commerce, as it was used, among others, for the design,

21   development, and/or certification of certain Bombardier aircraft.

22           300.    Plaintiff has taken reasonable measures to keep such information secret as

23   described above and including, without limitation, subjecting all employees to a Code of

24   Ethics that instructs personnel in the specifics of identifying and safeguarding Bombardier

25   proprietary information; clearly marking trade secret information as proprietary and

26   confidential subject to restrictions on further use and dissemination; physically restricting

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 1   access in its facilities to properly credentialed individuals; and virtually restricting electronic

 2   access to proprietary trade secret information to properly credentialed personnel.

 3           301.     This confidential, proprietary, and trade secret information derives independent

 4   economic value from not being generally known to, and not being readily ascertainable

 5   through proper means by another person who could obtain economic value from the

 6   disclosure or use of the information. In addition to the foregoing, the information at issue

 7   would be of tremendous value to MITAC, MITAC America, and AeroTEC in their efforts to

 8   develop, certify, and commercialize the MRJ aircraft, as it would at a minimum provide

 9   invaluable guidance in ultimately obtaining regulatory certification for entry into service of a

10   narrow-body, geared turbofan twin-engine, medium-range jet aircraft, something MITAC has

11   been unable to obtain for its MRJ despite nearly a decade of effort.

12           302.     In violation of Plaintiff’s rights under the Defend Trade Secrets Act, 18 U.S.C.

13   § 1836, Defendant Ayre misappropriated the confidential, proprietary, and trade secret

14   information described above in an improper and unlawful manner as alleged herein.

15   Specifically, and without limitation, Defendant Ayre misappropriated the identified

16   Bombardier aircraft certification information because at the time he emailed the information

17   to his private email accounts, he lacked authorization to do so, and he knew or should have

18   known that this was an impermissible transfer of Bombardier information containing highly

19   sensitive Bombardier trade secret information for his personal possession. Additionally, and

20   upon information and belief, on or after August 18, 2016, Defendant Ayre used and/or

21   disclosed this and potentially other Bombardier trade secret information to others without

22   Bombardier permission after using improper means to acquire the information, knowing or

23   having reason to know at the time of disclosure that his knowledge of the trade secret

24   information was derived under circumstances giving rise to a duty to maintain its secrecy and

25   limit its use.

26           303.     For example, as detailed above, Defendant Ayre emailed to his personal

27   account two days before his departure from Bombardier a highly confidential email


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 1   discussing Bombardier trade secrets that he initially received from TCCA nearly three years

 2   earlier concerning smoke penetration testing for Bombardier aircraft. Additionally, on August

 3   18, 2016, Defendant Ayre emailed to himself a copy of correspondence previously exchanged

 4   with MITAC personnel, Mr. Koki Fukuda, the Engineering Lead of Ice Protection Systems

 5   for the MRJ, concerning Bombardier trade secret certification activities, the details of which

 6   he was “happy to discuss” “when [he is] in the MRJ office.” On information and belief,

 7   Defendant Ayre actually discussed and disclosed Bombardier trade secret information with

 8   unauthorized third parties, including but not limited to MITAC, when he arrived “in the MRJ

 9   office.”   Further still, Mr. Ayre sent an email on August 24, 2016—using Bombardier

10   equipment and from Bombardier facilities—addressed to an individual named “Frederic”

11   (who upon information and belief was a MITAC employee or contractor during the relevant

12   time period) disclosing Bombardier trade secret information pertaining to Fire Detection and

13   Extinguishing (“FIDEX”) and related System Safety Analysis (“SSA”). On information and

14   belief, Mr. Ayre’s disclosures and teachings to “Frederic” in August 2016 led to an improved

15   redesign of the MRJ now subject to certification efforts. (See Denkenberger Decl., Exs. 26-

16   28.)

17           304.   Defendant Ayre’s conduct as described herein was intentional, knowing,

18   willful, malicious, fraudulent, and oppressive.

19           305.   As a direct and proximate result of Defendant Ayre’s conduct, Plaintiff has

20   suffered and will continue to suffer irreparable financial loss, loss of goodwill, and an

21   irreparable loss of the confidentiality of their proprietary and trade secret information, for

22   which there is no adequately remedy at law.

23           306.   Plaintiff has also suffered substantial damages as a direct and proximate cause

24   of Defendant Ayre’s conduct in an amount to be proven at trial.

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 1       Count XXIII: Violation of the Washington Uniform Trade Secrets Act (WUTSA),

 2                               RCW 19.108.010 et seq. (Keith Ayre)

 3           307.    Bombardier incorporates by reference paragraphs 1-306, above, as though fully

 4   set forth herein.

 5           308.    As explained above, Plaintiff has developed, owns, and possesses certain

 6   confidential, proprietary, and trade secret information, including but not limited to

 7   information used for the C-Series aircraft’s design, development, testing, evaluation,

 8   certification, and commercialization for use in the United States and abroad.                Such

 9   information includes, but is not limited to, information contained in several emails Defendant

10   Ayre sent from his Bombardier work email account to his personal Apple and Gmail email

11   accounts in the weeks and days before his departure from Bombardier. These emails contain

12   highly sensitive, proprietary Bombardier trade secret information concerning Bombardier’s

13   aircraft certification efforts and related confidential communications Bombardier made with

14   Transport Canada for certification purposes.

15           309.    This confidential, proprietary, and trade secret information relates to products

16   and services used, sold, shipped and ordered in, or intended to be used, sold, shipped and/or

17   ordered in, interstate and foreign commerce, as it was used, among others, for the design,

18   development, and/or certification of certain Bombardier aircraft.

19           310.    Plaintiff has taken reasonable measures to keep such information secret as

20   described above and including, without limitation, subjecting all employees to a Code of

21   Ethics that instructs personnel in the specifics of identifying and safeguarding Bombardier

22   proprietary information; clearly marking trade secret information as proprietary and

23   confidential subject to restrictions on further use and dissemination; physically restricting

24   access in its facilities to properly credentialed individuals; and virtually restricting electronic

25   access to proprietary trade secret information to properly credentialed personnel.

26           311.    This confidential, proprietary, and trade secret information derives independent

27   economic value from not being generally known to, and not being readily ascertainable


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 1   through proper means by another person who could obtain economic value from the

 2   disclosure or use of the information. In addition to the foregoing, the information at issue

 3   would be of tremendous value to MITAC, MITAC America, and AeroTEC in their efforts to

 4   develop, certify, and commercialize the MRJ aircraft, as it would at a minimum provide

 5   invaluable guidance in ultimately obtaining regulatory certification for entry into service of a

 6   narrow-body, geared turbofan twin-engine, medium-range jet aircraft, something MITAC has

 7   been unable to obtain for its MRJ despite nearly a decade of effort.

 8          312.    In violation of Plaintiff’s rights under the WUTSA, RCW 19.108.010 et seq.,

 9   Defendant Ayre misappropriated the confidential, proprietary, and trade secret information

10   described above in an improper and unlawful manner as alleged herein. Specifically, and

11   without limitation, Defendant Ayre misappropriated the identified Bombardier aircraft

12   certification information because at the time he emailed the information to his private email

13   accounts, he lacked authorization to do so, and he knew or should have known that this was

14   an impermissible transfer of Bombardier information containing highly sensitive Bombardier

15   trade secret information for his personal possession. Additionally, and upon information and

16   belief, on or after August 18, 2016, Defendant Ayre used and/or disclosed this and potentially

17   other Bombardier trade secret information to others without Bombardier permission after

18   using improper means to acquire the information, knowing or having reason to know at the

19   time of disclosure that his knowledge of the trade secret information was derived under

20   circumstances giving rise to a duty to maintain its secrecy and limit its use.

21          313.    For example, as detailed above, Defendant Ayre emailed to his personal

22   account two days before his departure from Bombardier a highly confidential email

23   discussing Bombardier trade secrets that he initially received from TCCA nearly three years

24   earlier concerning smoke penetration testing for Bombardier aircraft. Additionally, on August

25   18, 2016, Defendant Ayre emailed to himself a copy of correspondence previously exchanged

26   with MITAC personnel, Mr. Koki Fukuda, the Engineering Lead of Ice Protection Systems

27   for the MRJ, concerning Bombardier trade secret certification activities, the details of which


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 1   he was “happy to discuss” “when [he is] in the MRJ office.” On information and belief,

 2   Defendant Ayre actually discussed and disclosed Bombardier trade secret information with

 3   unauthorized third parties, including but not limited to MITAC, when he arrived “in the MRJ

 4   office.”    Further still, Mr. Ayre sent an email on August 24, 2016—using Bombardier

 5   equipment and from Bombardier facilities—addressed to an individual named “Frederic”

 6   (who upon information and belief was a MITAC employee or contractor during the relevant

 7   time period) disclosing Bombardier trade secret information pertaining to Fire Detection and

 8   Extinguishing (“FIDEX”) and related System Safety Analysis (“SSA”). On information and

 9   belief, Mr. Ayre’s disclosures and teachings to “Frederic” in August 2016 led to an improved

10   redesign of the MRJ now subject to certification efforts. (See Denkenberger Decl., Exs. 26-

11   28.) Defendant Ayre’s conduct as described herein was intentional, knowing, willful,

12   malicious, fraudulent, and oppressive.

13          314.     As a direct and proximate result of Defendant Ayre’s conduct, Plaintiff has

14   suffered and will continue to suffer irreparable financial loss, loss of goodwill, and an

15   irreparable loss of the confidentiality of their proprietary and trade secret information, for

16   which there is no adequately remedy at law.

17          315.     Plaintiff has also suffered substantial damages as a direct and proximate cause

18   of Defendant Ayre’s conduct in an amount to be proven at trial.

19                                      PRAYER FOR RELIEF

20          WHEREFORE, Plaintiff respectfully requests that the Court enter judgment against

21   Defendants as follows:

22          A.       A preliminary and permanent injunction prohibiting MITAC, MITAC

23   America, AeroTEC, and all those employed by, or acting in concert with, any of them from

24   using, disclosing, further disclosing, or in any way relying on any proprietary Bombardier

25   information misappropriated by any former Bombardier personnel;

26          B.       A preliminary and permanent injunction prohibiting MITAC, MITAC

27   America, AeroTEC, and all those employed by, or acting in concert with, any of them from


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 1   continuing to recruit personnel from Bombardier for the improper purpose of obtaining

 2   Bombardier confidential, proprietary, and/or trade secret information;

 3          C.      An award of Plaintiff’s damages;

 4          D.      Disgorgement of, or constructive trust on, the wrongful profits attributable to

 5   and resulting from Defendants’ conduct;

 6          E.      An award to Plaintiff of punitive damages; and

 7          F.      Any other relief deemed appropriate by this Court.

 8                                         JURY DEMAND

 9          Bombardier demands a jury trial on all issues triable by jury.

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11          Dated this 30th day of April, 2019.

12
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 1                                 CERTIFICATE OF SERVICE
 2          I hereby certify that on April 30, 2019, I electronically filed the foregoing with the

 3   Clerk of the Court using the CM/ECF system which will send notification of such filing to the

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